                     Case 22-11068-JTD            Doc 6655-2     Filed 01/25/24     Page 1 of 64



                                                EXHIBIT A
                                  FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                    SUMMARY OF PROFESSIONALS AND FEES
                         FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

                                                                             Billing      Total        Total
          Professional                 Position            Specialty          Rate        Hours        Fees
Chesley, Rachel                Sr Managing Dir         Communications         $ 1,130        0.2         $ 226.00
Baldo, Diana                   Sr Consultant           Communications             550        6.1         3,355.00
Jasser, Riley                  Consultant              Communications             420       12.0         5,040.00

McNew, Steven                  Sr Managing Dir         Cryptocurrency             1,200     22.0        26,400.00
de Brignac, Jessica            Managing Dir            Cryptocurrency               910     30.1        27,391.00
Leonaitis, Isabelle            Sr Consultant           Cryptocurrency               595      5.1         3,034.50

Busen, Michael                 Sr Managing Dir         Data & Analytics           1,390      2.6         3,614.00
Garofalo, Michael              Senior Director         Data & Analytics           1,005      2.4         2,412.00
Jordan, Mason                  Sr Consultant           Data & Analytics             730     22.1        16,133.00
Kimche, Livia                  Consultant              Data & Analytics             555     13.1         7,270.50

Risler, Franck                 Sr Managing Dir         Derivatives                1,895    128.5       243,507.50
Rousskikh, Valeri              Managing Dir            Derivatives                1,430    163.2       233,376.00
Diodato, Michael               Managing Dir            Derivatives                1,330    110.6       147,098.00
Kubali, Volkan                 Managing Dir            Derivatives                1,330    140.4       186,732.00
Watson, Ching                  Managing Dir            Derivatives                1,330    101.2       134,596.00
Majkowski, Stephanie           Senior Director         Derivatives                1,210    148.7       179,927.00
You, Can                       Senior Director         Derivatives                1,190    118.3       140,777.00
Guo, Xueying                   Director                Derivatives                1,130    160.1       180,913.00
Langer, Cameron                Director                Derivatives                1,060    156.9       166,314.00

Steven, Kira                   Director                Forensic Accounting         930      77.0        71,610.00
Famiglietti, Tyler             Sr Consultant           Forensic Accounting         790      10.1         7,979.00

Simms, Steven                  Sr Managing Dir         Restructuring              1,495      28.3        42,308.50
Joffe, Steven                  Sr Managing Dir         Restructuring              1,390       5.8         8,062.00
Diaz, Matthew                  Sr Managing Dir         Restructuring              1,390      77.7       108,003.00
Bromberg, Brian                Managing Dir            Restructuring              1,075     130.6       140,395.00
Gray, Michael                  Sr Consultant           Restructuring                790      93.3        73,707.00
Dawson, Maxwell                Sr Consultant           Restructuring                730      85.0        62,050.00
Sveen, Andrew                  Consultant              Restructuring                555      95.8        53,169.00
GRAND TOTAL                                                                               1,947.2   $ 2,275,400.00




                                                           1
              Case 22-11068-JTD         Doc 6655-2      Filed 01/25/24    Page 2 of 64



                                    EXHIBIT B
                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                            SUMMARY OF HOURS BY TASK
             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

                                                                         Total          Total
Task Code                      Task Description                          Hours          Fees
    1     Current Operating Results & Events                                  18.7      $ 20,028.00
    2     Cash & Liquidity Analysis                                           54.9        41,974.50
    9     Analysis of Employee Comp Programs                                   2.4         2,181.00
   10     Analysis of Tax Issues                                               6.4         8,896.00
   12     Analysis of SOFAs & SOALs                                            1.0           833.50
   14     Analysis of Claims/Liabilities Subject to Compromise               479.8       556,488.00
   16     Analysis, Negotiate and Form of POR & DS                           208.9       202,622.50
   18     Potential Avoidance Actions & Litigation                           115.5       110,053.50
   21     General Meetings with UCC and UCC Counsel                           24.1        37,601.00
   24     Preparation of Fee Application                                      46.7        27,676.00
   26     Cryptocurrency/Digital Assets Issues                               929.6     1,205,083.00
   27     Communications Planning & Execution                                 18.3         8,621.00
   29     Exchange Restart                                                    40.9        53,342.00
          GRAND TOTAL                                                      1,947.2   $ 2,275,400.00




                                                   2
                 Case 22-11068-JTD          Doc 6655-2           Filed 01/25/24               Page 3 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional            Hours                                        Activity

    1       11/6/2023   Bromberg, Brian            0.6 Review information related to potential entities dismissed from bankruptcy
                                                       cases.
    1       11/7/2023   Gray, Michael              0.7 Review key issues associated with potential wind down of certain entities.

    1       11/7/2023   Bromberg, Brian            1.7 Review information related to potential dismissed entities to evaluate impact on
                                                       the Debtors.
    1       11/7/2023   Bromberg, Brian            0.5 Prepare questions list for Debtors re: dismissed entities.

    1       11/8/2023   Diaz, Matthew              0.6 Review the most recent results of the separate subsidiaries of the Debtors.

    1       11/8/2023   Gray, Michael              0.3 Review responses from bidder to understand excluded regions re: potential
                                                       dismissal of a certain Debtor entity.
    1       11/8/2023   Bromberg, Brian            0.5 Assess materials related to the Debtor entities for which the bankruptcy cases are
                                                       potentially dismissed.
    1       11/8/2023   Bromberg, Brian            0.3 Review information related to potential dismissed entities to understand the
                                                       effect of dismissals on the Debtors.
    1       11/9/2023   Diaz, Matthew              0.8 Attend call with A&M (D. Johnston), PH (G. Sasson and B. Kelly), and Jefferies
                                                       (R. Hamilton) on the Debtors' Singapore and Europe entities analysis.
    1       11/9/2023   Diaz, Matthew              0.7 Evaluate the issues with the Debtors' Singapore and Europe entities.

    1       11/9/2023   Gray, Michael              0.8 Prepare descriptions of situational background regarding certain of the Debtors'
                                                       entities.
    1       11/9/2023   Bromberg, Brian            0.8 Participate in call re: dismissed entities with A&M (D. Johnston), PH (G. Sasson
                                                       and B. Kelly), and Jefferies (R. Hamilton).
    1       11/9/2023   Bromberg, Brian            0.4 Review information related to potential dismissed entities.

    1       11/9/2023   Bromberg, Brian            0.7 Review FTX Cyprus term sheet.

    1       11/9/2023   Bromberg, Brian            0.3 Prepare diligence list for Jefferies on considerations for Debtors' potentially
                                                       dismissed entities.
    1       11/10/2023 Diaz, Matthew               0.8 Evaluate materials on the status for a specific Debtor entity.

    1       11/10/2023 Bromberg, Brian             0.5 Review information related to potential dismissed entities.

    1       11/15/2023 Diaz, Matthew               0.6 Analyze certain Debtor entity's current operations to determine the effect on the
                                                       Debtors' estate.
    1       11/15/2023 Gray, Michael               0.8 Analyze updates to the current operations of certain Debtor entity to provide
                                                       recommendation on proposed path for potential wind down.
    1       11/15/2023 Gray, Michael               0.4 Review draft work product provided by Jefferies re: wind down of certain entity
                                                       to ensure validity of disclosures.
    1       11/15/2023 Bromberg, Brian             0.7 Participate in call re: dismissed entities with A&M (D. Johnston), PH (G. Sasson
                                                       and B. Kelly), and Jefferies (R. Hamilton).
    1       11/15/2023 Bromberg, Brian             0.5 Review dismissed entities presentation from Jefferies for comment.

    1       11/16/2023 Sveen, Andrew               0.4 Analyze the Debtors' filed monthly operating reports.

    1       11/16/2023 Bromberg, Brian             0.2 Review dismissed entities presentation.

    1       11/17/2023 Gray, Michael               0.4 Obtain an update on FTX Japan in the context of potential wind down.

    1       11/17/2023 Bromberg, Brian             0.3 Discuss FTX Japan issues with Debtors (J. Ray) and A&M (S. Coverick).




                                                          3
                 Case 22-11068-JTD          Doc 6655-2           Filed 01/25/24              Page 4 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional            Hours                                       Activity

    1       11/20/2023 Bromberg, Brian             1.2 Assess the Debtors' provided data on FTX Japan.

    1       11/21/2023 Bromberg, Brian             0.4 Discuss FTX Japan issues with A&M (S. Coverick).

    1       11/21/2023 Bromberg, Brian             1.2 Analyze data provided by the Debtors' on the status of the FTX Japan entity.

    1       11/26/2023 Bromberg, Brian             0.3 Review data provided on the FTX Japan entity and potential wind down.

    1       11/27/2023 Bromberg, Brian             0.3 Review the data on the FTX Japan entity in connection with the potential wind
                                                       down.
 1 Total                                          18.7

    2       11/1/2023   Sveen, Andrew              0.4 Analyze the Debtors' cash disbursements in order to understand cash burn.

    2       11/1/2023   Sveen, Andrew              1.0 Develop analysis of the Debtors' cash outflows to include in liquidity update
                                                       deck for the UCC.
    2       11/1/2023   Sveen, Andrew              0.3 Analyze the case to date expenses by category for the Debtors.

    2       11/2/2023   Diaz, Matthew              0.6 Analyze the latest cash variance report from the Debtors.

    2       11/2/2023   Bromberg, Brian            0.3 Assess the Debtors' most recent cash flow results for UCC reporting.

    2       11/2/2023   Bromberg, Brian            0.3 Evaluate the Debtors' cash flow results in connection with UCC reporting.

    2       11/3/2023   Sveen, Andrew              0.6 Analyze Debtors' cash flow reports for most recent month.

    2       11/6/2023   Dawson, Maxwell            0.2 Analyze the cash flow updates in the latest report from A&M.

    2       11/6/2023   Sveen, Andrew              0.9 Assess the cash flow data from the Debtors related to de minimis asset sales.

    2       11/6/2023   Sveen, Andrew              0.2 Analyze cash flow variance report for week ending 10/27.

    2       11/6/2023   Sveen, Andrew              0.3 Analyze Debtors' cash outflows spent on the case to date.

    2       11/6/2023   Gray, Michael              0.3 Review cash variance report in advance of discussion with A&M.

    2       11/6/2023   Gray, Michael              0.2 Participate in discussion with A&M (J. Cooper, R. Duncan, and E. Taraba) re:
                                                       cash variance report.
    2       11/6/2023   Bromberg, Brian            0.2 Participate in call re: cash flow with A&M (J. Cooper, R. Duncan, and E.
                                                       Taraba).
    2       11/8/2023   Gray, Michael              0.3 Review recent bank account activity re: account closures.

    2       11/9/2023   Sveen, Andrew              0.7 Estimate the Debtors' upcoming cash inflows following the most recent cash
                                                       reporting.
    2       11/9/2023   Diaz, Matthew              0.8 Analyze the cash variance report for the latest data on Debtors' cash results.

    2       11/9/2023   Diaz, Matthew              0.5 Analyze the Debtors' provided cash flow report to compare the forecasted and
                                                       actual cash receipts.
    2       11/9/2023   Gray, Michael              0.3 Prepare diligence list for A&M re: supplemental cash detail.

    2       11/9/2023   Gray, Michael              0.6 Assess the Debtors' most recent cash reporting to develop the analysis on cash
                                                       inflows.
    2       11/10/2023 Diaz, Matthew               1.1 Analyze the updated cash flow budget prepared by the Debtors.




                                                         4
                 Case 22-11068-JTD          Doc 6655-2           Filed 01/25/24               Page 5 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date     Professional             Hours                                        Activity

    2       11/10/2023 Sveen, Andrew               1.6 Begin to prepare an updated cash flow forecast deck for UCC.

    2       11/10/2023 Gray, Michael               0.3 Review cash variance report provided by A&M for the week ending 11/3.

    2       11/13/2023 Dawson, Maxwell             0.5 Evaluate the Debtors' cash flow reporting from the prior week.

    2       11/13/2023 Sveen, Andrew               0.6 Analyze Debtors' cash flow data in order to create presentation to the UCC.

    2       11/13/2023 Sveen, Andrew               2.2 Create slide deck for UCC on Debtors' case to date cash flow results as of
                                                       11/3/23.
    2       11/13/2023 Sveen, Andrew               0.7 Assess the Debtors' cash flow variance report for the week ending 11/3/23.

    2       11/13/2023 Gray, Michael               0.2 Review cash variance report in advance of discussion with A&M re: same.

    2       11/13/2023 Gray, Michael               0.8 Review revised 13-week cash flow report in advance of discussion with A&M
                                                       re: same.
    2       11/13/2023 Gray, Michael               0.3 Participate in discussion with A&M (J. Cooper, E. Taraba, R. Duncan, and E.
                                                       Mosley) re: cash flow update.
    2       11/13/2023 Bromberg, Brian             0.3 Participate in call re: cash flow with A&M (J. Cooper, E. Taraba, R. Duncan,
                                                       and E. Mosley).
    2       11/14/2023 Sveen, Andrew               0.8 Continue to develop presentation to the UCC incorporating commentary on the
                                                       cash flow results.
    2       11/14/2023 Sveen, Andrew               1.0 Analyze the Debtors' provided data on cash flow analysis and claims
                                                       information.
    2       11/14/2023 Sveen, Andrew               0.9 Assess the Debtors' case to date cash inflows for presentation deck to the UCC.

    2       11/14/2023 Gray, Michael               0.6 Review supplemental diligence information provided by A&M re: revised cash
                                                       flow.
    2       11/15/2023 Sveen, Andrew               2.4 Prepare additional slide on case to date cash flows for the presentation to the
                                                       UCC.
    2       11/16/2023 Diaz, Matthew               0.7 Analyze the Debtors' latest provided cash variance report.

    2       11/16/2023 Dawson, Maxwell             2.0 Provide comments on recurring cash flow report for UCC.

    2       11/16/2023 Dawson, Maxwell             0.6 Provide additional comments on recurring cash flow report for UCC.

    2       11/16/2023 Sveen, Andrew               0.9 Investigate Debtors' cash asset transfers to date.

    2       11/16/2023 Sveen, Andrew               1.1 Revise presentation to the UCC on case to date cash flow and inflows.

    2       11/17/2023 Diaz, Matthew               0.5 Evaluate the Debtors' Japan entity for cash flow and operational considerations.

    2       11/17/2023 Dawson, Maxwell             0.5 Update cash flow budget variance to address latest forecast changes.

    2       11/17/2023 Dawson, Maxwell             0.4 Review expense forecasts in connection with publicly filed information.

    2       11/17/2023 Sveen, Andrew               1.5 Continue to revise the deck for the UCC on Debtors' cash flow performance and
                                                       projections.
    2       11/17/2023 Sveen, Andrew               1.1 Perform detailed review of Debtors' cash inflows analysis.

    2       11/17/2023 Gray, Michael               0.6 Perform preliminary review of draft UCC report re: cash flow update.

    2       11/20/2023 Sveen, Andrew               0.3 Assess the variance report for the Debtors' budget to actuals for the week ending
                                                       11/10/23.



                                                          5
                 Case 22-11068-JTD          Doc 6655-2           Filed 01/25/24              Page 6 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date     Professional             Hours                                       Activity

    2       11/20/2023 Diaz, Matthew               0.6 Review the latest cash flow analysis provided by the Debtors.

    2       11/20/2023 Dawson, Maxwell             0.9 Prepare incremental updates to cash flow reporting for UCC.

    2       11/20/2023 Sveen, Andrew               0.9 Perform analysis on the Debtors' cash inflows.

    2       11/20/2023 Sveen, Andrew               1.1 Revise the presentation to the UCC on the most recent cash flow updates from
                                                       the Debtors.
    2       11/20/2023 Gray, Michael               0.3 Review cash variance report provided by A&M in advance of discussion re:
                                                       same.
    2       11/20/2023 Gray, Michael               1.2 Provide comments on draft UCC report re: cash flow update.

    2       11/20/2023 Gray, Michael               0.4 Participate in discussion with A&M (J. Cooper and E. Taraba) re: cash flow
                                                       update.
    2       11/20/2023 Bromberg, Brian             0.4 Review cash reporting for the week ending 11/10.

    2       11/20/2023 Bromberg, Brian             0.4 Participate in call re: cash flow with A&M (J. Cooper and E. Taraba).

    2       11/20/2023 Bromberg, Brian             0.4 Review cash flow update for the most recent reporting period.

    2       11/21/2023 Diaz, Matthew               0.5 Analyze the Debtors' investments holdings for cash flow analysis.

    2       11/21/2023 Sveen, Andrew               0.8 Revise the supporting data for cash flow deck for the UCC.

    2       11/21/2023 Sveen, Andrew               1.9 Revise the deck for the UCC on cash flow and liquidity updates.

    2       11/22/2023 Sveen, Andrew               0.4 Analyze Debtors' provided data related to Debtors' disbursements to track cash
                                                       flow.
    2       11/26/2023 Diaz, Matthew               0.5 Review the latest cash flow variance analysis.

    2       11/26/2023 Bromberg, Brian             0.6 Assess the cash flow reporting in order to provide for the UCC.

    2       11/27/2023 Diaz, Matthew               1.1 Review cash flow report to the UCC.

    2       11/27/2023 Dawson, Maxwell             0.4 Finalize draft of cash flow report for UCC.

    2       11/27/2023 Dawson, Maxwell             0.3 Analyze the Debtors' cash disbursements for the prior week in order to
                                                       understand the Debtors' cash position.
    2       11/27/2023 Sveen, Andrew               0.3 Evaluate the Debtors' cash flow performance for the most recent period.

    2       11/27/2023 Sveen, Andrew               0.9 Revise presentation to UCC for updated analysis of Debtors' crypto sales cash
                                                       inflows.
    2       11/27/2023 Sveen, Andrew               0.4 Analyze Debtors' data on cash flow for the week ending 11/17.

    2       11/27/2023 Sveen, Andrew               0.9 Revise the cash flow analysis for the Debtors' case to date inflows related to
                                                       crypto sales.
    2       11/27/2023 Gray, Michael               0.6 Review historical depository yield at certain banking partners.

    2       11/27/2023 Gray, Michael               0.4 Participate in discussion with A&M (J. Cooper and E. Taraba) re: cash flow
                                                       update.
    2       11/27/2023 Gray, Michael               0.3 Review cash variance report provided by A&M in advance of discussion re:
                                                       same.
    2       11/27/2023 Gray, Michael               0.6 Prepare overview regarding certain banking updates from the Debtors.




                                                         6
                  Case 22-11068-JTD          Doc 6655-2           Filed 01/25/24              Page 7 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

    2       11/27/2023 Gray, Michael                0.4 Review updates to draft UCC report re: cash flow update.

    2       11/27/2023 Bromberg, Brian              0.5 Review banking situation update to assess the Debtors' cash management
                                                        strategy.
    2       11/27/2023 Bromberg, Brian              0.8 Provide comments on draft UCC report re: cash flow analysis.

    2       11/27/2023 Bromberg, Brian              0.4 Participate in call re: cash flow with A&M (J. Cooper and E. Taraba).

    2       11/28/2023 Sveen, Andrew                0.5 Evaluate Debtors' cash flow analysis for inclusion in presentation to UCC.

    2       11/29/2023 Bromberg, Brian              0.2 Review latest draft cash flow reporting from A&M to analyze the new cash
                                                        inflows and disbursements.
    2       11/30/2023 Sveen, Andrew                0.3 Prepare analysis on certain of the Debtors' cash disbursements and inflows.

    2       11/30/2023 Gray, Michael                0.8 Review October financial update re: liquidity and disbursements.

 2 Total                                           54.9

    9       11/17/2023 Bromberg, Brian              0.5 Review terms of the Debtors' incentive plan as outlined in the KEIP order.

    9       11/21/2023 Gray, Michael                0.6 Review KEIP order to understand status of benchmarking metrics for KEIP
                                                        awards.
    9       11/21/2023 Gray, Michael                0.4 Review cash flow reporting to understand FTX Japan activity re: KEIP awards.

    9       11/21/2023 Bromberg, Brian              0.5 Prepare descriptions of FTX Japan key points for UCC discussion.

    9       11/27/2023 Gray, Michael                0.4 Evaluate data on the Japan KEIP from Debtors.

 9 Total                                            4.2

   10       11/6/2023   Joffe, Steven               1.8 Conduct research regarding the potential subordination of certain administrative
                                                        claims for the tax effect on the recoveries for the creditors.
   10       11/7/2023   Joffe, Steven               1.2 Conduct research on the potential subordination of certain administrative claims
                                                        in connection with the tax implications on Debtors.
   10       11/20/2023 Joffe, Steven                0.5 Attend call on tax considerations for the Debtors with A&M (K. Jacobs).

   10       11/21/2023 Joffe, Steven                0.6 Prepare research on administrative claims in relation to tax issues for the
                                                        Debtors.
   10       11/27/2023 Joffe, Steven                1.2 Review the draft of the asset purchase agreement for certain tax considerations.

   10       11/30/2023 Joffe, Steven                0.5 Review motion related to the Debtors' tax liabilities.

   10       11/30/2023 Diaz, Matthew                0.6 Analyze the claims motion from IRS.

10 Total                                            6.4

   12       11/2/2023   Bromberg, Brian             0.3 Review amended schedules issues in preparation for new schedules.

   12       11/17/2023 Dawson, Maxwell              0.7 Analyze methodology in the Debtors' filed schedules to address location of
                                                        crypto assets.
12 Total                                            1.0

   14       11/1/2023   Gray, Michael               1.4 Review revised claim analysis and related issues for inclusion in update deck for
                                                        UCC.



                                                           7
                 Case 22-11068-JTD             Doc 6655-2         Filed 01/25/24              Page 8 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional              Hours                                      Activity

   14       11/1/2023   Bromberg, Brian             1.4 Analyze the customer claims pool as part of claims assessment for recovery
                                                        analysis.
   14       11/1/2023   Diaz, Matthew               1.1 Analyze the claims filed by certain entity in order to understand the effect on
                                                        creditor recoveries and claims pool.
   14       11/1/2023   Diodato, Michael            2.7 Review claims pricing methodology and potential alternative methods to
                                                        dollarize the claims.
   14       11/1/2023   Diodato, Michael            2.5 Identify possible sources of pricing difference for dollarization of the token
                                                        claims between UCC and Debtors.
   14       11/1/2023   Dawson, Maxwell             1.9 Prepare slides re: customer claim KYC and jurisdiction information.

   14       11/1/2023   Majkowski, Stephanie        1.7 Analyze pricing methodology of claims to continue preparing claims analysis.

   14       11/1/2023   You, Can                    2.3 Review aggregated liquidity related market metrics data for each token and
                                                        exchange combinations to verify data provider endpoints for checking for
                                                        manipulation at Petition Date.
   14       11/1/2023   Kimche, Livia               1.3 Update customer claims analysis with additional data tables filtered for specific
                                                        Debtor entities.
   14       11/2/2023   Gray, Michael               1.0 Review proposed adjustments to certain coin name issues in data provided by the
                                                        Debtors re: customer claims.
   14       11/2/2023   Gray, Michael               0.9 Review customer by jurisdiction information re: customer claims.

   14       11/2/2023   Gray, Michael               1.2 Review updated information re: customer's filed and scheduled claims.

   14       11/2/2023   Gray, Michael               0.7 Review issues with customer by jurisdiction claim information.

   14       11/2/2023   Gray, Michael               0.5 Revise claims analysis presentation for supplemental data.

   14       11/2/2023   Bromberg, Brian             0.3 Review claims portal information and issues.

   14       11/2/2023   Bromberg, Brian             0.6 Review customer claims database.

   14       11/2/2023   Bromberg, Brian             0.4 Prepare claims reconciliation analysis as part of evaluation of the valid claims
                                                        against the estate.
   14       11/2/2023   Diaz, Matthew               1.3 Assess the most recent claims analysis to understand the claims pool and related
                                                        impacts on recoveries.
   14       11/2/2023   Diodato, Michael            2.7 Develop next stages of the claims valuation review and reconciliation of the
                                                        quantities for finalizing the dollarization of the claims.
   14       11/2/2023   Diodato, Michael            0.7 Assess details from call with A&M regarding the claims expert and expected
                                                        time line for filing the claims.
   14       11/2/2023   Dawson, Maxwell             2.9 Review exceptions to record processing re: customer claim information.

   14       11/2/2023   Dawson, Maxwell             1.7 Continue to review exceptions to record processing re: customer claim
                                                        information.
   14       11/2/2023   Sveen, Andrew               2.2 Continue to reconcile filed customer crypto claims.

   14       11/2/2023   Sveen, Andrew               1.1 Reconcile coin names for claims filed by customers.

   14       11/2/2023   Sveen, Andrew               0.5 Compare the filed claims by customer groups to the scheduled claim amounts.

   14       11/2/2023   You, Can                    1.4 Compare full order book structure between Debtors' coin spot and future market,
                                                        with depth of market at all levels, around Petition Date to identify possible price
                                                        manipulation.
   14       11/2/2023   Busen, Michael              0.9 Analyze extracted data and coins with no pricing data or quantity information in
                                                        order to assess data requirements for claims analysis.



                                                          8
                 Case 22-11068-JTD           Doc 6655-2           Filed 01/25/24              Page 9 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   14       11/2/2023   Jordan, Mason               2.3 Create deliverable for coins in the customer schedule that are not in the coin
                                                        pricing data and coins with non-numerical quantities as part of claims analysis.

   14       11/2/2023   Jordan, Mason               1.3 Run quality control checks on new customer schedule analysis.

   14       11/2/2023   Kimche, Livia               1.2 Prepare customer claims analysis to communicate results of the analysis for
                                                        claims report.
   14       11/2/2023   Diaz, Matthew               0.7 Conduct review of the most recent claims analysis updates to be added to the
                                                        report for the UCC on the claims.
   14       11/2/2023   Kimche, Livia               2.4 Update customer claims analysis with schedules for top 50 customers of the
                                                        requested population.
   14       11/2/2023   Langer, Cameron             2.9 Analyze candlestick and trading data prior to the Petition Date for the purpose of
                                                        claims pricing and liquidity categorization.
   14       11/2/2023   Langer, Cameron             2.7 Classify crypto assets by liquidity and market capitalization for the purpose of
                                                        Petition Date pricing and claims analysis.
   14       11/3/2023   Gray, Michael               0.9 Review customer by jurisdiction information re: customer claims.

   14       11/3/2023   Risler, Franck              0.3 Participate in meeting with PH (G. Sasson and K. Pasquale) on claim pricing
                                                        and reconciliation process agreed with the Debtors.
   14       11/3/2023   Risler, Franck              0.4 Draft email to PH on recent communications with A&M on the Debtors' claim
                                                        pricing analysis and process to reconcile with UCC analysis ahead of the
                                                        estimation motion filing.
   14       11/3/2023   Diaz, Matthew               1.5 Review the latest draft of the claims analysis for updates to the overall claims
                                                        amounts and claimants pool.
   14       11/3/2023   Diodato, Michael            2.9 Identify and classify certain crypto claims and other unknown values re:
                                                        customer claim responses.
   14       11/3/2023   Diodato, Michael            0.7 Provide comments on analysis of customer claims filings and related customer
                                                        responses based on exchange products data.
   14       11/3/2023   Diodato, Michael            0.3 Meet with PH (G. Sasson and K. Pasquale) to discuss the Debtors' claims filings
                                                        and updates on timeline to coordinating with their expert.
   14       11/3/2023   Diodato, Michael            2.9 Identify and classify tokens based on knowledge of the portfolio re: customer
                                                        claim responses.
   14       11/3/2023   Dawson, Maxwell             0.9 Analyze updates to parsing exceptions in customer claims data.

   14       11/3/2023   Langer, Cameron             2.2 Analyze basis-adjusted futures prices on the petition date for the purpose of
                                                        analyzing customer claims.
   14       11/3/2023   Langer, Cameron             2.1 Calculate Petition Date prices for illiquid tokens using a volume-weighted
                                                        average for the purpose of claims analysis.
   14       11/3/2023   Langer, Cameron             1.3 Analyze customer schedule data for claims pricing reconciliation purposes.

   14       11/3/2023   Watson, Ching               0.3 Evaluate certain claims for the token composition for claims pricing.

   14       11/3/2023   Langer, Cameron             2.4 Calculate average daily trading volumes across exchanges for tokens in the
                                                        claims data for the purpose of liquidity bucketing and Petition Date pricing.
   14       11/6/2023   Gray, Michael               0.8 Review updated customer claims information to continue claims analysis.

   14       11/6/2023   Gray, Michael               0.8 Provide comments on draft report re: customer claims summary analysis.

   14       11/6/2023   Bromberg, Brian             0.5 Review claims database information for customer reconciliation.

   14       11/6/2023   Bromberg, Brian             0.4 Assess the pricing of certain claims for claims analysis.

   14       11/6/2023   Diaz, Matthew               1.6 Analyze the latest filed claims and related data tables summarizing the claims.




                                                          9
                Case 22-11068-JTD              Doc 6655-2        Filed 01/25/24               Page 10 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional              Hours                                       Activity

   14       11/6/2023   Dawson, Maxwell             2.7 Finalize draft of customer claims deck.

   14       11/6/2023   Dawson, Maxwell             0.9 Update customer claims deck for additional claim information fields.

   14       11/6/2023   Watson, Ching               1.6 Analyze the price and volume data used for claims valuation.

   14       11/6/2023   Jordan, Mason               1.3 Run quality control checks on customer schedule analysis re: customer claims.

   14       11/6/2023   Jordan, Mason               2.9 Update customer schedule with standardized coin information re: customer
                                                        claims.
   14       11/7/2023   Gray, Michael               0.6 Review crypto pricing provided by coin data provider and A&M re: claim
                                                        valuation.
   14       11/7/2023   Diodato, Michael            2.1 Review pricing details related to Debtors' file of pricing information for the
                                                        claims.
   14       11/7/2023   Diodato, Michael            0.4 Review methodology memo for pricing derivatives for the claims.

   14       11/7/2023   Diodato, Michael            2.9 Analyze Debtors' claims pricing file for each token.

   14       11/7/2023   Dawson, Maxwell             1.3 Review additional exceptions to record processing re: customer claim
                                                        information.
   14       11/7/2023   Majkowski, Stephanie        2.9 Assess coin data provider information on crypto asset prices for conducting
                                                        claims pricing analysis.
   14       11/7/2023   Busen, Michael              0.4 Conduct data parsing and analysis of the most recently provided claims data to
                                                        continue the claims analysis.
   14       11/7/2023   Jordan, Mason               0.6 Update coin standardization workbook for customer claims calculations.

   14       11/7/2023   Jordan, Mason               0.4 Continue to update coin standardization workbook for customer claims
                                                        calculations.
   14       11/7/2023   Jordan, Mason               1.0 Update customer schedule with standardized coin information for claims
                                                        analysis.
   14       11/7/2023   Risler, Franck              0.2 Participate in call with A&M (K. Ramanathan) on claims pricing and
                                                        information from coin data provider on timeline of coin pricing.
   14       11/7/2023   Bromberg, Brian             0.4 Review claim valuation summary provided for crypto composition of certain
                                                        claims.
   14       11/7/2023   Bromberg, Brian             0.7 Review claims database summaries prepared from information for customer
                                                        claims reconciliation.
   14       11/7/2023   Kimche, Livia               1.6 Consolidate list of clean coin names from customer schedule file and export to
                                                        workbook re: claims.
   14       11/7/2023   Kimche, Livia               0.9 Prepare data analysis on the customer claims data by coin name, customer, and
                                                        quantity.
   14       11/7/2023   Watson, Ching               2.6 Prepare an appendix on price and volume data sources for claims valuation.

   14       11/8/2023   Gray, Michael               0.6 Provide comments on draft report re: customer claims summary analysis.

   14       11/8/2023   Risler, Franck              1.9 Assess the coin metrics report distributed by the Debtors consisting of baseline
                                                        pricing for the FTX token assets and derivatives for claims pricing analysis.

   14       11/8/2023   Risler, Franck              1.4 Perform liquidity analysis around Petition Date including market depth,
                                                        liquidity, imbalance, and trading volume in the context of claim valuation.
   14       11/8/2023   Diodato, Michael            2.5 Prepare list of data diligence questions re: Debtors' pricing list for customer
                                                        claims.
   14       11/8/2023   Dawson, Maxwell             0.9 Update customer claims deck to assess impact of certain token valuation
                                                        decisions.




                                                          10
                Case 22-11068-JTD              Doc 6655-2        Filed 01/25/24              Page 11 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional              Hours                                      Activity

   14       11/8/2023   Majkowski, Stephanie        2.9 Analyze asset prices from A&M in order to create a comprehensive set of
                                                        inquiries regarding missing methodology explanations for claims valuation
                                                        analysis.
   14       11/8/2023   Majkowski, Stephanie        1.4 Compile initial set of inquiries for A&M related to the coin data asset prices
                                                        document regarding the applied methodology for claims pricing analysis.

   14       11/8/2023   Majkowski, Stephanie        2.8 Improve current average daily value calculation to include a broader range of
                                                        base cryptocurrencies to enhance assessment of asset liquidity for claims pricing
                                                        analysis.
   14       11/8/2023   Majkowski, Stephanie        2.3 Conduct a pricing analysis by comparing and contrasting the asset prices from
                                                        A&M to examine the valuation consequences arising from price differences for
                                                        claims analysis.
   14       11/8/2023   Bromberg, Brian             0.9 Revise the presentation for UCC on the updates to the filed customer claims.

   14       11/8/2023   Bromberg, Brian             1.1 Analyze the presentation on claims for updates to the claims pool.

   14       11/8/2023   Jordan, Mason               2.0 Update customer schedule with standardized coin information re: claims.

   14       11/8/2023   Kimche, Livia               0.9 Refresh extract of cleaned coin names from customer claims data to aggregate
                                                        counts of records and sums of quantity for each coin.
   14       11/8/2023   Sveen, Andrew               0.8 Investigate coin names for list of claims compared to list of coin pricing data.

   14       11/8/2023   Langer, Cameron             2.6 Compare Petition Date token prices provided by the Debtors for claims valuation
                                                        purposes.
   14       11/9/2023   Gray, Michael               1.2 Review supplemental customer claim information to create deck.

   14       11/9/2023   Risler, Franck              0.9 Revise the questions list related to the asset pricing dataset contained in the coin
                                                        data.
   14       11/9/2023   Diaz, Matthew               0.8 Analyze the filed claims against FTX from customers to understand the effect on
                                                        the distributions to creditors.
   14       11/9/2023   Diaz, Matthew               0.6 Assess the KYC information for the filed customer claims.

   14       11/9/2023   Dawson, Maxwell             0.9 Update customer claims deck for additional revisions.

   14       11/9/2023   Dawson, Maxwell             0.6 Analyze customer claims at a certain Debtor entity.

   14       11/9/2023   Sveen, Andrew               0.7 Investigate certain files received from Debtors related to claims data.

   14       11/9/2023   Majkowski, Stephanie        1.8 Analyze data-related queries for A&M regarding asset pricing for claims
                                                        valuation analysis.
   14       11/9/2023   Bromberg, Brian             0.6 Review claim data for non customer claims for reconciliations.

   14       11/9/2023   Jordan, Mason               2.4 Run quality control checks on and update customer schedule analysis re: claims.

   14       11/9/2023   Kimche, Livia               2.0 Continue to refresh extract of cleaned coin names from customer claims data for
                                                        aggregating counts of records and sums of quantity for each coin.
   14       11/9/2023   Langer, Cameron             2.3 Classify liquid trading pairs near the Petition Date for the purpose of analyzing
                                                        the Debtors' claim pricing methodology.
   14       11/9/2023   Langer, Cameron             2.2 Analyze token traded prices near the Petition Date for claims valuation purposes.

   14       11/10/2023 Diaz, Matthew                1.4 Review the claims analysis for additional revisions to the analysis since the prior
                                                        iteration.
   14       11/10/2023 Jordan, Mason                1.4 Run quality control checks on and update customer claim schedule analysis.




                                                          11
                Case 22-11068-JTD             Doc 6655-2        Filed 01/25/24             Page 12 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date     Professional              Hours                                     Activity

   14       11/10/2023 Langer, Cameron             1.4 Analyze customer schedule data for claims pricing reconciliation purposes.

   14       11/10/2023 Langer, Cameron             1.6 Analyze trading volume and market capitalization data on the Petition Date for
                                                       the purpose of claims pricing and liquidity categorization.
   14       11/13/2023 Diaz, Matthew               2.3 Analyze the claims filed against the Debtors' estate.

   14       11/13/2023 Dawson, Maxwell             0.7 Review claims presentation provided by A&M.

   14       11/13/2023 Dawson, Maxwell             0.3 Review initial claims objections filed by the Debtors.

   14       11/13/2023 Dawson, Maxwell             0.9 Prepare responses to supplemental questions on claims analysis.

   14       11/13/2023 Sveen, Andrew               0.5 Analyze Debtors' claims objections data.

   14       11/13/2023 Sveen, Andrew               0.3 Assess the Debtors' claims pool based on revised data.

   14       11/13/2023 Gray, Michael               2.0 Conduct claims analysis based on the most recent claims data.

   14       11/13/2023 Bromberg, Brian             1.2 Review claims objection support files.

   14       11/13/2023 Bromberg, Brian             0.7 Analyze the Debtors' claims presentation with calculations of the total claims
                                                       pool by category.
   14       11/13/2023 Bromberg, Brian             0.5 Evaluate the newly provided claims data files from Debtors.

   14       11/13/2023 Guo, Xueying                1.4 Download updated market data for the crypto funds held by FTX for claims
                                                       value evaluation.
   14       11/14/2023 Diaz, Matthew               0.6 Perform review of the Debtors' omnibus claims objections.

   14       11/14/2023 Diodato, Michael            2.8 Revise memo describing UCC proposed claims valuation methodology.

   14       11/14/2023 Dawson, Maxwell             1.3 Evaluate the Debtors' claims objections against customers' filed claims.

   14       11/14/2023 Dawson, Maxwell             2.0 Prepare commentary on the claim information from the Debtors' analysis.

   14       11/14/2023 Sveen, Andrew               0.9 Analyze Debtors' claims objections and related presentation to understand the
                                                       claims pool.
   14       11/14/2023 Majkowski, Stephanie        0.4 Prepare diligence list for meeting with A&M on the tokens claims and assets
                                                       held by the Debtors.
   14       11/14/2023 Diaz, Matthew               1.6 Perform detailed review of the most recent iteration of the claims analysis.

   14       11/14/2023 Diaz, Matthew               1.2 Participate in a call with A&M (E. Mosley, S. Coverick, R. Esposito, and
                                                       Others) on the claim analysis.
   14       11/14/2023 Gray, Michael               1.2 Review claims reconciliation presentation provided by A&M to understand
                                                       status and proposed process and timeline re: claims reconciliation and objection.

   14       11/14/2023 Gray, Michael               0.7 Prepare summary for inclusion in UCC report re: status of claims reconciliation
                                                       and next steps.
   14       11/14/2023 Gray, Michael               1.5 Review analysis re: status of filed and scheduled claims, KYC verification, non-
                                                       customer claims, governmental claims and related reconciliation and objection.

   14       11/14/2023 Gray, Michael               1.0 Assess the claims data received from the Debtors in order to conduct claims
                                                       reconciliation analysis.
   14       11/14/2023 Bromberg, Brian             0.9 Review claims updates slides for the customer and non-customer claims
                                                       objections.



                                                         12
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 13 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   14       11/14/2023 Bromberg, Brian              1.5 Revise claims presentation for UCC.

   14       11/14/2023 Bromberg, Brian              0.9 Analyze customer claims and valuation.

   14       11/14/2023 Bromberg, Brian              0.7 Review non customer claims updates and objections.

   14       11/14/2023 Bromberg, Brian              1.2 Discuss claims reconciliation with A&M (E. Mosley, S. Coverick, R. Esposito,
                                                        and Others).
   14       11/14/2023 Watson, Ching                0.6 Continue to develop the summary of claims valuation pricing methodology.

   14       11/15/2023 Risler, Franck               0.7 Revise memo on claim pricing analysis to support the reconciliation with the
                                                        Debtors calculations.
   14       11/15/2023 Diaz, Matthew                2.1 Review the most recently updated claims analysis from the Debtors.

   14       11/15/2023 Sveen, Andrew                0.6 Analyze the Debtors' provided data on claims for recovery deck to UCC.

   14       11/15/2023 Gray, Michael                0.9 Update UCC report for team comments re: filed claims analysis.

   14       11/15/2023 Gray, Michael                1.3 Review filed claims analysis UCC report.

   14       11/15/2023 Bromberg, Brian              1.2 Finalize deck on claims for UCC.

   14       11/15/2023 Bromberg, Brian              0.5 Review responses on claims reporting.

   14       11/15/2023 Bromberg, Brian              0.8 Revise deck on claims filed against Debtors for the UCC.

   14       11/16/2023 Risler, Franck               0.2 Attend call with PH (K. Pasquale) on claim pricing reconciliation with the
                                                        Debtors' data.
   14       11/16/2023 Diaz, Matthew                1.5 Review the most recently prepared claims analysis.

   14       11/16/2023 Diodato, Michael             2.0 Revise memo describing UCC proposed claims valuation methodology.

   14       11/16/2023 Diodato, Michael             2.9 Review methodology description of derivatives for claims valuation.

   14       11/16/2023 Dawson, Maxwell              0.3 Analyze diligence requests re: claims and KYC information.

   14       11/16/2023 Dawson, Maxwell              0.6 Analyze KYC information provided by A&M to match to claims analysis.

   14       11/16/2023 Majkowski, Stephanie         1.8 Clarify the specifics of the pricing methodology and assess the initial
                                                        documentation for claims pricing analysis.
   14       11/16/2023 Majkowski, Stephanie         2.9 Examine claims pricing memo outline and pricing methodology comparison for
                                                        claims pricing analysis and fair valuation.
   14       11/16/2023 Majkowski, Stephanie         0.5 Analyze the claims filings as part of analysis of the customer claims by group.

   14       11/16/2023 Gray, Michael                1.3 Review filed claims and KYC analysis to understand periodic changes.

   14       11/16/2023 Gray, Michael                0.4 Prepare diligence request for A&M re: supplemental claims analysis
                                                        information.
   14       11/16/2023 Bromberg, Brian              0.7 Review newly provided dataroom files in response to prior diligence questions
                                                        on claims data.
   14       11/16/2023 Bromberg, Brian              1.5 Revise diligence list for Debtors on claims analysis for claims filed against the
                                                        estate.
   14       11/16/2023 Bromberg, Brian              0.4 Review claims questions to provide responses in order to understand the claims
                                                        pool.



                                                          13
                 Case 22-11068-JTD            Doc 6655-2        Filed 01/25/24              Page 14 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                      Activity

   14       11/16/2023 Langer, Cameron              1.7 Analyze coin data provider reference rate pricing methodology around the
                                                        petition date for claims valuation purposes.
   14       11/16/2023 Langer, Cameron              2.3 Analyze Debtors' claims valuation methodology for crypto derivatives for the
                                                        purpose of petition time claims pricing.
   14       11/16/2023 Watson, Ching                2.3 Continue to develop claims pricing methodology for digital assets with special
                                                        considerations.
   14       11/16/2023 Watson, Ching                2.9 Continue to develop claims pricing methodology summary.

   14       11/17/2023 Risler, Franck               0.3 Prepare correspondence for PH on Debtors' response to UCC on coin data
                                                        provider analysis.
   14       11/17/2023 Diaz, Matthew                0.7 Assess non-customer claims against the Debtors' estate.

   14       11/17/2023 Diaz, Matthew                0.5 Attend call with PH (K. Pasquale and I. Sasson) to discuss claims.

   14       11/17/2023 Diodato, Michael             2.4 Review methodology description for handling of derivatives for claims
                                                        valuation.
   14       11/17/2023 Sveen, Andrew                0.3 Analyze the Debtors' filings on claims.

   14       11/17/2023 Majkowski, Stephanie         1.5 Calculate last prices and gather market information used for claims pricing
                                                        analysis.
   14       11/17/2023 Majkowski, Stephanie         2.2 Examine claims data and calculated prices to consolidate and clarify
                                                        categorizations and necessary assumptions for creation of memo for fair
                                                        valuation of claims.
   14       11/17/2023 Majkowski, Stephanie         2.9 Analyze and compare prices for claims based on document provided for claims
                                                        fair pricing analysis.
   14       11/17/2023 Bromberg, Brian              0.7 Review claims reporting from Debtors.

   14       11/17/2023 Bromberg, Brian              0.5 Discuss claims with PH (K. Pasquale and G. Sasson).

   14       11/17/2023 Bromberg, Brian              0.4 Review claims database summaries prepared from information for customer
                                                        reconciliation.
   14       11/17/2023 Langer, Cameron              2.4 Retrieve last traded prices for crypto spot assets at the Petition Date for claims
                                                        valuation purposes.
   14       11/17/2023 Langer, Cameron              2.7 Analyze crypto tokens traded on the FTX exchange near the Petition Date for
                                                        claims pricing purposes.
   14       11/17/2023 Langer, Cameron              2.1 Analyze perpetual futures contract specifications on FTX versus other exchanges
                                                        for claims valuation purposes.
   14       11/17/2023 Watson, Ching                2.9 Continue to develop claims pricing methodology for the Debtors' digital assets.

   14       11/20/2023 Risler, Franck               0.3 Prepare correspondence for PH on claim pricing and responses to UCC
                                                        comments on same.
   14       11/20/2023 Risler, Franck               1.7 Assess the answers received from Debtors to UCC comments on coin data
                                                        baseline token pricing.
   14       11/20/2023 Diaz, Matthew                0.7 Evaluate the latest claims pricing to inform claims analysis for UCC deck.

   14       11/20/2023 Diodato, Michael             2.9 Review coin data baseline pricing and derivatives from Debtors' portfolio.

   14       11/20/2023 Majkowski, Stephanie         1.2 Prepare essential revisions to the claims pricing methodology memo and
                                                        determine subsequent actions for claims pricing and valuation.
   14       11/20/2023 Majkowski, Stephanie         2.9 Examine remarks and revisions related to fair pricing and token categorizations
                                                        in claims pricing memo for claims analysis.
   14       11/20/2023 Majkowski, Stephanie         2.9 Collect principal market data and last price time stamp for comparison with
                                                        A&M baseline pricing for claims valuation analysis.




                                                          14
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 15 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   14       11/20/2023 Bromberg, Brian              0.5 Analyze coin pricing data from Debtors.

   14       11/20/2023 Bromberg, Brian              0.3 Review coin and claim valuation questions as part of claims valuation.

   14       11/20/2023 Guo, Xueying                 2.6 Analyze the decomposition of locked tokens in each summary group and wallet
                                                        group based on Debtors' report to prepare for claims analysis for client.

   14       11/20/2023 Guo, Xueying                 2.7 Match the FTX locked tokens' unlock schedule with their respective quantities
                                                        on each unlock date to prepare for discount valuations for these tokens in the
                                                        claims analysis.
   14       11/20/2023 Watson, Ching                2.5 Review answers to claims pricing methodology provided by A&M.

   14       11/21/2023 Diodato, Michael             1.7 Prepare response to UCC re: pricing of certain tokens at Petition Date.

   14       11/21/2023 Diodato, Michael             2.0 Review coin data pricing for derivatives for certain of the Debtors' digital
                                                        holdings.
   14       11/21/2023 Majkowski, Stephanie         2.9 Validate prices in document on coin prices by employing the provided
                                                        assumptions for claims valuation analysis.
   14       11/21/2023 Majkowski, Stephanie         1.2 Review responses from A&M regarding claims prices for claims valuation
                                                        analysis.
   14       11/21/2023 Majkowski, Stephanie         2.1 Collect reference rate metrics for digital assets in claims for comparison with
                                                        A&M baseline pricing for claims valuation analysis.
   14       11/21/2023 Majkowski, Stephanie         0.4 Evaluate the crypto token claims and assets in preparation for claims meeting
                                                        with A&M.
   14       11/21/2023 Bromberg, Brian              0.5 Analyze Debtors' scheduled claim values to understand customer claim
                                                        composition.
   14       11/21/2023 Bromberg, Brian              0.6 Review coin pricing data for digital assets in the Debtors' portfolio.

   14       11/21/2023 Kubali, Volkan               2.9 Analyze the impact of changes in funding rates of the perpetual futures for
                                                        claims valuation purposes.
   14       11/22/2023 Risler, Franck               1.8 Quantify the comparison of A&M and coin data provider baseline pricing and
                                                        FTI pricing for assets with largest claims.
   14       11/22/2023 Diaz, Matthew                0.9 Assess the claims analysis from the Debtors, updated for the latest filed claims.

   14       11/22/2023 Diodato, Michael             2.9 Review Debtors' replies regarding pricing sources for the use of claims
                                                        dollarization.
   14       11/22/2023 Langer, Cameron              2.6 Analyze aggregated claims values by token to evaluate impact of pricing
                                                        methodologies for claims valuation purposes.
   14       11/22/2023 Langer, Cameron              2.4 Analyze perpetual futures prices on non-FTX exchanges near the Petition Date
                                                        for claims valuation purposes.
   14       11/22/2023 Langer, Cameron              2.8 Analyze the Debtors' Petition Date pricing methodology for claims valuation
                                                        purposes.
   14       11/22/2023 Kubali, Volkan               2.3 Compile perpetual funding rate data as of claims date in multiple exchanges for
                                                        claims valuation purposes.
   14       11/22/2023 Kubali, Volkan               2.9 Analyze the impact of the funding rates of the perpetual futures for claims
                                                        valuation purposes.
   14       11/22/2023 Kubali, Volkan               1.9 Collect futures prices as of claims date in multiple exchanges for claims
                                                        valuation purposes.
   14       11/22/2023 Watson, Ching                1.6 Analyze pricing discrepancy for the top 35 positions for claims valuation.

   14       11/27/2023 Risler, Franck               1.0 Participate in meeting on crypto estimation for claim pricing with Debtors (J.
                                                        Ray), S&C (B. Glueckstein), A&M (K. Ramanathan), and PH (K. Pasquale) to
                                                        discuss methodologies and reconciliation process.




                                                          15
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 16 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   14       11/27/2023 Diaz, Matthew                0.8 Review the latest claims analysis revised for the most recent data on filed
                                                        customer claims.
   14       11/27/2023 Diodato, Michael             1.0 Attend call with Debtors (J. Ray), S&C (B. Glueckstein), A&M (K.
                                                        Ramanathan), and PH (K. Pasquale) to discuss claims valuation methodology.
   14       11/27/2023 Diodato, Michael             0.9 Review the latest information provided for the claims analysis process.

   14       11/27/2023 Diodato, Michael             2.8 Assess details on the methodology of claims analysis from the Debtors.

   14       11/27/2023 Sveen, Andrew                0.9 Assess the Debtors' recoveries and related assumptions with the impact of new
                                                        claims and crypto information.
   14       11/27/2023 Majkowski, Stephanie         2.3 Conduct reconciliation of the differences between Debtors' baseline pricing and
                                                        calculated last price for claims valuation analysis.
   14       11/27/2023 Majkowski, Stephanie         2.9 Compile necessary data for all available claims tokens from coin data provider
                                                        on the Petition Date to compare and contrast variations of potential last prices
                                                        for claims valuation analysis.
   14       11/27/2023 Majkowski, Stephanie         2.9 Investigate median market methodology in order to perform analysis on
                                                        proposed claims pricing flow chart for claims valuation.
   14       11/27/2023 Langer, Cameron              2.4 Analyze token trading volumes at the time of the FTX bankruptcy for the
                                                        purpose pricing claims.
   14       11/27/2023 Langer, Cameron              2.9 Calculate liquidation costs applied to token prices at the petition time for claims
                                                        valuation purposes.
   14       11/27/2023 Langer, Cameron              2.7 Analyze the Debtors' liquidation discount model used to discount claims at the
                                                        Petition Date for valuation purposes.
   14       11/27/2023 Bromberg, Brian              0.7 Review latest claims report from Debtors.

   14       11/27/2023 Bromberg, Brian              0.4 Review latest claim update information.

   14       11/27/2023 Kubali, Volkan               2.8 Analyze the impact of the funding rates of the perpetual futures for claims
                                                        valuation purposes.
   14       11/27/2023 Kubali, Volkan               2.7 Analyze perpetual futures contract specifications on FTX compared to other
                                                        exchanges for claims valuation purposes.
   14       11/27/2023 Kubali, Volkan               2.8 Compare perpetual funding rates in FTX compared to other exchanges as of
                                                        claims date in multiple exchanges for claims valuation purposes.
   14       11/27/2023 Kubali, Volkan               1.0 Analyze the Debtors' approach to liquidation discounts for claims valuation
                                                        purposes.
   14       11/27/2023 Watson, Ching                2.6 Conduct detailed review on summary of claims value by asset position.

   14       11/27/2023 Watson, Ching                2.8 Analyze the impact on claims value from discrepancies in asset pricing.

   14       11/27/2023 You, Can                     1.9 Review Debtors' model to understand the model specifications used by the
                                                        Debtors for liquidation discount for claims pricing.
   14       11/28/2023 Risler, Franck               1.4 Participate in call with PH (K. Pasquale, E. Gilad, and I. Sasson) on Debtors'
                                                        crypto estimation for claim pricing.
   14       11/28/2023 Diaz, Matthew                0.8 Attend call with A&M (R. Esposito and E. Mosley), S&C (A. Kranzley),
                                                        Rothschild (J. Kang), PH and Eversheds (E. Broderick) to discuss the claims
                                                        analysis.
   14       11/28/2023 Diaz, Matthew                0.6 Review the coin monetization pricing in connection with pricing claims.

   14       11/28/2023 Diaz, Matthew                1.3 Evaluate the updated claims analysis in order to understand the status of claims
                                                        reconciliation process and related objections.
   14       11/28/2023 Diodato, Michael             1.2 Review details from the Debtors to prepare for evaluating the Debtors' claims
                                                        estimation methodology.
   14       11/28/2023 Diodato, Michael             1.4 Meet with PH (K. Pasquale, E. Gilad, and I. Sasson) to discuss the claims
                                                        analysis.



                                                          16
                 Case 22-11068-JTD            Doc 6655-2        Filed 01/25/24               Page 17 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   14       11/28/2023 Diodato, Michael            1.9 Research source papers for the Debtors' analysis of the claims.

   14       11/28/2023 Dawson, Maxwell             0.7 Analyze the most recently updated claims data to inform timeline of claims
                                                       reconciliation process and objections.
   14       11/28/2023 Sveen, Andrew               1.2 Evaluate claims data received from the Debtors in order to determine the impact
                                                       on the claims pool.
   14       11/28/2023 Majkowski, Stephanie        0.2 Revise the tokens claims and assets analysis in preparation for meeting with
                                                       A&M pursuant to claims estimation analysis.
   14       11/28/2023 Majkowski, Stephanie        2.9 Calculate claims valuations for two baseline pricing scenarios and an adjusted
                                                       price scenario to measure impact on claims valuation and fair pricing.

   14       11/28/2023 Majkowski, Stephanie        1.5 Analyze the fair market valuation of claims of digital assets against the Debtors'
                                                       estate.
   14       11/28/2023 Majkowski, Stephanie        2.9 Compile a set of inquiries for A&M related to the fair market valuation proposed
                                                       methodology for claims.
   14       11/28/2023 Langer, Cameron             1.9 Analyze trading data for digital assets at the Petition Date for the purpose of fair
                                                       value estimation of customer claims.
   14       11/28/2023 Langer, Cameron             2.3 Analyze the overall impact of applying liquidation costs and discounts due to a
                                                       lack of marketability to token prices for Petition Date claims valuation purposes.
   14       11/28/2023 Langer, Cameron             1.7 Estimate digital asset volatilities at the Petition Date and evaluate impact on
                                                       liquidation costs for claims valuation purposes.
   14       11/28/2023 Langer, Cameron             2.1 Estimate digital asset fair values at the Petition Date for claims valuation
                                                       purposes.
   14       11/28/2023 Watson, Ching               2.4 Develop claims valuation analysis for various claims by category.

   14       11/28/2023 Watson, Ching               2.9 Prepare a draft list of questions to the Debtors' claims valuation expert.

   14       11/28/2023 Watson, Ching               0.9 Prepare table of claims value by asset category for claims analysis.

   14       11/28/2023 Gray, Michael               0.8 Prepare slides on the Debtors' claims provided analysis in order to update the
                                                       UCC on status of claims reconciliation and objections.
   14       11/28/2023 Gray, Michael               1.6 Review materials provided by A&M to understand latest status of claims
                                                       reconciliation and KYC verifications.
   14       11/28/2023 Bromberg, Brian             0.4 Analyze claims pricing and valuation for upcoming motion.

   14       11/28/2023 Bromberg, Brian             0.7 Review diligence data related to the claims analysis.

   14       11/28/2023 Bromberg, Brian             1.4 Participate in claim valuation call with PH K. Pasquale, E. Gilad, and I. Sasson).

   14       11/28/2023 Bromberg, Brian             1.5 Review latest claims diligence report to understand status of claims
                                                       reconciliation.
   14       11/28/2023 Bromberg, Brian             0.8 Participate in claims call with A&M (R. Esposito and E. Mosley), S&C (A.
                                                       Kranzley), Rothschild (J. Kang), PH and Eversheds (E. Broderick) to discuss the
                                                       claims analysis.
   14       11/28/2023 Bromberg, Brian             0.7 Review diligence responses provided by A&M re: claims.

   14       11/28/2023 Rousskikh, Valeri           2.8 Review the market structure invariance model used for computing liquidation
                                                       discount in external claims valuation.
   14       11/28/2023 Kubali, Volkan              2.6 Assess the impact of changes in funding rates of the perpetual futures for claims
                                                       valuation purposes.
   14       11/28/2023 Kubali, Volkan              2.7 Review the Debtors' modeling for liquidation discounts for claims valuation
                                                       purposes.
   14       11/28/2023 Kubali, Volkan              2.8 Evaluate the differences in perpetual futures trading FTX on claims date
                                                       compared to other exchanges for claims valuation purposes.



                                                         17
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 18 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   14       11/28/2023 Guo, Xueying                 2.8 Calculate FTX spot tokens claim value as of the Petition Date based on high-
                                                        level descriptions of A&M's method.
   14       11/29/2023 Risler, Franck               2.3 Assess and benchmark the academic paper used by the Debtors underpinning the
                                                        proposed approach to calculate a liquidation discount in the context of claim
                                                        pricing.
   14       11/29/2023 Diaz, Matthew                0.7 Review the draft UCC report re: claims analysis.

   14       11/29/2023 Sveen, Andrew                0.4 Analyze the Debtors' objections to claims and related replies.

   14       11/29/2023 Majkowski, Stephanie         2.9 Investigate discrepancies between Petition Date prices from Debtors' derivatives
                                                        prices data and FTI baseline prices to measure impact for claims fair valuation.
   14       11/29/2023 Majkowski, Stephanie         0.8 Update claims valuations to exclude claims quantities from certain entities fair
                                                        value claims analysis and estimation.
   14       11/29/2023 Majkowski, Stephanie         1.5 Compile a set of inquiries related to the fair claims market valuation proposed
                                                        methodology for A&M.
   14       11/29/2023 Majkowski, Stephanie         2.1 Examine the memo regarding clarification of proposed claims valuation
                                                        methodology and include addition inquiries.
   14       11/29/2023 Langer, Cameron              2.4 Construct median-weighted market pricing based on coin data publication and
                                                        the Debtors' descriptions for the purpose of claims pricing.
   14       11/29/2023 Langer, Cameron              2.1 Estimate impact on claims values from discrepancies between Debtors' pricing
                                                        and FTI pricing for the purpose of claims pricing.
   14       11/29/2023 Rousskikh, Valeri            2.8 Review model for pricing of options based on average asset values used for
                                                        computing discount values in external claims valuation.
   14       11/29/2023 Rousskikh, Valeri            2.6 Analyze methodology for computing discount for lack of marketability in
                                                        external claims valuation.
   14       11/29/2023 Rousskikh, Valeri            2.7 Analyze model assumptions for computing certain discounts in external claims
                                                        valuation.
   14       11/29/2023 Kubali, Volkan               2.4 Develop a set of diligence questions to assess the claims valuation method used
                                                        by Debtors for claims valuation.
   14       11/29/2023 Kubali, Volkan               2.6 Compare the modeling approach used by Debtors to standard market practices
                                                        for claims valuation purposes.
   14       11/29/2023 Kubali, Volkan               2.7 Analyze the Debtor's modeling for liquidation discounts for claims valuation
                                                        purposes.
   14       11/29/2023 Guo, Xueying                 2.6 Filter the markets used to calculate spot token prices in the FTX claims using the
                                                        market selection explanation provided by A&M.
   14       11/29/2023 Guo, Xueying                 2.7 Calculate FTX spot tokens claim value as of the Petition Date using the filtered
                                                        markets calculated in the previous step.
   14       11/29/2023 Guo, Xueying                 2.8 Review the market selection method provided by A&M for spot tokens valuation
                                                        for claims analysis.
   14       11/29/2023 Watson, Ching                2.9 Analyze claims valuation impact due to deviation from last traded price.

   14       11/29/2023 Watson, Ching                2.9 Compare claims valuation methodologies and related impact.

   14       11/29/2023 Watson, Ching                1.9 Analyze impact of the Debtors' proposed liquidation discount on claims
                                                        valuation.
   14       11/29/2023 Gray, Michael                1.0 Evaluate the claims analysis estimates for the total claims pools by category.

   14       11/29/2023 Bromberg, Brian              0.3 Prepare correspondence to A&M re: requests for data on claims.

   14       11/29/2023 Bromberg, Brian              0.4 Review latest claim update information from the Debtors.

   14       11/30/2023 Risler, Franck               1.4 Revise draft preliminary lists of questions to the Debtors following the meeting
                                                        with the Debtors and AHC on crypto estimation methods for claims pricing.




                                                          18
                 Case 22-11068-JTD            Doc 6655-2        Filed 01/25/24              Page 19 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                      Activity

   14       11/30/2023 Diaz, Matthew               0.9 Review the claims pricing analysis for certain categories of claims.

   14       11/30/2023 Diodato, Michael            2.2 Analyze the markets used by coin data provider for their claims pricing.

   14       11/30/2023 Sveen, Andrew               0.4 Assess the updates to the claims against the Debtors from review of the newest
                                                       data.
   14       11/30/2023 Sveen, Andrew               1.2 Analyze certain filed claims to assess the crypto composition of claims.

   14       11/30/2023 Majkowski, Stephanie        0.8 Calculate basis adjusted price for perpetual futures on certain tokens based on
                                                       their adjusted prices for claims valuation estimation and analysis.
   14       11/30/2023 Majkowski, Stephanie        2.4 Incorporate liquidation discount metrics and run a scenario valuation for claims
                                                       analysis.
   14       11/30/2023 Majkowski, Stephanie        1.3 Compare and contrast the asset categorizations of over 3000 claims tokens for
                                                       claims valuation analysis.
   14       11/30/2023 Majkowski, Stephanie        0.5 Evaluate the claims by token composition for certain tokens to assess total value.

   14       11/30/2023 Majkowski, Stephanie        2.9 Incorporate baseline pricing into valuation analysis and calculate a scenario
                                                       valuation for claims analysis.
   14       11/30/2023 Langer, Cameron             2.8 Prepare question list on liquidation cost methodology used by the Debtors'
                                                       valuation expert for the purpose of claims valuation.
   14       11/30/2023 Langer, Cameron             2.2 Analyze the market impact of token liquidation near the FTX Petition Date for
                                                       the purpose of claims pricing.
   14       11/30/2023 Langer, Cameron             1.9 Analyze potential liquidation cost cap to be applied to slippage costs at the
                                                       Petition Date for claims valuation purposes.
   14       11/30/2023 Langer, Cameron             1.1 Investigate the impact of execution horizon on liquidation costs near the FTX
                                                       Petition Date for claims pricing purposes.
   14       11/30/2023 Diodato, Michael            0.4 Assess the crypto claims by token composition for claims analysis.

   14       11/30/2023 Kubali, Volkan              0.5 Evaluate certain key terms of the Debtors' crypto management agreements.

   14       11/30/2023 Rousskikh, Valeri           2.7 Validate impact of adjusting assumptions in the model for discount in external
                                                       claims valuation.
   14       11/30/2023 Rousskikh, Valeri           2.9 Estimate materiality from changes in model for computing discounted value for
                                                       a set of tokens in external claims valuation.
   14       11/30/2023 Rousskikh, Valeri           2.9 Provide comparative analysis of model for computing certain discounts
                                                       compared to methodology used in external claims valuation.
   14       11/30/2023 Kubali, Volkan              1.1 Evaluate Debtors' claims valuation for crypto tokens and derivatives for the
                                                       purpose of Petition Date claims pricing.
   14       11/30/2023 Kubali, Volkan              2.7 Analyze the model and approach used by Debtors for liquidation discounts at
                                                       Petition Date for claims valuation purposes.
   14       11/30/2023 Gray, Michael               0.4 Review materials provided by PH in connection with Debtors' motion
                                                       establishing a schedule and procedure for estimating a certain claim.
   14       11/30/2023 Gray, Michael               0.3 Prepare correspondence to A&M re: outstanding diligence on claims.

   14       11/30/2023 Gray, Michael               0.9 Review claims detail regarding certain filed claims with large variances to
                                                       scheduled amounts.
   14       11/30/2023 Bromberg, Brian             0.5 Review the top filed claims with variances from scheduled claim amounts.

   14       11/30/2023 Bromberg, Brian             0.7 Assess the subordinated claims pool to understand its components and relative
                                                       size.
   14       11/30/2023 Bromberg, Brian             0.9 Review latest provided summary on claims data.

   14       11/30/2023 Bromberg, Brian             0.3 Review claims report questions for the Debtors to understand the claims
                                                       valuation methodology.



                                                         19
                Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24              Page 20 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   14       11/30/2023 Bromberg, Brian              0.7 Review A&M's latest provided summary on KYC claims data.

14 Total                                          479.8

   16       11/1/2023   Bromberg, Brian             1.0 Evaluate the latest recovery estimates given the updated claims analysis.

   16       11/2/2023   Bromberg, Brian             0.5 Evaluate updates to waterfall analysis.

   16       11/2/2023   Bromberg, Brian             0.3 Review recovery analysis for updates from prior iteration.

   16       11/2/2023   Bromberg, Brian             0.3 Analyze the results of revised recovery analysis for Plan.

   16       11/2/2023   Simms, Steven               0.6 Correspond on Plan timing and related disclosure issues.

   16       11/2/2023   Diaz, Matthew               0.8 Analyze the crypto values for impacts on the recovery analysis.

   16       11/2/2023   Dawson, Maxwell             0.4 Prepare outline of upcoming waterfall presentation to UCC.

   16       11/3/2023   Simms, Steven               0.4 Attend call with UCC on Plan terms and related issues.

   16       11/3/2023   Diaz, Matthew               0.8 Assess the updated recovery estimates to compare to prior iteration of analysis.

   16       11/3/2023   Dawson, Maxwell             0.3 Analyze liquidation analysis in connection with waterfall presentation.

   16       11/3/2023   Dawson, Maxwell             1.4 Review cash allocation in waterfall model.

   16       11/3/2023   Sveen, Andrew               1.8 Update the waterfall recovery model with revised inputs.

   16       11/3/2023   Sveen, Andrew               1.6 Continue to update the assumptions for waterfall recovery model.

   16       11/6/2023   Gray, Michael               0.3 Review draft letter on social media regarding Plan issues.

   16       11/6/2023   Gray, Michael               1.0 Evaluate the amended Plan terms to compare the recovery outcomes to prior
                                                        analysis.
   16       11/6/2023   Bromberg, Brian             0.4 Review draft creditor letter issue presented re: Plan issues.

   16       11/6/2023   Bromberg, Brian             0.6 Conduct analysis on the creditor recoveries by category and creditor group based
                                                        on the revised estimates.
   16       11/6/2023   Risler, Franck              0.6 Estimate necessary discounts through a best practice option method for token
                                                        valuation for inclusion in recovery analysis.
   16       11/6/2023   Simms, Steven               0.4 Evaluate waterfall recovery model's updates recovery outputs to understand the
                                                        latest recovery estimates.
   16       11/6/2023   Diaz, Matthew               1.9 Assess the latest recoveries for various pools from the recovery analysis.

   16       11/7/2023   Diaz, Matthew               0.7 Analyze the recent media reports on the Debtors to determine impact on the Plan
                                                        procedures.
   16       11/7/2023   Gray, Michael               1.0 Review revised assumptions re: recovery analysis.

   16       11/7/2023   Bromberg, Brian             0.4 Review prior waterfall analysis for potential updates to recovery calculations.

   16       11/7/2023   Dawson, Maxwell             1.5 Prepare updates to recovery model based on increase in asset value.

   16       11/7/2023   Simms, Steven               0.4 Evaluate modifications to the waterfall recovery analysis to understand drivers
                                                        of recovery changes.



                                                          20
                Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24              Page 21 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   16       11/8/2023   Gray, Michael               0.4 Review Plan term sheet to ensure proper reflection in revised recovery analysis.

   16       11/8/2023   Gray, Michael               0.4 Review Bahamas asset and claims structure for potential amendments to
                                                        recovery analysis.
   16       11/8/2023   Gray, Michael               0.9 Analyze wind down costs in comparative bankruptcy cases to understand
                                                        accuracy of recovery analysis assumption.
   16       11/8/2023   Gray, Michael               1.3 Continue to review updates to waterfall analysis re: revised assumptions to
                                                        understand impact to creditor recoveries.
   16       11/8/2023   Gray, Michael               1.2 Revise slides for UCC deck on updated creditor recovery estimates following
                                                        new assumptions.
   16       11/8/2023   Bromberg, Brian             1.0 Evaluate the recovery slides detailed analysis in order to develop update for the
                                                        UCC.
   16       11/8/2023   Bromberg, Brian             0.9 Review prior waterfall analysis for potential updates to recoveries following
                                                        assumptions data changes.
   16       11/8/2023   Risler, Franck              0.2 Assess draft letter to UCC from certain creditors expressing views on
                                                        maximizing recovery and suggesting tweaks to proposed Plan.
   16       11/8/2023   Diaz, Matthew               1.2 Continue to revise the recovery analysis deck with additional changes in
                                                        assumptions.
   16       11/8/2023   Dawson, Maxwell             0.5 Revise treatment of crypto assets in recovery model to incorporate additional
                                                        liquidation costs.
   16       11/8/2023   Dawson, Maxwell             2.3 Update treatment of certain assets in recovery model.

   16       11/8/2023   Dawson, Maxwell             1.1 Prepare outline of deck to present recoveries for certain creditor groups.

   16       11/8/2023   Dawson, Maxwell             0.6 Analyze administrative costs in the recovery model in order to calculate
                                                        recoveries.
   16       11/8/2023   Sveen, Andrew               1.6 Research wind down costs in comparable crypto bankruptcy cases.

   16       11/8/2023   Sveen, Andrew               2.1 Update assumptions for cash balances, crypto pricing, and other assumptions in
                                                        waterfall recovery analysis.
   16       11/8/2023   Langer, Cameron             2.9 Calculate expected liquidation costs for the Debtors' crypto portfolio for
                                                        recovery analysis purposes.
   16       11/9/2023   Gray, Michael               0.8 Evaluate the recoveries by asset for the various creditor groups.

   16       11/9/2023   Gray, Michael               1.9 Review recovery analysis report.

   16       11/9/2023   Bromberg, Brian             0.4 Review questions list for Debtors on certain recovery model data inputs.

   16       11/9/2023   Bromberg, Brian             0.5 Review prior waterfall analysis for potential updates.

   16       11/9/2023   Dawson, Maxwell             1.2 Revise asset and claim sensitivity analyses for inclusion in recovery report.

   16       11/9/2023   Dawson, Maxwell             1.9 Analyze recovery model functionality at certain recovery levels.

   16       11/9/2023   Dawson, Maxwell             1.1 Provide comments on draft recovery deck.

   16       11/9/2023   Sveen, Andrew               0.6 Prepare deck including updated creditor recoveries and assumptions.

   16       11/9/2023   Sveen, Andrew               0.8 Revise assumptions in waterfall recovery analysis.

   16       11/9/2023   Simms, Steven               0.4 Prepare correspondence for creditor on issues related to the waterfall recovery
                                                        model.
   16       11/9/2023   Simms, Steven               0.4 Review the terms of the Plan process and timeline.




                                                          21
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 22 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   16       11/10/2023 Diaz, Matthew                0.5 Analyze the media summaries re: the Debtors' Plan timeline and voting.

   16       11/10/2023 Gray, Michael                1.0 Review waterfall model re: recovery analysis UCC report.

   16       11/10/2023 Gray, Michael                1.2 Review appendix in draft UCC report re: detailed breakdown of key
                                                        assumptions utilized in recovery analysis.
   16       11/10/2023 Gray, Michael                0.8 Update recovery analysis report re: sensitivity analysis.

   16       11/10/2023 Gray, Michael                0.3 Review recent market trends for certain coins in the Debtors' portfolio.

   16       11/10/2023 Gray, Michael                0.7 Review supplemental diligence questions regarding token pricing for customer
                                                        claims valuation.
   16       11/10/2023 Bromberg, Brian              2.4 Review recovery presentation draft.

   16       11/10/2023 Bromberg, Brian              0.6 Develop recovery model to predict creditor recoveries by different groups.

   16       11/10/2023 Dawson, Maxwell              2.7 Prepare detail buildup slides for certain assumptions in recovery deck.

   16       11/10/2023 Dawson, Maxwell              0.4 Calculate recovery values for creditors re: recovery deck for the UCC.

   16       11/10/2023 Dawson, Maxwell              1.1 Update sensitivity analysis re: recovery deck.

   16       11/10/2023 Simms, Steven                0.6 Correspondence on customer letter and issues for the Plan recovery analysis.

   16       11/11/2023 Risler, Franck               0.3 Analyze the suggestions on Plan structure from certain creditors.

   16       11/13/2023 Gray, Michael                0.4 Review letter provided by certain customers of the pre-petition exchange to
                                                        understand issues flagged.
   16       11/13/2023 Gray, Michael                1.1 Review revised liquidation analysis to understand changes in total value and
                                                        liquidation discounts re: recovery analysis.
   16       11/13/2023 Gray, Michael                2.0 Conduct review of the recoveries for various creditors.

   16       11/13/2023 Gray, Michael                1.0 Prepare updates to the recovery model to estimate the impact on recovery
                                                        percentages for various customer groups.
   16       11/13/2023 Bromberg, Brian              1.1 Review the waterfall recovery model to understand the changes from the claims
                                                        objections.
   16       11/13/2023 Bromberg, Brian              0.6 Analyze recovery changes based on volatile assets.

   16       11/13/2023 Bromberg, Brian              0.8 Review crypto asset assumptions and modeling.

   16       11/13/2023 Bromberg, Brian              1.1 Review presentation on recoveries for UCC.

   16       11/13/2023 Bromberg, Brian              0.3 Review Bahamas asset assumptions in recovery analysis.

   16       11/13/2023 Bromberg, Brian              0.8 Review backup calculations on recovery.

   16       11/13/2023 Bromberg, Brian              0.7 Assess the Plan and related recovery estimates issues in order to prepare
                                                        materials to update the UCC.
   16       11/13/2023 Simms, Steven                0.6 Review the most recently revised recovery analysis.

   16       11/13/2023 Diaz, Matthew                1.9 Evaluate the recovery amounts for various customer groups based on the new
                                                        claims pool estimates.
   16       11/13/2023 Dawson, Maxwell              2.7 Prepare updates to recovery analysis based on additional asset value fluctuations.




                                                          22
                Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24               Page 23 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date     Professional             Hours                                        Activity

   16       11/13/2023 Dawson, Maxwell             1.1 Continue to prepare recovery analysis presentation for UCC.

   16       11/13/2023 Sveen, Andrew               0.3 Update the waterfall recovery model for revised crypto assumptions.

   16       11/13/2023 Simms, Steven               0.7 Conduct review of the most recent recovery analysis to assess the recovery
                                                       estimates.
   16       11/14/2023 Gray, Michael               0.6 Prepare summary of Debtors' proposed timeline for potential inclusion in UCC
                                                       Plan report re: claims reconciliation and objection.
   16       11/14/2023 Gray, Michael               1.7 Review recovery analysis to understand changes in assumptions and impact on
                                                       various classes.
   16       11/14/2023 Bromberg, Brian             1.5 Analyze recovery modeling for changes in assumptions and predicted recovery
                                                       results.
   16       11/14/2023 Bromberg, Brian             1.8 Analyze recovery presentation for the UCC with revised estimates for creditor
                                                       recoveries by group.
   16       11/14/2023 Bromberg, Brian             0.4 Prepare diligence questions list for certain Debtor entity exchange.

   16       11/14/2023 Bromberg, Brian             1.7 Prepare updates to recovery presentation draft.

   16       11/14/2023 Bromberg, Brian             0.5 Revise recovery presentations deck for UCC update.

   16       11/14/2023 Bromberg, Brian             1.0 Revise UCC deck containing updates for recovery analyses.

   16       11/14/2023 Simms, Steven               0.7 Revise presentation on updated waterfall for UCC.

   16       11/14/2023 Diaz, Matthew               2.7 Continue to review the updated recovery analysis containing revised inputs for
                                                       the claims amounts.
   16       11/14/2023 Dawson, Maxwell             1.7 Update assumption buildups for the latest recovery analysis.

   16       11/14/2023 Dawson, Maxwell             2.9 Prepare recovery analysis re: latest crypto inputs.

   16       11/14/2023 Diaz, Matthew               0.9 Develop outline for presentation to the UCC on the claims and recovery analysis
                                                       in relation to the Plan.
   16       11/14/2023 Langer, Cameron             1.4 Perform scenario valuation for crypto assets using liquidation cost and discount
                                                       due to lack of marketability for recovery analysis purposes.
   16       11/15/2023 Gray, Michael               1.8 Review recovery analysis included in UCC report to understand value
                                                       distribution under certain recoveries.
   16       11/15/2023 Gray, Michael               0.5 Review information provided by Debtors re: Plan timeline.

   16       11/15/2023 Gray, Michael               0.6 Review sensitivity analysis included in draft UCC report re: a certain token price
                                                       fluctuation to evaluate impact on creditor recoveries.
   16       11/15/2023 Gray, Michael               0.7 Update UCC report for team comments re: recovery analysis.

   16       11/15/2023 Bromberg, Brian             0.5 Conduct review of the inputs in the waterfall recovery model.

   16       11/15/2023 Bromberg, Brian             0.5 Evaluate the Plan and Disclosure Statement timeline from the Debtors.

   16       11/15/2023 Bromberg, Brian             0.9 Prepare questions list re: Plan treatment of a certain Debtor entity.

   16       11/15/2023 Bromberg, Brian             0.7 Revise recovery estimates presentation for the UCC with additional data tables.

   16       11/15/2023 Bromberg, Brian             1.9 Prepare for presentation on recovery to UCC.

   16       11/15/2023 Bromberg, Brian             1.7 Finalize deck on recovery for the UCC to understand percentage recovery
                                                       estimates.



                                                         23
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 24 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   16       11/15/2023 Bromberg, Brian              0.6 Comment on presentation on recovery update.

   16       11/15/2023 Risler, Franck               0.3 Assess the timeline for the Plan from Debtors.

   16       11/15/2023 Diaz, Matthew                0.5 Review the updated Plan timeline provided by the Debtors.

   16       11/15/2023 Diaz, Matthew                1.9 Analyze presentation to the UCC containing recovery estimates by various
                                                        creditor groups.
   16       11/15/2023 Bromberg, Brian              1.0 Discuss Plan timeline with A&M (E. Mosley and S. Coverick).

   16       11/15/2023 Dawson, Maxwell              1.8 Continue to prepare draft recovery presentation for UCC.

   16       11/15/2023 Dawson, Maxwell              2.8 Finalize draft of recovery analysis to share with PH.

   16       11/15/2023 Dawson, Maxwell              0.9 Prepare supplemental sensitivity re: certain crypto assets for recoveries.

   16       11/15/2023 Dawson, Maxwell              1.1 Continue to prepare draft recovery presentation for UCC.

   16       11/15/2023 Dawson, Maxwell              1.0 Analyze updated crypto liquidation analysis to understand recovery sensitivities.

   16       11/15/2023 Dawson, Maxwell              0.6 Analyze functionality of recovery model at certain recovery levels.

   16       11/15/2023 Sveen, Andrew                0.5 Revise recovery deck for the UCC.

   16       11/15/2023 Diaz, Matthew                1.0 Participate in a call with A&M (E. Mosley and S. Coverick) to discuss key Plan
                                                        issues related to timeline.
   16       11/15/2023 Simms, Steven                1.6 Review UCC report on recoveries and waterfall containing the latest data
                                                        assumptions.
   16       11/16/2023 Gray, Michael                0.5 Assemble the updated assumption tables from the previous and current decks on
                                                        recovery for comparison.
   16       11/16/2023 Gray, Michael                2.1 Assess the coin holdings and related discounts as part of recovery inputs for the
                                                        waterfall model.
   16       11/16/2023 Bromberg, Brian              0.5 Revise recovery analysis presentation for the UCC containing additional
                                                        sensitivities.
   16       11/16/2023 Bromberg, Brian              0.7 Review Plan term sheet details.

   16       11/16/2023 Bromberg, Brian              1.2 Assess the Plan recovery analyses prepared to estimate creditors' percentage
                                                        recoveries for various creditor groups.
   16       11/16/2023 Bromberg, Brian              0.4 Review additional recovery modeling tables and inputs to evaluate the adherence
                                                        to recent data.
   16       11/16/2023 Bromberg, Brian              0.8 Provide comments to preliminary recovery charts included in draft UCC report.

   16       11/16/2023 Dawson, Maxwell              2.1 Update waterfall analysis to analyze revised customer recoveries.

   16       11/16/2023 Sveen, Andrew                0.7 Analyze the updates to the recovery model based on the crypto assumptions
                                                        updates.
   16       11/16/2023 Sveen, Andrew                1.8 Evaluate the materials for the updated recovery analysis.

   16       11/16/2023 Sveen, Andrew                1.8 Prepare updates to the waterfall model for crypto pricing and values.

   16       11/16/2023 Diaz, Matthew                0.6 Prepare diligence list for necessary data on certain items related to the Plan and
                                                        recovery analysis.
   16       11/16/2023 Simms, Steven                1.3 Review draft asset purchase agreement and related Plan issues.




                                                          24
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 25 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   16       11/16/2023 Diaz, Matthew                1.1 Prepare for call with UCC on the Plan terms and related issues by analyzing
                                                        materials to share.
   16       11/16/2023 Simms, Steven                0.6 Prepare correspondence on creditor letter and related issues for the UCC re:
                                                        Plan.
   16       11/17/2023 Diaz, Matthew                0.8 Analyze the customer claims to understand the effects on changes in the claims
                                                        pool for the creditor recoveries.
   16       11/17/2023 Gray, Michael                0.9 Research Debtors' token portfolio detail broken down by Debtor entity re: Plan.

   16       11/17/2023 Gray, Michael                1.2 Evaluate recovery analysis in the context of cash distributions.

   16       11/17/2023 Risler, Franck               0.8 Assess value of all FTX portfolio tokens, including quantification of discount in
                                                        the context of the estimation of creditor recovery under Plan.
   16       11/17/2023 Diaz, Matthew                0.5 Review the Plan timeline for the upcoming milestones.

   16       11/17/2023 Dawson, Maxwell              1.7 Analyze revised functionality of crypto assets in waterfall model.

   16       11/17/2023 Bromberg, Brian              1.2 Prepare an outline for supplemental analyses re: recovery.

   16       11/20/2023 Gray, Michael                0.8 Provide comments on recovery analysis breakout by asset.

   16       11/20/2023 Gray, Michael                1.3 Review recovery analysis breakout by asset.

   16       11/20/2023 Gray, Michael                1.5 Analyze the estimated recovery ranges for various creditor groups.

   16       11/20/2023 Simms, Steven                0.4 Prepare correspondence on coin monetization and Plan process timeline and
                                                        milestones.
   16       11/20/2023 Dawson, Maxwell              2.8 Prepare analysis re: eventual mechanics of distributions in waterfall.

   16       11/20/2023 Dawson, Maxwell              1.3 Prepare slides re: eventual mechanics of distributions in waterfall.

   16       11/20/2023 Dawson, Maxwell              0.7 Revise slides re: eventual mechanics of distributions in waterfall.

   16       11/21/2023 Gray, Michael                1.8 Review updates to recovery by asset breakdown analysis and related draft UCC
                                                        report.
   16       11/21/2023 Simms, Steven                0.6 Evaluate updated waterfall analysis to assess the recovery estimates for various
                                                        creditor groups.
   16       11/21/2023 Dawson, Maxwell              0.9 Prepare analysis of recoveries by asset class.

   16       11/21/2023 Bromberg, Brian              1.4 Prepare recovery breakdown analysis.

   16       11/22/2023 Gray, Michael                1.5 Assess the recoveries for various groups based on the latest waterfall analysis.

   16       11/22/2023 Diaz, Matthew                0.9 Assess the recovery analysis for the latest estimates of recoveries for the
                                                        different creditor groups.
   16       11/22/2023 Simms, Steven                0.4 Prepare correspondence with creditor on recovery items.

   16       11/22/2023 Bromberg, Brian              1.1 Assess the recovery analysis for the creditors of the estate in accordance with the
                                                        Plan terms.
   16       11/26/2023 Bromberg, Brian              0.9 Review new recovery charts for incorporation in the update to UCC on
                                                        recoveries.
   16       11/27/2023 Simms, Steven                0.7 Attend call with AHC, PH (K. Pasquale) and Jefferies (T. Shea) on Plan
                                                        questions.
   16       11/27/2023 Simms, Steven                0.6 Prepare correspondence on coin monetization and waterfall items to estimate
                                                        recoveries for creditors.



                                                          25
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 26 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   16       11/27/2023 Dawson, Maxwell              1.3 Assess treatment of crypto liquidation proceeds in waterfall.

   16       11/27/2023 Dawson, Maxwell              1.8 Continue to prepare analysis of recoveries by asset class.

   16       11/27/2023 Gray, Michael                1.1 Review recovery analysis updates re: distributions.

   16       11/27/2023 Gray, Michael                1.0 Evaluate the effects of updated crypto valuation data to recovery analysis.

   16       11/27/2023 Bromberg, Brian              0.7 Participate in Plan issues discussion with AHC, PH (K. Pasquale) and Jefferies
                                                        (T. Shea).
   16       11/27/2023 Bromberg, Brian              2.4 Analyze the latest breakdown of the asset recovery by certain categories and
                                                        groups.
   16       11/27/2023 Bromberg, Brian              1.2 Analyze liquidation proceeds from assets.

   16       11/27/2023 Bromberg, Brian              0.7 Review recovery model for the estimated recoveries to certain creditor groups.

   16       11/27/2023 Bromberg, Brian              0.5 Evaluate the Plan terms negotiations for the AHC and the Debtors in order to
                                                        create materials for UCC.
   16       11/28/2023 Simms, Steven                0.6 Assess the timing of the upcoming Plan milestones for the Debtors.

   16       11/28/2023 Diaz, Matthew                1.4 Review the updated recovery analysis to estimate recoveries to certain groups of
                                                        creditors.
   16       11/28/2023 Dawson, Maxwell              2.7 Prepare slides re: recovery by asset class.

   16       11/28/2023 Gray, Michael                1.7 Review recovery analysis updates re: distributions.

   16       11/28/2023 Bromberg, Brian              1.2 Review latest breakdown of asset recovery.

   16       11/28/2023 Bromberg, Brian              0.7 Review assumptions related to recovery timing.

   16       11/29/2023 Diaz, Matthew                1.1 Review the proposed Plan solicitation materials.

   16       11/29/2023 Diaz, Matthew                1.6 Review the updated recovery analysis for the creditors of the Debtors' estate.

   16       11/29/2023 Dawson, Maxwell              1.1 Revise UCC slides re: recovery by asset class.

   16       11/29/2023 Dawson, Maxwell              2.2 Revise analysis re: recovery by asset class for inclusion in UCC slide deck.

   16       11/29/2023 Gray, Michael                0.9 Review materials provided by A&M re: solicitation and balloting.

   16       11/29/2023 Bromberg, Brian              1.1 Review liquidation model and token issues.

   16       11/29/2023 Bromberg, Brian              0.4 Analyze the Plan ballot information provided by Debtors.

   16       11/29/2023 Bromberg, Brian              1.1 Review slides on asset recovery or changes in recoveries.

   16       11/29/2023 Bromberg, Brian              1.0 Review asset liquidation and recovery timeline assumptions.

   16       11/30/2023 Risler, Franck               1.2 Assess amended Plan as shared by the Debtors.

   16       11/30/2023 Diaz, Matthew                1.3 Review the updated recovery analysis for the UCC to assist with recovery
                                                        estimations.
   16       11/30/2023 Dawson, Maxwell              2.0 Prepare additional buildup of assumptions re: recovery analysis.




                                                          26
                Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24               Page 27 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                        Activity

   16       11/30/2023 Diaz, Matthew                0.5 Evaluate the creditors' recoveries by assets and by categories.

   16       11/30/2023 Simms, Steven                0.4 Prepare correspondence to UCC on case timing and alternatives for Plan
                                                        timeline.
   16       11/30/2023 Gray, Michael                1.2 Conduct review draft amended Plan provided by PH to understand changes in
                                                        proposed structure from filed Plan.
   16       11/30/2023 Gray, Michael                0.6 Analyze materials provided by A&M in connection with customer solicitation
                                                        and balloting.
   16       11/30/2023 Gray, Michael                0.5 Develop slides for UCC on the results of recovery analysis.

   16       11/30/2023 Bromberg, Brian              1.5 Provide comments on the draft amended Plan from the Debtors to be filed.

   16       11/30/2023 Bromberg, Brian              0.2 Review board discussion materials in the context of Plan terms.

   16       11/30/2023 Bromberg, Brian              1.2 Review changes to Debtors' Plan from revised term sheet version.

   16       11/30/2023 Bromberg, Brian              1.7 Conduct review of Plan redline document.

   16       11/30/2023 Bromberg, Brian              0.9 Assess the updated recoveries by assets in the updated slides on recovery for
                                                        UCC.
   16       11/30/2023 Bromberg, Brian              0.6 Investigate Plan ballot information provided by Debtors for solicitation
                                                        planning.
16 Total                                          208.9

   18       11/1/2023   Gray, Michael               0.6 Discuss potential settlement with PH (K. Pasquale, I. Sasson, and J. Iaffaldano).

   18       11/1/2023   Gray, Michael               0.6 Update analysis on potential settlement based on discussion with PH.

   18       11/1/2023   Gray, Michael               0.3 Analyze the terms for a potential preference claim settlement.

   18       11/1/2023   Bromberg, Brian             0.6 Participate in call on evaluation of certain claims with PH (I. Sasson, and J.
                                                        Iaffaldano, and K. Pasquale).
   18       11/1/2023   Bromberg, Brian             0.6 Prepare data diligence list for call on claims analysis for certain claimant.

   18       11/1/2023   Bromberg, Brian             0.4 Review collateral value analysis for certain entity re: potential settlement.

   18       11/1/2023   Bromberg, Brian             0.3 Provide comments on preference analysis draft as part of deck on preference
                                                        claims.
   18       11/1/2023   Diaz, Matthew               0.5 Analyze media related to litigations that effect the determination of customer
                                                        property for the Debtors.
   18       11/1/2023   Dawson, Maxwell             0.7 Prepare analysis re: proposed preference settlement.

   18       11/1/2023   Dawson, Maxwell             0.5 Evaluate a proposed preference settlement.

   18       11/1/2023   Jordan, Mason               2.6 Conduct analysis on customer schedule in database as part of preference analysis
                                                        for certain customers.
   18       11/1/2023   Jordan, Mason               2.4 Continue to conduct analysis on customer schedule in database as part of
                                                        preference analysis for certain customers.
   18       11/1/2023   Jordan, Mason               0.6 Conduct customer schedule data extraction for preference data analysis.

   18       11/1/2023   Steven, Kira                1.4 Evaluate the UCC requests for investigation of certain potential recovery
                                                        actions.
   18       11/1/2023   Kubali, Volkan              2.6 Compile the risk management discussions of liquidation practices of FTX in the
                                                        context of recovery action and investigation requested by UCC.



                                                          27
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 28 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   18       11/1/2023   Kubali, Volkan              2.7 Evaluate the findings on issues surfaced with certain acquisition in the context
                                                        of recovery action and investigation requested by UCC.
   18       11/1/2023   Risler, Franck              1.1 Provide comments on response to crypto request for investigation in the context
                                                        of recovery actions.
   18       11/2/2023   Steven, Kira                0.7 Assess investigation feedback for certain entity related to the Debtors.

   18       11/2/2023   Kubali, Volkan              1.3 Evaluate the findings on issues surfaced with acquisition in the context of
                                                        recovery action and investigation requested by UCC to create descriptions for
                                                        deck.
   18       11/3/2023   Risler, Franck              1.4 Assess the memo on the summary of findings on the investigation opened on
                                                        Debtors' subsidiary at the request of UCC in the context of recovery actions.
   18       11/3/2023   Kubali, Volkan              0.7 Evaluate the conclusions regarding subsidiary discussion of FTX's risk
                                                        management techniques in the context of recovery action and investigation.
   18       11/6/2023   Steven, Kira                0.5 Update diligence tracker for the UCC requests for investigations on potential
                                                        avoidance actions.
   18       11/7/2023   Kimche, Livia               1.8 Extract customer activity schedule exhibit tables from adversary complaint into
                                                        workbook to reconcile total preference exposure.
   18       11/7/2023   Kimche, Livia               0.5 Evaluate customer activity schedule exhibit tables from adversary complaint into
                                                        workbook to reconcile total preference exposure.
   18       11/7/2023   Steven, Kira                1.1 Create diligence list for data related to preference claims calculations.

   18       11/7/2023   Steven, Kira                0.8 Update diligence tracker to assess the data list for requests necessary to complete
                                                        general ledger analysis.
   18       11/7/2023   Steven, Kira                0.5 Continue to assemble general ledger inventory database for continued general
                                                        ledger analysis.
   18       11/8/2023   Famiglietti, Tyler          1.1 Update analysis of the Debtors' general ledgers.

   18       11/8/2023   Steven, Kira                0.4 Continue to prepare analysis on the Debtors' general ledger inventory.

   18       11/8/2023   Steven, Kira                0.6 Construct preliminary general ledger inventory summary protocol.

   18       11/8/2023   Steven, Kira                2.1 Review documents identified from key word searches performed within
                                                        document database for investigations on potential avoidance actions.
   18       11/8/2023   Steven, Kira                2.1 Perform searches in the Debtors' database for information for general ledger
                                                        inventory summary.
   18       11/8/2023   Steven, Kira                2.1 Identify documentation within Debtors' database for general ledger inventory
                                                        analysis.
   18       11/9/2023   Garofalo, Michael           0.5 Assess the Debtors' consolidated general ledgers for continued general ledger
                                                        analysis.
   18       11/9/2023   Steven, Kira                0.3 Prepare data requests to the Debtors' for materials on investigations.

   18       11/9/2023   Steven, Kira                2.6 Continue to perform key word searches within Debtors' database to identify
                                                        relevant documents for inclusion in the general ledger inventory summary.
   18       11/9/2023   Steven, Kira                0.4 Continue to search for Debtors' general ledgers for consolidated general ledger
                                                        file.
   18       11/9/2023   Steven, Kira                2.7 Analyze documents identified in research of the Debtors' database for general
                                                        ledger analysis.
   18       11/9/2023   Steven, Kira                2.6 Continue to identify relevant population of documents with database for general
                                                        ledger inventory analysis.
   18       11/10/2023 Famiglietti, Tyler           2.1 Start refresh of general ledger inventory.

   18       11/10/2023 Steven, Kira                 1.8 Determine whether relevant documents identified within database are general
                                                        ledgers.




                                                          28
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 29 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   18       11/10/2023 Steven, Kira                 1.6 Identify different formats of general ledgers in order to construct consistent
                                                        template.
   18       11/13/2023 Famiglietti, Tyler           2.1 Review the database of Debtors' general ledger data to populate tracker for key
                                                        information.
   18       11/13/2023 Steven, Kira                 1.5 Continue to determine whether relevant documents identified within database
                                                        are general ledgers.
   18       11/13/2023 Steven, Kira                 1.9 Continue to identify different formats of general ledgers in order to construct
                                                        consistent template.
   18       11/14/2023 Busen, Michael               0.3 Prepare data analysis for the Debtors' general ledger investigation.

   18       11/14/2023 Garofalo, Michael            0.5 Update tracker for key information and research re: the general ledger
                                                        consolidated file from the Debtors' database.
   18       11/14/2023 Steven, Kira                 2.9 Identify relevant general ledger documents that contain data limitation errors for
                                                        investigation.
   18       11/14/2023 Steven, Kira                 0.2 Assess anomalies identified in general ledgers from the Debtors' database.

   18       11/14/2023 Steven, Kira                 2.9 Identify relevant general ledger documents that contain beginning balances.

   18       11/15/2023 Famiglietti, Tyler           1.9 Review the Debtors' database for general ledger data to populate tracker on data
                                                        diligence.
   18       11/15/2023 Famiglietti, Tyler           2.6 Compile findings from general ledger data analysis.

   18       11/15/2023 Steven, Kira                 2.4 Review anomalies in entity names between relevant general ledgers to determine
                                                        standardized naming convention.
   18       11/15/2023 Steven, Kira                 2.6 Differentiate between multiple general ledgers found within same document
                                                        from Debtors' database.
   18       11/15/2023 Steven, Kira                 2.3 Construct sample template of standardized general ledger by entity.

   18       11/16/2023 Risler, Franck               0.2 Prepare correspondence to Alix on exchange-based actions and trading
                                                        malfeasance.
   18       11/16/2023 Garofalo, Michael            0.5 Conduct searches of the Debtors' database to collect research on general ledgers.

   18       11/16/2023 Steven, Kira                 1.7 Determine ending year per each true general ledger for duplicate identification
                                                        process.
   18       11/17/2023 Steven, Kira                 1.6 Determine currency denomination per each relevant general ledger found in
                                                        Debtors' document database.
   18       11/17/2023 Steven, Kira                 1.8 Prepare tables on record counts per each relevant general ledger found in
                                                        Debtors' document database.
   18       11/20/2023 Busen, Michael               0.4 Prepare general ledger database for further analysis.

   18       11/20/2023 Garofalo, Michael            0.5 Aggregate general ledger documents for general ledger analysis.

   18       11/20/2023 Famiglietti, Tyler           0.3 Evaluate the consolidated general ledger inventory.

   18       11/20/2023 Jordan, Mason                0.9 Analyze information related to general ledger analysis based on Debtors'
                                                        documents provided.
   18       11/20/2023 Kimche, Livia                0.5 Continue to analyze the Debtors' general ledger files.

   18       11/20/2023 Steven, Kira                 2.7 Populate the tracker of information on general ledgers from the Debtors.

   18       11/20/2023 Steven, Kira                 0.4 Analyze the aggregated general ledger detailed analysis.

   18       11/20/2023 Steven, Kira                 2.7 Utilize data pull time stamp in order to determine most recent versions of general
                                                        ledgers per entity and date.



                                                          29
                Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24              Page 30 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   18       11/20/2023 Steven, Kira                 1.3 Identify duplicates within the aggregated population of general ledgers from the
                                                        Debtors' database.
   18       11/21/2023 Steven, Kira                 2.9 Aggregate unique general ledgers for accumulation into master data file for
                                                        analysis.
   18       11/22/2023 Steven, Kira                 1.1 Perform quality check of the key attributes within general ledger inventory
                                                        analysis.
   18       11/27/2023 Steven, Kira                 1.9 Continue to perform quality check of key attributes within general ledger
                                                        inventory summary.
   18       11/27/2023 Steven, Kira                 1.9 Continue to identify duplicates within the aggregated population of general
                                                        ledgers from the Debtors' document database.
   18       11/28/2023 Busen, Michael               0.2 Prepare consolidation of Debtors' general ledgers to prepare for further analysis.

   18       11/28/2023 Garofalo, Michael            0.4 Conduct analysis of the Debtors' general ledgers provided.

   18       11/28/2023 Steven, Kira                 2.2 Continue to aggregate unique general ledgers for accumulation for analysis.

   18       11/28/2023 Steven, Kira                 2.2 Identify duplicates within the aggregated population of FTX general ledgers
                                                        from Debtors' database.
   18       11/29/2023 Steven, Kira                 2.7 Identify duplicates within the aggregated population of certain entity's general
                                                        ledgers from the Debtors' database.
   18       11/29/2023 Steven, Kira                 2.8 Identify duplicates within the aggregated population of Debtor entity's general
                                                        ledgers from the Debtors' database.
   18       11/29/2023 Bromberg, Brian              0.3 Review preference settlement information for Debtors' preference claims.

   18       11/30/2023 Busen, Michael               0.4 Assess the results from the analysis of the general ledgers.

   18       11/30/2023 Steven, Kira                 0.4 Continue to assess the results from the analysis of the general ledgers.

   18       11/30/2023 Steven, Kira                 2.9 Identify duplicates within the aggregated population of certain Debtor entity's
                                                        general ledgers from the Debtors' database.
   18       11/30/2023 Steven, Kira                 2.8 Identify duplicates within the aggregated population of certain other Debtor
                                                        entity's general ledgers from the Debtors' database.
18 Total                                          115.5

   21       11/1/2023   Risler, Franck              1.0 Participate in weekly UCC meeting with PH (K. Hansen, E. Gilad, G. Sasson,
                                                        and K. Pasquale) with a focus on crypto and derivatives risk claims, coin
                                                        management and FTX 2.0.
   21       11/1/2023   Simms, Steven               1.0 Attend UCC call with PH (K. Hansen, E. Gilad, G. Sasson, and K. Pasquale) on
                                                        case issues including FTX 2.0, certain crypto asset sales, and coin monetization.
   21       11/1/2023   Diaz, Matthew               1.0 Participate in UCC call with PH (K. Hansen, E. Gilad, G. Sasson, and K.
                                                        Pasquale) to discuss coin monetization, Plan terms, and crypto sales.
   21       11/6/2023   Simms, Steven               0.7 Attend call with PH and Jefferies to discuss Plan timing, FTX 2.0 process,
                                                        venture and coin monetization.
   21       11/6/2023   Diaz, Matthew               0.7 Attend call with PH (I. Sasson, K. Pasquale, and Others) and Jefferies (M.
                                                        O'Hara and Others) to prepare for the upcoming UCC call with a focus on Plan
                                                        timeline and coin monetization issues.
   21       11/6/2023   Diodato, Michael            0.7 Attend weekly call with PH (I. Sasson, K. Pasquale, and Others) and Jefferies
                                                        (M. O'Hara and Others) to discuss Plan timeline and coin monetization issues.
   21       11/8/2023   Risler, Franck              1.2 Participate in UCC weekly call with PH (K. Pasquale, I. Sasson, and Others)
                                                        and Jefferies (M. O'Hara, T. Shea, R. Hamilton, and Others) to discuss the Plan
                                                        recovery analysis and related issues.
   21       11/8/2023   Simms, Steven               1.2 Attend UCC call with PH (K. Pasquale, I. Sasson, and Others) and Jefferies (M.
                                                        O'Hara, T. Shea, R. Hamilton, and Others) on case items, including FTX 2.0,
                                                        Plan process and venture sales.



                                                          30
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 31 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   21       11/8/2023   Diaz, Matthew               1.2 Participate in UCC call on Plan terms issues and recovery analysis with PH (K.
                                                        Pasquale, I. Sasson, and Others) and Jefferies (M. O'Hara, T. Shea, R. Hamilton,
                                                        and Others).
   21       11/13/2023 Risler, Franck               0.7 Participate in UCC weekly call with PH (K. Pasquale, I. Sasson, and Others)
                                                        and Jefferies (M. O'Hara, T. Shea, R. Hamilton, and Others) to discuss the Plan
                                                        recovery analysis and related issues.
   21       11/13/2023 Simms, Steven                0.7 Participate in call with UCC, PH (K. Pasquale, I. Sasson, and Others) and
                                                        Jefferies (M. O'Hara, T. Shea, R. Hamilton, and Others) on creditor letter,
                                                        recoveries, Plan timing and related issues for UCC.
   21       11/13/2023 Diaz, Matthew                0.7 Attend call with UCC, PH (K. Pasquale, I. Sasson, and Others) and Jefferies (M.
                                                        O'Hara, T. Shea, R. Hamilton, and Others) to prepare for the upcoming meeting
                                                        with UCC on Plan preparations and recovery estimates.
   21       11/16/2023 Diaz, Matthew                2.1 Participate in the UCC call with UCC, PH (K. Pasquale, I. Sasson, and Others)
                                                        and Jefferies (M. O'Hara, T. Shea, R. Hamilton, and Others) to discuss Plan
                                                        issues, recovery and other topics.
   21       11/16/2023 Risler, Franck               2.1 Participate in weekly UCC call with PH (K. Pasquale, I. Sasson, and Others)
                                                        and Jefferies (M. O'Hara, T. Shea, R. Hamilton, and Others) to discuss coin
                                                        management, Plan issues, recovery and other topics.
   21       11/16/2023 Simms, Steven                2.1 Attend UCC call on Plan timing, FTX 2.0 process and updated waterfall with
                                                        PH (K. Pasquale, I. Sasson, and Others) and Jefferies (M. O'Hara, T. Shea, R.
                                                        Hamilton, and Others).
   21       11/20/2023 Bromberg, Brian              0.6 Participate in advisor call on Plan and claims analysis with PH (E. Gilad and K.
                                                        Pasquale) and Jefferies (M. O'Hara).
   21       11/20/2023 Risler, Franck               0.6 Participate in meeting with PH (E. Gilad and K. Pasquale) and Jefferies (M.
                                                        O'Hara) on claims analysis for Plan and coin management.
   21       11/20/2023 Diaz, Matthew                0.6 Participate in call with PH (E. Gilad and K. Pasquale) and Jefferies (M. O'Hara)
                                                        to prepare for the upcoming call with the UCC on claims against the Debtors and
                                                        Plan terms.
   21       11/22/2023 Risler, Franck               1.4 Participate in weekly UCC call with PH (K. Pasquale, I. Sasson, and Others)
                                                        and Jefferies (M. O'Hara, T. Shea, R. Hamilton, and Others) with a focus on
                                                        coin monetization and claims analysis for the Plan.
   21       11/22/2023 Simms, Steven                1.4 Attend UCC call with PH (K. Pasquale, I. Sasson, and Others) and Jefferies (M.
                                                        O'Hara, T. Shea, R. Hamilton, and Others) on coin monetization, Plan milestone
                                                        timing, customer letter and related items.
   21       11/22/2023 Diaz, Matthew                1.4 Participate in the UCC call with PH (K. Pasquale, I. Sasson, and Others) and
                                                        Jefferies (M. O'Hara, T. Shea, R. Hamilton, and Others) to discuss claims, coin
                                                        monetization and other topics.
   21       11/27/2023 Simms, Steven                0.5 Attend call with PH (I. Sasson, K. Pasquale, and Others) and Jefferies (M.
                                                        O'Hara and Others) on case issues related to Plan.
   21       11/27/2023 Diaz, Matthew                0.5 Attend call with PH (I. Sasson, K. Pasquale, and Others) and Jefferies (M.
                                                        O'Hara and Others) to discuss the Plan terms and milestones for the Plan prior to
                                                        meeting with UCC.
21 Total                                           24.1

   24       11/2/2023   Sveen, Andrew               1.2 Prepare the fee application for the prior month for filing.

   24       11/6/2023   Bromberg, Brian             0.3 Review September fee application exhibits to ensure compliance with
                                                        bankruptcy rules.
   24       11/7/2023   Gray, Michael               0.5 Review updates to draft September fee application prior to distribution to PH
                                                        and YCST.
   24       11/7/2023   Sveen, Andrew               0.4 Review September fee application for privilege prior to filing.

   24       11/7/2023   Sveen, Andrew               1.5 Review October fee application exhibits for compliance with local bankruptcy
                                                        rules.



                                                          31
                Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 32 of 64


                                                   EXHIBIT C
                                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                             DETAIL OF TIME ENTRIES
                            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional            Hours                                       Activity

   24       11/8/2023   Sveen, Andrew              1.9 Continue to review October fee application exhibits for compliance with local
                                                       bankruptcy rules.
   24       11/9/2023   Sveen, Andrew              2.9 Conduct further review of October fee application exhibits.

   24       11/10/2023 Sveen, Andrew               2.4 Review October fee application exhibits for privilege review.

   24       11/13/2023 Sveen, Andrew               2.8 Review October fee application exhibits in order to comply with local rules.

   24       11/14/2023 Sveen, Andrew               1.9 Continue to prepare fee application exhibits for the prior month.

   24       11/14/2023 Sveen, Andrew               0.4 Finalize September fee application exhibits for filing.

   24       11/15/2023 Sveen, Andrew               0.5 Evaluate expenses for October fee application exhibits.

   24       11/15/2023 Sveen, Andrew               2.9 Continue to prepare the fee application exhibits for October.

   24       11/16/2023 Sveen, Andrew               2.8 Continue to supplement the exhibits for the October fee application.

   24       11/17/2023 Sveen, Andrew               2.1 Continue to prepare the exhibits for the fee application for October 2023 with a
                                                       focus on reviewing for privilege.
   24       11/17/2023 Sveen, Andrew               0.9 Continue to prepare the exhibits for the fee application for October 2023.

   24       11/20/2023 Sveen, Andrew               2.9 Continue to prepare fee application for October 2023 in accordance with the
                                                       local bankruptcy rules.
   24       11/21/2023 Gray, Michael               0.2 Review draft CNO re: August fee application.

   24       11/22/2023 Sveen, Andrew               1.8 Continue to conduct privilege review of exhibits for fee applications for the case.

   24       11/27/2023 Sveen, Andrew               2.2 Continue to prepare fee application exhibits for October to comply with the
                                                       bankruptcy rules.
   24       11/28/2023 Dawson, Maxwell             1.5 Prepare fourth interim fee application.

   24       11/28/2023 Sveen, Andrew               2.1 Continue to conduct privilege review for October fee application exhibits for
                                                       filing.
   24       11/28/2023 Sveen, Andrew               1.1 Finalize October fee application privilege review for filing.

   24       11/29/2023 Gray, Michael               1.8 Provide comments to draft October fee application exhibits.

   24       11/29/2023 Gray, Michael               2.7 Conduct privilege review of October fee application.

   24       11/29/2023 Sveen, Andrew               2.3 Review October fee application exhibits for filing to comply with local
                                                       bankruptcy rules.
   24       11/29/2023 Sveen, Andrew               0.9 Continue to finalize October fee application exhibits for filing.

   24       11/30/2023 Dawson, Maxwell             0.4 Prepare fourth interim fee application.

   24       11/30/2023 Sveen, Andrew               1.2 Continue to conduct privilege review for the fee application for the latest month.

   24       11/30/2023 Gray, Michael               0.2 Review the fourth interim fee application for filing.

24 Total                                          46.7

   26       11/1/2023   Gray, Michael              1.0 Analyze issues for UCC related to the coin monetization proposals.




                                                         32
                Case 22-11068-JTD              Doc 6655-2        Filed 01/25/24              Page 33 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional              Hours                                      Activity

   26       11/1/2023   Bromberg, Brian             0.4 Evaluate the most recently updated coin reporting from the Debtors to
                                                        understand the portfolio holdings.
   26       11/1/2023   Risler, Franck              0.3 Attend call with Jefferies (T. Shea) on risk-mitigation strategies for certain FTX
                                                        coin position.
   26       11/1/2023   Risler, Franck              0.3 Assess latest version of crypto trust monetization motion provided by the
                                                        Debtors.
   26       11/1/2023   Risler, Franck              0.4 Assess revisions and comments from S&C on crypto monetization templates
                                                        drafted by PH and FTI.
   26       11/1/2023   Risler, Franck              0.9 Assess price movement of certain coin holdings on 10/31 and 11/01 and assess
                                                        impacts on FTX portfolio valuation, performance, risk and liquidation metrics to
                                                        update the discount for lack of marketability across the vesting dates.
   26       11/1/2023   Risler, Franck              0.3 Attend call with Rothschild (C. Delo) on strategies for management of certain
                                                        coin position held by Debtors.
   26       11/1/2023   Risler, Franck              0.4 Attend call with UCC on strategies for the management of certain crypto
                                                        position and consideration for collateralization.
   26       11/1/2023   Risler, Franck              0.4 Attend call with A&M (K. Ramanathan) on management of certain crypto token
                                                        position.
   26       11/1/2023   Diaz, Matthew               0.9 Conduct review of the latest iteration of the token portfolio analysis.

   26       11/1/2023   Diodato, Michael            1.6 Analyze impact of certain token price increase on portfolio.

   26       11/1/2023   Rousskikh, Valeri           2.9 Design a strip of Asian options to consistently value discounts across the whole
                                                        unlock schedule for restricted tokens in FTX portfolio.
   26       11/1/2023   Rousskikh, Valeri           2.9 Backtest discount quantification using Asian strips against standalone option
                                                        valuation in the context of restricted token monetization.
   26       11/1/2023   Rousskikh, Valeri           2.8 Calibrate model for pricing Asian strips in the context of discount quantification
                                                        of restricted token monetization.
   26       11/1/2023   Majkowski, Stephanie        1.4 Analysis of historical funding rates and their implications on pricing of forward
                                                        contracts on certain token in the context of hedging locked tokens.
   26       11/1/2023   Majkowski, Stephanie        1.6 Investigate certain token derivatives markets including calculations on perpetual
                                                        futures in the context of locked token hedging and pricing.
   26       11/1/2023   Majkowski, Stephanie        2.9 Analyze historical price action and rolling volatilities of certain token during
                                                        previous breakpoint conferences in the context of locked token hedging.

   26       11/1/2023   Majkowski, Stephanie        1.5 Examine token unlock schedule provided in document from Debtors to compare
                                                        to coin report quantities for certain locked token hedging.
   26       11/1/2023   Kubali, Volkan              2.5 Analyze proposals for certain token forward pricing proposals for locked tokens
                                                        for token monetization purposes.
   26       11/1/2023   Guo, Xueying                2.8 Analyze the relationship between token return correlations and volatilities using
                                                        historical data from 2021 to 2022 to confirm the correlation joint bump
                                                        scenarios for FTX portfolio stress tests.
   26       11/1/2023   Guo, Xueying                2.9 Use certain formula to model the correlation structure of FTX portfolio tokens
                                                        and to generate simulations for FTX portfolio stress testing.
   26       11/1/2023   Guo, Xueying                2.6 Analyze the trend in FTX portfolio value coverages and the trend in FTX
                                                        portfolio token correlations when increasing the number of top tokens included
                                                        in portfolio modeling.
   26       11/1/2023   Langer, Cameron             1.9 Analyze portfolio performance of the Debtors' crypto assets for coin
                                                        management purposes.
   26       11/1/2023   Langer, Cameron             1.3 Analyze the current crypto market liquidity for the purpose of coin monetization.

   26       11/1/2023   Langer, Cameron             2.2 Analyze the latest coin report for changes in quantities for the purpose of coin
                                                        monetization and risk management.
   26       11/1/2023   Langer, Cameron             2.6 Calibrate risk aversion parameter in liquidation cost model using crypto market
                                                        liquidity for coin management purposes.



                                                          33
                Case 22-11068-JTD             Doc 6655-2         Filed 01/25/24              Page 34 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/1/2023   Watson, Ching               2.4 Compile support to the post-petition pricing correction for FTX-affiliated
                                                        tokens.
   26       11/1/2023   Watson, Ching               2.9 Develop a description of post-petition pricing correction for FTX-affiliated
                                                        tokens.
   26       11/1/2023   You, Can                    2.9 Compare the coverage and frequency between order book and market metrics,
                                                        and select the optimal method for different analysis.
   26       11/1/2023   You, Can                    1.8 Correlate aggregated liquidity related metrics and calculated metrics from order
                                                        book for crypto analysis.
   26       11/1/2023   de Brignac, Jessica         0.7 Assess certain token details for strategies related to unlocking schedule.

   26       11/1/2023   de Brignac, Jessica         0.8 Review crypto risk summary report and certain token risk data.

   26       11/1/2023   de Brignac, Jessica         0.9 Continue to analyze the risks with certain locked token held by the Debtors.

   26       11/2/2023   Gray, Michael               0.4 Review information provided by A&M re: futures contracts of a certain token.

   26       11/2/2023   Bromberg, Brian             0.3 Analyze coin holdings in Debtors' portfolio as part of coin management
                                                        planning.
   26       11/2/2023   Bromberg, Brian             0.4 Assess the coin management practices for the Debtors' coins in the portfolio.

   26       11/2/2023   Simms, Steven               0.4 Prepare correspondence related to certain locked token of the Debtors.

   26       11/2/2023   Risler, Franck              0.5 Analyze the crypto monetization report in order to draft response.

   26       11/2/2023   Diodato, Michael            0.4 Evaluate crypto derivatives counterparties' feedback on various crypto
                                                        monetizations.
   26       11/2/2023   Risler, Franck              0.4 Participate in call with A&M (K. Ramanathan) on FTX's position for certain
                                                        crypto token.
   26       11/2/2023   Risler, Franck              0.3 Assess the latest version of crypto trust termsheet and pricing restrictions from
                                                        A&M.
   26       11/2/2023   Risler, Franck              0.4 Provide comments on the latest version of the sale motion for certain crypto
                                                        assets.
   26       11/2/2023   Risler, Franck              2.8 Quantify cost of various possible market risk mitigation strategies for the largest
                                                        position in FTX coin and token portfolio following large value fluctuations.
   26       11/2/2023   Risler, Franck              0.5 Assess the latest updated agreement with Galaxy on management of crypto
                                                        assets.
   26       11/2/2023   Risler, Franck              0.4 Assess the latest version of the crypto trust termsheet and pricing restrictions
                                                        from S&C.
   26       11/2/2023   Risler, Franck              0.9 Perform historical data analysis of certain tokens perpetual swaps funding
                                                        markets in the context of the assessment of the most suitable strategy for coin
                                                        management.
   26       11/2/2023   Risler, Franck              0.3 Participate in weekly call with A&M (L, Callerio, K. Ramanathan and G. Walia)
                                                        on token valuation issues.
   26       11/2/2023   Risler, Franck              0.8 Assess the deck shared by the Debtors summarizing their views on the pros and
                                                        cons on certain derivatives trades.
   26       11/2/2023   Risler, Franck              0.7 Participate in call on certain token positions management with Galaxy (C.
                                                        Rhine), PH (J. Madell), Rothschild (C. Delo), Eversheds (E. Broderick), Debtors
                                                        (J. Ray), S&C (A. Kranzley), and A&M (K. Ramanathan and S. Coverick).
   26       11/2/2023   Risler, Franck              0.6 Attend call with A&M (K. Ramanathan) on latest updated version of crypto trust
                                                        monetization documents including sale motion, termsheet and Galaxy restated
                                                        agreement.




                                                          34
                Case 22-11068-JTD              Doc 6655-2        Filed 01/25/24              Page 35 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional              Hours                                      Activity

   26       11/2/2023   Diodato, Michael            0.7 Meet with Galaxy (C. Rhine), PH (J. Madell), Rothschild (C. Delo), Eversheds
                                                        (E. Broderick), Debtors (J. Ray), S&C (A. Kranzley), and A&M (K.
                                                        Ramanathan and S. Coverick) to discuss potential hedging mechanisms for
                                                        certain token.
   26       11/2/2023   Diodato, Michael            1.4 Review Debtors' proposal on hedging certain token.

   26       11/2/2023   Diodato, Michael            0.9 Review impact of certain token price increase on portfolio.

   26       11/2/2023   Diodato, Michael            0.8 Prepare correspondence for A&M to request additional details on certain token,
                                                        including examples and screen shots of questions.
   26       11/2/2023   Diodato, Michael            0.3 Meet with A&M (L. Callerio, G. Walia, and K. Ramanathan) to discuss
                                                        management of certain token and other outstanding token issues.
   26       11/2/2023   Sveen, Andrew               0.4 Analyze Debtors' crypto holdings with a focus on specific tokens.

   26       11/2/2023   Rousskikh, Valeri           2.8 Calibrate model for pricing Asian strips to proxy volatility surface in the context
                                                        of token discount quantification and token monetization.
   26       11/2/2023   Rousskikh, Valeri           2.9 Construct proxy volatility surface for certain token based on available coin
                                                        option market data and realized volatility ratio for discount quantification.
   26       11/2/2023   Rousskikh, Valeri           2.6 Analyze properties of proxy volatility surface for certain token and its impact on
                                                        discount quantification in the context of token monetization.
   26       11/2/2023   Majkowski, Stephanie        0.5 Evaluate the Debtors' holdings of certain locked token in order to analyze the
                                                        value.
   26       11/2/2023   Majkowski, Stephanie        2.9 Assess risk of certain token collateral and margin requirements on third-party in
                                                        the context of locked certain token hedging.
   26       11/2/2023   Majkowski, Stephanie        0.7 Prepare modeling for funding rate risk and associated collateral necessary for
                                                        locked token hedging.
   26       11/2/2023   Majkowski, Stephanie        2.9 Assess risk of certain token funding rate through analysis of historical rates on
                                                        third-party in the context of locked token hedging.
   26       11/2/2023   Majkowski, Stephanie        0.8 Evaluate the management of Debtors' specific tokens held in portfolio.

   26       11/2/2023   Kubali, Volkan              2.6 Analyze the perpetual futures funding rates to determine the expected funding
                                                        cost of future hedging of certain crypto assets for token monetization.

   26       11/2/2023   Kubali, Volkan              2.8 Calculate theoretical option pricing for certain token options based on historical
                                                        and simulated data for token monetization.
   26       11/2/2023   Kubali, Volkan              1.2 Analyze alternatives for crystallizing crypto gains for certain locked tokens such
                                                        as using protocols for token monetization.
   26       11/2/2023   Guo, Xueying                2.7 Calculate the impacts on potential extreme losses of the FTX portfolio under
                                                        various market scenarios to be part of the stress test results.
   26       11/2/2023   Guo, Xueying                2.5 Draft the summary and stress scenario and terminology descriptions for the FTX
                                                        portfolio stress test report for clients.
   26       11/2/2023   Guo, Xueying                2.8 Produce and update the impact curve plot for the FTX portfolio stress tests under
                                                        the coin value shock down scenarios.
   26       11/2/2023   Langer, Cameron             2.4 Analyze current market and liquidity risks associated with crypto trust and
                                                        related crypto trust holdings for the purpose of risk management.
   26       11/2/2023   Watson, Ching               2.8 Prepare exhibits as part of analysis of certain locked tokens.

   26       11/2/2023   Watson, Ching               2.9 Analyze traded price of certain of the Debtors' tokens across exchanges.

   26       11/2/2023   Watson, Ching               2.6 Prepare a summary exhibit of various tokens' fair price calculation.

   26       11/2/2023   You, Can                    2.6 Aggregate liquidity related market metrics across all markets in recent three-
                                                        month period for various tokens and coins held by the Debtors in order to
                                                        estimate the total spot market depth.



                                                          35
                Case 22-11068-JTD              Doc 6655-2        Filed 01/25/24              Page 36 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional              Hours                                      Activity

   26       11/2/2023   You, Can                    2.8 Review hourly order book data for various token holdings for individual
                                                        markets, with full book, to analyze recent market trends to verify crypto asset
                                                        manager's claims on market liquidity.
   26       11/2/2023   de Brignac, Jessica         0.4 Analyze documents on certain token in the Debtors' portfolio to assess the
                                                        discounted value.
   26       11/2/2023   de Brignac, Jessica         0.3 Participate in meeting with A&M (L. Callerio, G. Walia, and K. Ramanathan)
                                                        re: updates on crypto monetization.
   26       11/2/2023   de Brignac, Jessica         0.7 Participate in meeting re: certain token held by Debtors with Galaxy (C. Rhine),
                                                        PH (J. Madell), Rothschild (C. Delo), Eversheds (E. Broderick), Debtors (J.
                                                        Ray), S&C (A. Kranzley), and A&M (K. Ramanathan and S. Coverick) to
                                                        determine valuation strategy.
   26       11/2/2023   de Brignac, Jessica         0.4 Analyze the Debtors' crypto portfolio with a focus on certain tokens and coins
                                                        for monetization analysis.
   26       11/3/2023   Simms, Steven               0.4 Evaluate updated crypto asset value schedule based on market changes.

   26       11/3/2023   Simms, Steven               0.4 Attend call with A&M (K. Ramanathan) on crypto monetization items.

   26       11/3/2023   Risler, Franck              0.4 Participate in call with A&M (K. Ramanathan) on crypto trust trading
                                                        agreements and agreement for collateral custody of crypto derivatives trades.

   26       11/3/2023   Risler, Franck              0.3 Analyze final monetization documents for sale of crypto related to crypto trust,
                                                        and investment management agreement.
   26       11/3/2023   Risler, Franck              0.2 Assess the revised termsheet for crypto trust monetization from S&C to provide
                                                        comments.
   26       11/3/2023   Risler, Franck              0.4 Provide final comments on the crypto sales termsheet and investment
                                                        management agreement in order to send to the Debtors.
   26       11/3/2023   Risler, Franck              0.7 Assess and provide comments on crypto account control agreement as provided
                                                        by the Debtors in the context of the management of hedging assets.
   26       11/3/2023   Risler, Franck              0.4 Assess proposed changes to the crypto management agreement documents to
                                                        support negotiations with FTX trading derivatives counterparties in the context
                                                        of the management of hedging assets.
   26       11/3/2023   Risler, Franck              0.6 Analyze certain token historical time series of daily trading volume in the
                                                        context of coin management.
   26       11/3/2023   Risler, Franck              1.1 Comment on updated version of crypto trust monetization documents circulated
                                                        by S&C.
   26       11/3/2023   Sveen, Andrew               0.3 Analyze the Debtors' provided documents related to Debtors' crypto
                                                        monetization.
   26       11/3/2023   Rousskikh, Valeri           2.7 Test numerical stability of backward induction finite different schemes used for
                                                        certain token discount quantification in the context of token monetization.
   26       11/3/2023   Rousskikh, Valeri           2.8 Evaluate certain token discount using Asian strip and proxy volatility surface in
                                                        the context of token monetization.
   26       11/3/2023   Rousskikh, Valeri           2.9 Test price monotonicity across Asian strip in backward induction finite different
                                                        scheme used for token discount quantification in the context of FTX estates
                                                        digital assets valuation for plan assessment.
   26       11/3/2023   Majkowski, Stephanie        1.2 Investigate risk-free rate implications on forward pricing on certain token based
                                                        on collateral and margin information for locked token hedging.
   26       11/3/2023   Majkowski, Stephanie        2.2 Assess potential impacts of funding rate risks on pricing of forwards for certain
                                                        token for various time periods in future for locked token hedging.
   26       11/3/2023   Majkowski, Stephanie        2.9 Model scenarios of certain token funding rate based on the distribution of
                                                        historical rates on for token hedging.
   26       11/3/2023   Kubali, Volkan              1.0 Review the proposal for token forward pricing based and benchmark based on
                                                        the quantitative study undertaken on funding rate and cost of hedging.
   26       11/3/2023   Kubali, Volkan              2.7 Analyze the proposal for certain token forward pricing for token monetization.




                                                          36
                Case 22-11068-JTD             Doc 6655-2         Filed 01/25/24              Page 37 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                      Activity

   26       11/3/2023   Kubali, Volkan              2.8 Determine perpetual futures funding rates to determine the expected funding
                                                        cost of future hedging of token assets for token monetization.
   26       11/3/2023   Guo, Xueying                2.7 Update the spreadsheet report for FTX portfolio stress testing results with the
                                                        token correlation structure model.
   26       11/3/2023   Guo, Xueying                2.7 Produce and update the impact curve plot for the FTX portfolio stress tests under
                                                        the joint correlation-volatility bump up scenarios.
   26       11/3/2023   Guo, Xueying                2.6 Update the spreadsheet report for FTX portfolio stress testing results with the
                                                        token correlation structure model.
   26       11/3/2023   Watson, Ching               2.9 Review risk reports methodology description for certain coins in Debtors'
                                                        portfolio.
   26       11/3/2023   Watson, Ching               2.9 Develop exhibits of stress test analysis results.

   26       11/3/2023   You, Can                    2.2 Analyze order book data at high frequencies to estimate correlation between
                                                        order book imbalance and short-term future return.
   26       11/3/2023   You, Can                    1.9 Automate large data retrieval for order book and calculate key liquidity metrics,
                                                        to allow quick liquidity analysis for longer periods at higher frequencies to
                                                        analyze market liquidity.
   26       11/3/2023   You, Can                    1.7 Generate detailed report for liquidity metrics for various tokens held by Debtors
                                                        for comparing different liquidity metrics between exchanges and markets, and
                                                        analyze the trends.
   26       11/3/2023   You, Can                    2.1 Analyze day-to-day correlation between order book imbalance and price in
                                                        recent period for various tokens to estimate potential prediction power on price
                                                        movement.
   26       11/3/2023   de Brignac, Jessica         0.8 Analyze documents on management certain token provided by A&M.

   26       11/6/2023   Gray, Michael               0.3 Review cash reporting in the context of crypto monetization.

   26       11/6/2023   Bromberg, Brian             0.3 Review new locked token schedules for valuation.

   26       11/6/2023   Bromberg, Brian             0.6 Review Debtors' coin positions updated roster.

   26       11/6/2023   Bromberg, Brian             0.6 Participate in call re: coin monetization with Galaxy (C. Rhine), Rothschild (C.
                                                        Delo), Debtors (J. Ray), A&M (K. Ramanathan and S. Coverick).
   26       11/6/2023   Simms, Steven               0.6 Evaluate coin monetization items and market value.

   26       11/6/2023   Risler, Franck              1.2 Analyze certain tokens for historical funding spread under various historical
                                                        scenarios to compare with pricing of token forward.
   26       11/6/2023   Risler, Franck              1.4 Calculate the latest value of FTX coin and token portfolio as of 11/5/23 with
                                                        coin position as provided by the Debtors as of 10/31/23.
   26       11/6/2023   Risler, Franck              0.7 Analyze latest vesting schedule of locked token provided by Debtors to draft
                                                        questions to A&M highlighting issues and inconsistencies in the data.

   26       11/6/2023   Risler, Franck              0.6 Analyze updated coin report provided by the Debtors dated 10/31/23 and
                                                        compare to 10/13/23 report to assess coin monetization activity.
   26       11/6/2023   Risler, Franck              0.9 Estimate the execution level of the monetization activity to reconcile with
                                                        monetization cashflow in the context of the assessment and governance of the
                                                        quality of trading execution for coin monetization.
   26       11/6/2023   Risler, Franck              0.3 Prepare correspondence for Galaxy on spot and derivatives trading agreements.

   26       11/6/2023   Risler, Franck              0.2 Attend call with PH (J. Madell) on certain revisions for crypto portfolio
                                                        management agreements.
   26       11/6/2023   Risler, Franck              0.6 Participate in weekly meeting on coin management with Galaxy (C. Rhine),
                                                        Rothschild (C. Delo), Debtors (J. Ray), A&M (K. Ramanathan and S. Coverick).




                                                          37
                Case 22-11068-JTD              Doc 6655-2       Filed 01/25/24              Page 38 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional              Hours                                     Activity

   26       11/6/2023   Diodato, Michael            0.6 Review the weekly cash variance report and compare it to the proceeds received
                                                        from monetization indicated by Galaxy.
   26       11/6/2023   Diodato, Michael            1.1 Review latest crypto token risk and portfolio statistics based on 11/5 market
                                                        data.
   26       11/6/2023   Diodato, Michael            2.8 Draft questions to A&M regarding token vesting schedules.

   26       11/6/2023   Diodato, Michael            0.6 Participate in meeting with Galaxy (C. Rhine), Rothschild (C. Delo), Debtors (J.
                                                        Ray), A&M (K. Ramanathan and S. Coverick) on coin monetization and related
                                                        documentation.
   26       11/6/2023   Sveen, Andrew               0.5 Analyze Debtors' provided token updates.

   26       11/6/2023   Rousskikh, Valeri           2.8 Validate certain token discounts methodology and computations under different
                                                        model calibration scenarios.
   26       11/6/2023   Rousskikh, Valeri           2.9 Construct proxy volatility surface for certain token based on term structure of
                                                        coin volatility market data and realized volatility ratio for discount
   26       11/6/2023   Rousskikh, Valeri               quantification.
                                                    1.6 Analyze  extension of the FTX portfolio risk dashboard to include results of
                                                        profit and loss and monetization.
   26       11/6/2023   Rousskikh, Valeri           2.7 Calibrate model for pricing Asian strips to proxy coin volatility surface in the
                                                        context of token discount quantification and token monetization.
   26       11/6/2023   Majkowski, Stephanie        2.3 Generate a summary of findings by comparing pricing in various scenarios for
                                                        token hedging analysis in the context of FTX coin management.
   26       11/6/2023   Majkowski, Stephanie        1.4 Evaluate and assess the pricing and value of certain token forward contracts
                                                        along with alternative hedging strategies for FTX coin management.
   26       11/6/2023   Majkowski, Stephanie        0.9 Compile a set of inquiries related to the provided token forwards quote for FTX
                                                        coin management.
   26       11/6/2023   Majkowski, Stephanie        1.9 Examine the consequences of reduced yield from missed staking in a forward
                                                        hedge strategy of token for FTX coin management.
   26       11/6/2023   Majkowski, Stephanie        1.0 Evaluate strategies for hedging certain token assets based on analysis prepared
                                                        for FTX coin management.
   26       11/6/2023   Majkowski, Stephanie        2.1 Analyze margin and collateral effects on forward prices for token hedging and
                                                        FTX coin management.
   26       11/6/2023   Kubali, Volkan              1.4 Analyze the monetization options for certain tokens using options pricing.

   26       11/6/2023   Kubali, Volkan              2.2 Analyze the monetization alternatives suggested for certain tokens under
                                                        alternative collateralized schemes.
   26       11/6/2023   Kubali, Volkan              2.8 Quantify the cost of hedging to assess the monetization alternatives suggested
                                                        for certain tokens.
   26       11/6/2023   Kubali, Volkan              2.4 Review the proposal for certain token forward pricing based and benchmark the
                                                        proposal based on the quantitative study undertaken on funding rate and cost of
                                                        hedging.
   26       11/6/2023   Guo, Xueying                2.6 Calculate the token discount for lack of marketability corresponding to each
                                                        unlock date in the second set of unlock schedule provided by FTX.
   26       11/6/2023   Guo, Xueying                2.7 Calculate the token discount for lack of marketability corresponding to each
                                                        unlock date in the first set of unlock schedule provided by FTX.
   26       11/6/2023   Guo, Xueying                2.8 Finalize the method to calculate crypto Asian option values to be used to
                                                        evaluate the discount value for locked tokens.
   26       11/6/2023   Langer, Cameron             1.9 Analyze token volatility and trading volumes and update portfolio risk metrics
                                                        for asset management purposes.
   26       11/6/2023   Langer, Cameron             2.2 Calculate reported and estimated token monetization proceeds for asset
                                                        management purposes.
   26       11/6/2023   Langer, Cameron             2.8 Analyze trading reports provided by the Debtors for the purpose of coin
                                                        monetization.
   26       11/6/2023   Langer, Cameron             1.1 Calculate optimal liquidation costs and compare to token monetization trading
                                                        reports for the purpose of asset management and performance analysis.



                                                          38
                Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24              Page 39 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/6/2023   Watson, Ching               2.9 Prepare exhibits on certain tokens comparing FTX prices to prices of other
                                                        exchanges.
   26       11/6/2023   Watson, Ching               2.7 Develop descriptions of certain tokens and pricing methodology.

   26       11/6/2023   You, Can                    2.9 Finalize presentation of order book analysis and figures.

   26       11/6/2023   You, Can                    0.9 Analyze consistency of the liquidation model in connection with the recent
                                                        changes in market liquidity.
   26       11/6/2023   McNew, Steven               0.4 Investigate the potential de minimis crypto asset sales.

   26       11/6/2023   McNew, Steven               1.3 Analyze document from Jefferies related to de minimis crypto asset sales.

   26       11/6/2023   McNew, Steven               1.6 Evaluate the key information from certain de minimis crypto asset sales.

   26       11/7/2023   Gray, Michael               0.7 Review status of crypto monetization to understand composition and amount of
                                                        crypto sales.
   26       11/7/2023   Bromberg, Brian             0.3 Analyze the available asset sale materials related to certain crypto assets.

   26       11/7/2023   Bromberg, Brian             0.4 Evaluate the latest analysis completed for coin monetization.

   26       11/7/2023   Bromberg, Brian             0.3 Review monthly reporting from Galaxy as part of crypto asset management.

   26       11/7/2023   Diaz, Matthew               0.8 Assess the most recent updates to the coin analysis to track changes over time.

   26       11/7/2023   Sveen, Andrew               0.4 Analyze the Debtors' provided files related to the crypto management.

   26       11/7/2023   Risler, Franck              0.5 Finalize estimation of discounted value for certain token assets with market data
                                                        as of 11/6 and apply to the valuation of token position for the estates' assets and
                                                        liability analysis.
   26       11/7/2023   Simms, Steven               0.6 Evaluate the latest information on coin monetization analysis.

   26       11/7/2023   Risler, Franck              0.4 Prepare correspondence to PH and S&C re: crypto asset collateral management
                                                        agreements.
   26       11/7/2023   Risler, Franck              0.2 Attend call with PH (J. Madell) on crypto sale agreements and related
                                                        comments.
   26       11/7/2023   Risler, Franck              0.5 Participate in call with A&M (K. Ramanathan, L. Callerio, G. Walia, A. Titus,
                                                        S. Glueckstein, D. Sagen, and S. Cullen) on token issues with focus on vesting
                                                        schedule of locked token.
   26       11/7/2023   Risler, Franck              2.7 Estimate and assess stress testing and scenario analysis for FTX coin portfolio as
                                                        of 11/7 in the context of coin management.
   26       11/7/2023   Risler, Franck              0.2 Analyze the outcomes from meeting on coin monetization with Galaxy to
                                                        understand the changes in coin monetization process.
   26       11/7/2023   Risler, Franck              0.7 Assess the latest revisions to the crypto sale agreement document from S&C to
                                                        support the management of hedging assets.
   26       11/7/2023   Risler, Franck              2.3 Analyze liquidity for key coins and tokens in FTX and assess market sentiment
                                                        and price impact of order book imbalance an for optimal execution maximizing
                                                        creditor recovery in the context of coin monetization.
   26       11/7/2023   Risler, Franck              0.7 Perform preliminary assessment of the token sales administrative report for
                                                        October 2023 and reconcile to requirements set in Galaxy crypto management
                                                        agreement.
   26       11/7/2023   Risler, Franck              0.2 Assess token sales administrative report for distribution to UCC ahead of UCC
                                                        meeting.
   26       11/7/2023   Risler, Franck              0.5 Analyze recent trading activity of certain coin in the context of coin
                                                        monetization.



                                                          39
                Case 22-11068-JTD             Doc 6655-2        Filed 01/25/24              Page 40 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                      Activity

   26       11/7/2023   Diodato, Michael            1.0 Review monthly monetization report to compare to requirements detailed in the
                                                        investment management agreement.
   26       11/7/2023   Diodato, Michael            0.5 Attend weekly meeting with A&M (K. Ramanathan, L. Callerio, G. Walia, A.
                                                        Titus, S. Glueckstein, D. Sagen, and S. Cullen) to discuss outstanding data and
                                                        crypto issues.
   26       11/7/2023   Kubali, Volkan              2.8 Review the proposal for certain token forward pricing based and benchmark the
                                                        proposal based on the quantitative study undertaken on funding rate and cost of
                                                        hedging.
   26       11/7/2023   Kubali, Volkan              2.2 Compile a list of questions for further analysis of the token forward pricing
                                                        proposal.
   26       11/7/2023   Kubali, Volkan              1.3 Review the changes by coin data provider in their metrics calculations for crypto
                                                        assets.
   26       11/7/2023   Guo, Xueying                2.6 Calculate the overall discount for lack of marketability of all locked token
                                                        holdings by FTX.
   26       11/7/2023   Guo, Xueying                2.6 Prepare FTX portfolio stress testing results and summary and adjust the client
                                                        report format.
   26       11/7/2023   Guo, Xueying                2.8 Perform FTX portfolio stress testing under different scenarios.

   26       11/7/2023   Langer, Cameron             1.3 Update risk dashboard summary using the latest market data for coin
                                                        management purposes.
   26       11/7/2023   Langer, Cameron             2.4 Analyze market prices for crypto trust and related crypto trusts for the purpose
                                                        of asset management.
   26       11/7/2023   Langer, Cameron             2.7 Analyze changes in token quantities due to monetization and wallet movements
                                                        for coin risk management.
   26       11/7/2023   Langer, Cameron             1.4 Analyze token vesting schedules provided by the Debtors for token recovery
                                                        analysis purposes.
   26       11/7/2023   Watson, Ching               2.8 Develop a summary of pricing methodology for thinly traded digital assets.

   26       11/7/2023   You, Can                    2.6 Analyze the impact of historical, sudden market shocks on order book mechanics
                                                        to predict future changes in token value.
   26       11/7/2023   You, Can                    1.9 Compare between different execution optimization models to create scenarios
                                                        around the liquidation cost calculation.
   26       11/7/2023   You, Can                    2.2 Evaluate potential methods of improving the liquidation cost model using order
                                                        book data.
   26       11/7/2023   de Brignac, Jessica         0.5 Participate in meeting with A&M (K. Ramanathan, L. Callerio, G. Walia, A.
                                                        Titus, S. Glueckstein, D. Sagen, and S. Cullen) re: coin monetization updates,
                                                        token amounts, and other crypto related open items.
   26       11/7/2023   de Brignac, Jessica         0.7 Analyze token data across various coin reports to assess the changes for certain
                                                        token values.
   26       11/7/2023   McNew, Steven               0.4 Analyze the recent coin reports to track the valuations of certain tokens in
                                                        Debtors' portfolio.
   26       11/8/2023   Simms, Steven               0.4 Analyze coin monetization issues for Debtors' crypto holdings.

   26       11/8/2023   Risler, Franck              0.9 Analyze monetization activity and explain estimated proceeds and realized
                                                        monetization proceeds for largest positions.
   26       11/8/2023   Risler, Franck              0.2 Assess derivates overlay strategy and related agreement for collateral
                                                        management with third-party.
   26       11/8/2023   Risler, Franck              0.4 Assess the latest updates for third-party staking agreement.

   26       11/8/2023   Risler, Franck              0.3 Evaluate the management of certain token position in the context of coin
                                                        management.
   26       11/8/2023   Diodato, Michael            0.7 Review latest stress testing results of the portfolio.




                                                          40
                Case 22-11068-JTD             Doc 6655-2         Filed 01/25/24              Page 41 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/8/2023   Diodato, Michael            2.0 Analyze the latest discount and liquidation cost analysis of the Debtors' crypto
                                                        portfolio.
   26       11/8/2023   Sveen, Andrew               0.5 Research data related to coin pricing provided by Debtors.

   26       11/8/2023   Rousskikh, Valeri           2.5 Design monetization analysis sheet based on the FTX portfolio coin and trading
                                                        reports.
   26       11/8/2023   Rousskikh, Valeri           2.8 Articulate de-risking dashboard layout and contents in the context of monitoring
                                                        risk and performance of FTX portfolio monetization.
   26       11/8/2023   Rousskikh, Valeri           2.8 Analyze FTX portfolio constitution for de-risking dashboard in the context of
                                                        monitoring risk and performance of FTX portfolio monetization.
   26       11/8/2023   Kubali, Volkan              1.1 Review the latest coin report for changes in quantities for the purpose of coin
                                                        monetization and risk management.
   26       11/8/2023   Kubali, Volkan              2.6 Assess the impact of recent changes by the coin data provider in their metrics
                                                        calculations for crypto assets.
   26       11/8/2023   Kubali, Volkan              2.2 Review the monetization activity report in order to assess the execution quality.

   26       11/8/2023   Guo, Xueying                2.8 Update the FTX portfolio stress test results using the most recent market data
                                                        using a certain correlation structure.
   26       11/8/2023   Guo, Xueying                2.7 Finalize the correlation structure model to be used in FTX portfolio stress
                                                        testings.
   26       11/8/2023   Guo, Xueying                2.6 Update the FTX portfolio stress test results using the most recent market data
                                                        assuming a certain correlation structure utilizing the full correlation matrix.

   26       11/8/2023   Langer, Cameron             2.1 Calculate expected recovery values for the Debtors' crypto assets including a
                                                        discount due to lack of marketability for monetization purposes.
   26       11/8/2023   Watson, Ching               2.8 Analyze spreadsheet on coin prices for Debtors' crypto assets.

   26       11/8/2023   Watson, Ching               1.1 Research fungibility of digital derivatives across exchanges.

   26       11/8/2023   You, Can                    2.8 Review the variance and uncertainty in execution cost estimation with an
                                                        adjusted model that used order book data.
   26       11/8/2023   You, Can                    1.7 Quantify the short term market impact of liquidation model for estimation of
                                                        execution cost using adjustments applied from the order book.
   26       11/8/2023   You, Can                    1.3 Analyze optimal execution trajectory of liquidation model, for estimation of
                                                        execution cost using adjustments applied from the order book.
   26       11/8/2023   de Brignac, Jessica         1.1 Analyze changes in the value of certain token held by the Debtors to assess the
                                                        effect on the Debtors' portfolio.
   26       11/8/2023   de Brignac, Jessica         0.8 Evaluate the data on certain token held by the Debtors.

   26       11/8/2023   McNew, Steven               0.6 Assess the results of coin report analysis for comparison of coin values at
                                                        various time periods.
   26       11/9/2023   Bromberg, Brian             0.9 Review coin monetization strategy issues for the Debtors' portfolio of tokens.

   26       11/9/2023   Bromberg, Brian             0.4 Review coin portfolio valuations.

   26       11/9/2023   Kubali, Volkan              0.5 Assess the coin monetization analysis for the token in the Debtors' portfolio.

   26       11/9/2023   Dawson, Maxwell             0.2 Analyze the latest coin report for the crypto portfolio updates.

   26       11/9/2023   Risler, Franck              0.4 Analyze the Debtors' crypto portfolio for the updates to crypto analysis.

   26       11/9/2023   Risler, Franck              2.8 Estimate and benchmark the quality of trading execution of the October 23 coin
                                                        management activity by Galaxy based on the Galaxy monthly reporting package
                                                        shared with the UCC as part of the monetization governance.



                                                          41
                Case 22-11068-JTD              Doc 6655-2        Filed 01/25/24             Page 42 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional              Hours                                     Activity

   26       11/9/2023   Rousskikh, Valeri           2.8 Design layout of de-risking dashboard reporting platform for monitoring risk
                                                        and performance of FTX portfolio monetization.
   26       11/9/2023   Rousskikh, Valeri           2.8 Source market data required for de-risking dashboard in the context of
                                                        monitoring risk and performance of FTX portfolio monetization.
   26       11/9/2023   Rousskikh, Valeri           2.9 Adapt market data structure required for de-risking dashboard in the context of
                                                        monitoring risk and performance of FTX portfolio monetization.
   26       11/9/2023   Majkowski, Stephanie        0.5 Analyze the market data for price and valuation of certain coins held by Debtors.

   26       11/9/2023   Majkowski, Stephanie        2.6 Perform analysis on volume and price data of monetized tokens during October
                                                        for FTX coin management.
   26       11/9/2023   Majkowski, Stephanie        2.9 Investigate execution quality of token monetization for FTX coin management.

   26       11/9/2023   Majkowski, Stephanie        1.1 Review monetization activity for appropriate analysis approach of limited data
                                                        for FTX coin management.
   26       11/9/2023   Kubali, Volkan              2.7 Analyze the trade execution levels versus realized coin prices in order to assess
                                                        the monetization activity.
   26       11/9/2023   Kubali, Volkan              2.2 Review the monetization activity report in order to assess the execution quality
                                                        of monetization.
   26       11/9/2023   Kubali, Volkan              1.8 Derive various optimal trade pricing levels under different assumptions in order
                                                        to assess the monetization activity.
   26       11/9/2023   Guo, Xueying                2.5 Contribute to the questions list drafted by the team to be delivered to FTX,
                                                        requesting various clarifications on token pricing methodologies.
   26       11/9/2023   Guo, Xueying                2.7 Review the token pricing results provided by FTX and analyze the method used
                                                        to produce these results.
   26       11/9/2023   Guo, Xueying                2.8 Review and confirm the settlement time and settlement price of crypto options in
                                                        order to obtain reliable market data and obtain robust volatility surfaces to
                                                        evaluate the discount for lack of marketability for FTX locked tokens.
   26       11/9/2023   Langer, Cameron             2.9 Determine current reported proceeds from token monetization for the purpose of
                                                        profit and loss monitoring for the Debtors' crypto portfolio.
   26       11/9/2023   Watson, Ching               2.9 Continue to develop the list of questions to the Debtors on crypto asset pricing
                                                        spreadsheet.
   26       11/9/2023   You, Can                    2.9 Quantify the differences in the square root market impact under different
                                                        models, to evaluate which model is more realistic given FTX's exposure.
   26       11/9/2023   You, Can                    1.4 Compare square root market impact and linear market impact models, to
                                                        evaluate potential variations in execution duration and execution cost estimation.
   26       11/9/2023   You, Can                    2.7 Derive the optimal execution time for the square root market impact for different
                                                        models based on FTX’s exposures.
   26       11/9/2023   McNew, Steven               1.6 Evaluate procedures for settling certain small crypto claims regarding return of
                                                        pre-petition transfers made by Debtor entities.
   26       11/9/2023   McNew, Steven               0.4 Analyze the crypto composition of various customer claims.

   26       11/10/2023 Bromberg, Brian              1.0 Review coin monetization strategy issues related to the recent suggested
                                                        changes.
   26       11/10/2023 Bromberg, Brian              0.3 Participate in call with PH (K. Pasquale, E. Gilad, and I. Sasson) re: temporary
                                                        changes to crypto monetization strategies.
   26       11/10/2023 Bromberg, Brian              0.5 Review latest coin report from A&M showing the current quantities and prices
                                                        of the coins in Debtors' portfolio.
   26       11/10/2023 Bromberg, Brian              0.3 Review coin portfolio valuations.

   26       11/10/2023 Diaz, Matthew                0.7 Analyze the coin investigation report on the Debtors' exchange.

   26       11/10/2023 Simms, Steven                0.3 Analyze the updates for Debtors' coin monetization.




                                                          42
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 43 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/10/2023 Risler, Franck               0.3 Participate in call with A&M (K. Ramanathan) on select tokens and
                                                        monetization reporting in the context of coin management.
   26       11/10/2023 Risler, Franck               0.3 Assess information from UCC on the Debtors' token.

   26       11/10/2023 Risler, Franck               0.7 Analyze the list of select assets from monetization and assess token
                                                        classification.
   26       11/10/2023 Risler, Franck               0.5 Attend call with UCC on recent performance and temporary increase of weekly
                                                        cap for coin monetization.
   26       11/10/2023 Risler, Franck               0.3 Participate in call with PH (K. Pasquale, E. Gilad, and I. Sasson) on coin
                                                        management request from UCC in the context of the Plan structure.
   26       11/10/2023 Risler, Franck               0.6 Analyze recent price action and liquidity for Debtors' token.

   26       11/10/2023 Risler, Franck               1.4 Assess and articulate options to address the coin management request raised by
                                                        UCC with respect to an insider token.
   26       11/10/2023 Risler, Franck               0.3 Draft email to PH on select tokens and their classifications.

   26       11/10/2023 Risler, Franck               0.7 Draft emails to UCC on proposed change to coin management activity for
                                                        upcoming week.
   26       11/10/2023 Risler, Franck               0.2 Draft email to AHC on proposed temporary change to coin management.

   26       11/10/2023 Risler, Franck               0.3 Draft correspondence for Debtors and AHC on UCC's proposed changes for coin
                                                        management for week of 11/11/23.
   26       11/10/2023 Risler, Franck               0.2 Evaluate the Debtors' insider token to create analysis for PH.

   26       11/10/2023 Risler, Franck               0.4 Review sale order clause with respect to weekly limit and process for temporary
                                                        increase for coin monetization.
   26       11/10/2023 Risler, Franck               0.3 Revise the crypto monetization and staking order.

   26       11/10/2023 Risler, Franck               0.8 Analyze price dynamic and recent order book data on certain token.

   26       11/10/2023 Risler, Franck               0.3 Attend call with A&M (K. Ramanathan) on the coin monetization program for
                                                        the week of 11/11/23 on the monetization of certain positions.
   26       11/10/2023 Rousskikh, Valeri            2.9 Link de-risking dashboard with security database for monitoring risk and
                                                        performance of FTX portfolio monetization.
   26       11/10/2023 Rousskikh, Valeri            2.6 Test callback functionality for reporting platform for monitoring risk and
                                                        performance of FTX portfolio monetization.
   26       11/10/2023 Rousskikh, Valeri            1.9 Analyze proposed changes in FTX portfolio risk dashboard to include results of
                                                        monetization.
   26       11/10/2023 Rousskikh, Valeri            2.7 Design automatic market data sourcing in de-risking dashboard for monitoring
                                                        risk and performance of FTX portfolio monetization.
   26       11/10/2023 Majkowski, Stephanie         2.8 Calculate and analyze realized volatility during October for monetized tokens
                                                        analysis for FTX coin management.
   26       11/10/2023 Majkowski, Stephanie         1.8 Perform analysis of certain token volume changes and price action for token
                                                        monetization and FTX coin management.
   26       11/10/2023 Majkowski, Stephanie         2.1 Calculate multiple price scenarios for monetized token analysis for FTX coin
                                                        management.
   26       11/10/2023 Majkowski, Stephanie         2.9 Perform analysis and assessment of October token monetization for FTX coin
                                                        management.
   26       11/10/2023 Majkowski, Stephanie         0.9 Perform assessment of token monetization data for FTX coin management.

   26       11/10/2023 Kubali, Volkan               2.6 Analyze the trade execution levels for realized coin prices in order to assess the
                                                        monetization activity.
   26       11/10/2023 Kubali, Volkan               2.3 Analyze price and liquidity characteristics of tokens over monetization period.




                                                          43
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24               Page 44 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                        Activity

   26       11/10/2023 Kubali, Volkan               0.9 Compile a list of questions for improved analysis of quality of trade execution in
                                                        monetization.
   26       11/10/2023 Guo, Xueying                 2.6 Extract certain derivatives trading data and compare day by day total trading
                                                        volumes in each week in the past year to determine a periodic pattern, in order to
                                                        build reliable volatility surfaces to evaluate the discount for lack of marketability
                                                        for FTX locked tokens.
   26       11/10/2023 Guo, Xueying                 2.7 Extract certain derivatives trading data and compare hour by hour total trading
                                                        volumes in each week in the past year to determine a periodic pattern, in order to
                                                        build reliable volatility surfaces to evaluate the discount for lack of marketability
                                                        for FTX locked tokens.
   26       11/10/2023 Guo, Xueying                 2.7 Extract certain derivatives trading data and compare trading volumes for various
                                                        time ranges in the past year to determine a periodic pattern, in order to build
                                                        reliable volatility surfaces to evaluate the discount for lack of marketability for
                                                        FTX locked tokens.
   26       11/10/2023 Langer, Cameron              2.6 Calculate estimated additional proceeds from token monetization using the latest
                                                        coin report provided by the Debtors and current market data for asset
                                                        management purposes.
   26       11/10/2023 Langer, Cameron              2.4 Calculate time weighted average prices for crypto assets for asset management
                                                        and monitoring purposes.
   26       11/10/2023 Watson, Ching                2.9 Research the fungibility and counterparty risk of crypto derivative contracts
                                                        across exchanges.
   26       11/10/2023 Watson, Ching                1.6 Develop a summary of crypto derivatives' fungibility across crypto exchanges.

   26       11/10/2023 You, Can                     2.2 Estimate the impact of a modified liquidation model using order book data on
                                                        the overall portfolio.
   26       11/10/2023 You, Can                     2.8 Refine spread under a value-weighted pricing assumption to estimate realized
                                                        spread cost for coins.
   26       11/10/2023 You, Can                     2.1 Derive the market impact based on a modified liquidation model using crypto
                                                        order book data.
   26       11/10/2023 de Brignac, Jessica          0.7 Assess the token balances and updated quantities.

   26       11/11/2023 Risler, Franck               0.2 Prepare responses to communications from Jefferies re: Debtors' position for
                                                        certain token.
   26       11/11/2023 Risler, Franck               0.3 Evaluate the proposed alterations for coin management strategy for specific time
                                                        period.
   26       11/11/2023 Risler, Franck               0.2 Participate in call with A&M (K. Ramanathan) on the proposal of the UCC for
                                                        current week coin management.
   26       11/11/2023 Risler, Franck               0.4 Draft email to UCC with detailed update on status of the temporary amendment
                                                        of the coin management strategy proposed by the UCC.
   26       11/12/2023 Risler, Franck               0.2 Prepare correspondence to PH on select token assets.

   26       11/12/2023 Risler, Franck               0.4 Evaluate materials from the Debtors on coin management and proposal from
                                                        UCC.
   26       11/13/2023 Bromberg, Brian              0.4 Review prior crypto comparison to Debtors' assumptions.

   26       11/13/2023 Bromberg, Brian              0.7 Review crypto portfolio summary report for Debtors' holdings.

   26       11/13/2023 Bromberg, Brian              0.8 Participate in call re: coin monetization with Galaxy (C. Rhine), PH (J. Madell),
                                                        Rothschild (C. Delo), Eversheds (J. Kong and E. Broderick), Debtors (J. Ray),
                                                        S&C (A. Kranzley), and A&M (K. Ramanathan and S. Coverick).
   26       11/13/2023 Risler, Franck               0.7 Estimate updated optimal liquidation cost and discount for certain token position
                                                        based on latest market parameters as of 11/12/23.
   26       11/13/2023 Diodato, Michael             0.6 Evaluate data on the Debtors' crypto derivatives.




                                                          44
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 45 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/13/2023 Risler, Franck               0.6 Review covered call strategies for certain token volatility surface calibrated as of
                                                        11/9/23.
   26       11/13/2023 Risler, Franck               0.2 Participate in call with PH (J. Madell) on crypto sale agreements comments and
                                                        negotiations of these agreements with derivatives counterparties.
   26       11/13/2023 Risler, Franck               0.2 Prepare correspondence for the UCC on upcoming crypto monetization topics
                                                        for discussion.
   26       11/13/2023 Risler, Franck               0.6 Analyze new information on certain token management proposal in order to
                                                        provide update to UCC.
   26       11/13/2023 Risler, Franck               0.5 Assess the coin monetization analysis in preparation for meeting with the
                                                        Debtors, UCC, and Galaxy.
   26       11/13/2023 Risler, Franck               0.7 Assess comments from Galaxy on crypto sale agreements to support derivatives
                                                        trading for certain tokens.
   26       11/13/2023 Risler, Franck               0.6 Draft email to the Debtors on Galaxy's crypto management agreement terms with
                                                        respect to reporting and the monthly coin management report.
   26       11/13/2023 Risler, Franck               0.2 Participate in call with A&M (K. Ramanathan) on select crypto assets.

   26       11/13/2023 Risler, Franck               0.5 Assess details of the UCC coin monetization draft report for updating the UCC.

   26       11/13/2023 Risler, Franck               0.8 Participate in call on certain token positions management with Galaxy (C.
                                                        Rhine), PH (J. Madell), Rothschild (C. Delo), Eversheds (J. Kong and E.
                                                        Broderick), Debtors (J. Ray), S&C (A. Kranzley), and A&M (K. Ramanathan
                                                        and S. Coverick).
   26       11/13/2023 Risler, Franck               0.2 Prepare update for A&M on crypto sale agreements to support management of
                                                        hedging assets in the context of coin management.
   26       11/13/2023 Diodato, Michael             1.8 Review the latest developments on certain token, including pricing and the
                                                        vesting details.
   26       11/13/2023 Diodato, Michael             2.9 Analyze certain token and other token vesting schedules for the application of
                                                        value discount.
   26       11/13/2023 Diodato, Michael             0.8 Attend meeting with Galaxy (C. Rhine), PH (J. Madell), Rothschild (C. Delo),
                                                        Eversheds (J. Kong and E. Broderick), Debtors (J. Ray), S&C (A. Kranzley),
                                                        and A&M (K. Ramanathan and S. Coverick) to discuss the documentation for
                                                        crypto monetization.
   26       11/13/2023 Diodato, Michael             0.5 Prepare liquidation analysis for recoveries for certain crypto positions.

   26       11/13/2023 Rousskikh, Valeri            2.8 Fit token panel and test its performance in FTX de-risking dashboard in the
                                                        context of risk monitoring for FTX portfolio monetization.
   26       11/13/2023 Rousskikh, Valeri            2.9 Build specific functions to link spreadsheet representation of FTX portfolio and
                                                        token panel of FTX de-risking dashboard in the context of risk monitoring for
                                                        FTX portfolio monetization.
   26       11/13/2023 Rousskikh, Valeri            2.4 Test robustness of linking representation of FTX portfolio and token panel of
                                                        FTX de-risking dashboard in the context of risk monitoring for FTX portfolio
                                                        monetization.
   26       11/13/2023 Rousskikh, Valeri            2.8 Design token panel of FTX de-risking dashboard in the context of risk
                                                        monitoring for FTX portfolio monetization.
   26       11/13/2023 Majkowski, Stephanie         2.1 Examine value weighted average ranges during October 2023 compared to
                                                        execution prices for monetized tokens for FTX portfolio management.
   26       11/13/2023 Majkowski, Stephanie         0.9 Perform execution analysis using updated timeframe of 10/23 to 10/31 to
                                                        compare and contrast for monetization analysis and FTX portfolio management.

   26       11/13/2023 Majkowski, Stephanie         1.9 Calculate the weighted average pricing for all potential lengths of execution
                                                        during October 2023 for monetized tokens in the context of the execution
                                                        analysis.
   26       11/13/2023 Majkowski, Stephanie         2.3 Calculate estimated profit and loss of October 2023 monetization for FTX
                                                        portfolio management.



                                                          45
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 46 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/13/2023 Majkowski, Stephanie         1.4 Calculate rolling 10 day average daily value and number of expected days of
                                                        execution during October 2023 for monetized tokens in the context of execution
                                                        analysis and FTX portfolio management.
   26       11/13/2023 Kubali, Volkan               2.8 Develop code to assess the distance between market prices and the execution
                                                        levels of the monetization activity.
   26       11/13/2023 Kubali, Volkan               2.7 Analyze the trade execution levels versus realized coin prices to assess coin
                                                        monetization.
   26       11/13/2023 Kubali, Volkan               1.2 Review the latest coin report for changes in quantities for the purpose of coin
                                                        monetization and risk management.
   26       11/13/2023 Kubali, Volkan               0.9 Compile data required to assess the quality of trade execution for monetization
                                                        purposes.
   26       11/13/2023 Guo, Xueying                 2.7 Update the token discount for lack of marketability based on the new market
                                                        data as of last Friday.
   26       11/13/2023 Guo, Xueying                 2.9 Update the token discount for lack of marketability based on the updated
                                                        confirmed schedule provided by FTX.
   26       11/13/2023 Langer, Cameron              2.8 Perform coin valuation and liquidation cost estimates for the purpose of updated
                                                        recovery analysis.
   26       11/13/2023 Langer, Cameron              2.2 Aggregate discount due to lack of marketability and price slippage costs for
                                                        crypto assets for recovery analysis purposes.
   26       11/13/2023 Langer, Cameron              2.3 Analyze profit-and-loss metrics for the coin monetization trading reports
                                                        provided by the Debtors for the purpose of asset management.
   26       11/13/2023 Langer, Cameron              0.7 Estimate token sale proceeds since the last available trading report for profit-and-
                                                        loss reconciliation and asset management purposes.
   26       11/13/2023 Watson, Ching                1.8 Conduct research coin data provider crypto future related datasets.

   26       11/13/2023 Watson, Ching                1.0 Develop arguments to support crypto derivatives pricing methodology.

   26       11/13/2023 You, Can                     2.2 Analyze the correlation between return volatility and daily average volume for
                                                        token to evaluate liquidity model assumptions.
   26       11/13/2023 You, Can                     2.9 Analyze the relationship between bid and ask spread and slippage at different
                                                        trading volumes for certain token to check the spread cost in liquidation model.
   26       11/13/2023 de Brignac, Jessica          0.9 Analyze the changes from the most recent crypto report on the Debtors'
                                                        positions.
   26       11/13/2023 McNew, Steven                2.1 Evaluate the results of certain crypto monetization procedures.

   26       11/14/2023 Bromberg, Brian              0.6 Review crypto portfolio reporting for the Debtors related to certain token
                                                        positions.
   26       11/14/2023 Majkowski, Stephanie         0.4 Participate in meeting with A&M (K. Ramanathan and G. Walia) with a focus
                                                        on the status of tokens claims and assets.
   26       11/14/2023 Simms, Steven                0.6 Assess the coin monetization procedures for the Debtors' tokens portfolio.

   26       11/14/2023 Diaz, Matthew                0.8 Review the token valuations for the Debtors' holdings.

   26       11/14/2023 Risler, Franck               0.9 Estimate sensitivity matrix of certain token position value and discounted value
                                                        for the purpose of the recovery analysis.
   26       11/14/2023 Risler, Franck               2.3 Quantify discount for lack of marketability for material locked token positions
                                                        in FTX portfolio in the context of the estimation of recovery level under Plan.
   26       11/14/2023 Risler, Franck               0.9 Assess questions raised by Debtors on coin management for certain tokens in the
                                                        Debtors' portfolio.
   26       11/14/2023 Risler, Franck               0.4 Participate in weekly call with A&M (K. Ramanathan and G. Walia) on Debtors'
                                                        token issues and assets.
   26       11/14/2023 Risler, Franck               0.6 Review vesting schedule of material token position of FTX portfolio.




                                                          46
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 47 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/14/2023 Risler, Franck               0.2 Attend call with PH (J. Madell) on Galaxy proposed collateral support for
                                                        derivatives trades.
   26       11/14/2023 Risler, Franck               0.4 Articulate materiality threshold for execution reporting of certain trades by
                                                        Galaxy.
   26       11/14/2023 Risler, Franck               0.2 Attend call with Rothschild (C. Delo) on questions received from the Debtors on
                                                        coin management.
   26       11/14/2023 Risler, Franck               0.2 Prepare correspondence for S&C re: crypto asset sales agreements negotiations.

   26       11/14/2023 Risler, Franck               0.2 Attend call with A&M (K. Ramanathan) on certain staking interface and update
                                                        token classifications.
   26       11/14/2023 Risler, Franck               0.3 Participate in call with Jefferies (T. Shea) on certain token positions.

   26       11/14/2023 Risler, Franck               0.4 Provide comments to provide to PH re: the agreements for crypto sale
                                                        agreements negotiations.
   26       11/14/2023 Risler, Franck               0.8 Quantify and explain profit and loss of FTX portfolio linked to the ongoing
                                                        monetization and coin management activity.
   26       11/14/2023 Diodato, Michael             2.0 Draft procedures for reporting de minimis sales for Galaxy.

   26       11/14/2023 Diodato, Michael             0.4 Assess crypto issues for the Debtors' portfolio to understand changes in value
                                                        over time.
   26       11/14/2023 Diodato, Michael             0.5 Evaluate the pending coin issues for holdings in the Debtors' digital assets
                                                        portfolio.
   26       11/14/2023 Diodato, Michael             0.9 Analyze discount pricing sensitivities in connection to the token vesting
                                                        schedules.
   26       11/14/2023 Diodato, Michael             1.2 Review presentation of monetization profit and loss on dashboard for the UCC.

   26       11/14/2023 Rousskikh, Valeri            2.4 Test base functionality of tailored automated functions for populating risk and
                                                        profit and loss time series for FTX de-risking dashboard in the context of risk
                                                        monitoring for FTX portfolio monetization.
   26       11/14/2023 Rousskikh, Valeri            1.2 Analyze method of calculating the sensitivities of token discount for lack of
                                                        marketability to extreme levels of token volatility.
   26       11/14/2023 Rousskikh, Valeri            2.9 Construct tailored automated functions to populate risk and profit and loss time
                                                        series for FTX de-risking dashboard in the context of risk monitoring for FTX
                                                        portfolio monetization.
   26       11/14/2023 Rousskikh, Valeri            2.7 Design time series objects for storing precomputed risk and profit and loss
                                                        values for FTX de-risking dashboard in the context of risk monitoring for FTX
                                                        portfolio monetization.
   26       11/14/2023 Majkowski, Stephanie         1.2 Analyze value weighted average pricing analysis results during October 2023 for
                                                        execution assessment for monetization and FTX portfolio management.
   26       11/14/2023 Majkowski, Stephanie         2.4 Examine value weighted average price ranges during October 2023 compared to
                                                        execution prices for monetized tokens for FTX portfolio management.
   26       11/14/2023 Majkowski, Stephanie         2.9 Calculate value weighted average prices for possible execution scenarios during
                                                        October 2023 for monetized tokens in the context of execution analysis and FTX
                                                        portfolio management.
   26       11/14/2023 Kubali, Volkan               2.7 Analyze the trade execution levels versus realized coin prices in order to assess
                                                        the monetization activity.
   26       11/14/2023 Kubali, Volkan               2.8 Develop code to assess the distance between market prices and the execution
                                                        levels of the monetization activity.
   26       11/14/2023 Guo, Xueying                 2.7 Classify the locked tokens according to their market data availability and coin
                                                        offering status to prepare for calculating the discounts that should be applied on
                                                        their values.
   26       11/14/2023 Guo, Xueying                 2.8 Calculate the sensitivities of token discount for lack of marketability to moderate
                                                        levels of token volatility shocks to account for market impact on the token value.




                                                          47
                 Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24              Page 48 of 64


                                                     EXHIBIT C
                                       FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                               DETAIL OF TIME ENTRIES
                              FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code      Date      Professional             Hours                                       Activity

   26       11/14/2023 Guo, Xueying                  2.6 Review the locked tokens and their quantities and unlock schedules to prepare
                                                         for calculating the discounts that should be applied on their values.
   26       11/14/2023 Langer, Cameron               1.2 Calculate discount to net asset value and expected liquidation costs for crypto
                                                         trust positions held by the Debtors for asset management purposes.
   26       11/14/2023 Langer, Cameron               2.8 Calculate estimated monetization proceeds to date for the Debtors' crypto assets
                                                         for the purpose of risk management.
   26       11/14/2023 Langer, Cameron               2.6 Calculate total FTX portfolio values over time for the purpose of asset
                                                         management.
   26       11/14/2023 You, Can                      2.1 Analyze recent liquidity metrics for certain token, using order book data.

   26       11/14/2023 You, Can                      1.1 Analyze execution and trading results under different weighted average pricing
                                                         assumptions.
   26       11/14/2023 You, Can                      2.2 Compare different calibration of the liquidation model for calculation of
                                                         execution cost using trading report.
   26       11/14/2023 You, Can                      1.7 Update recent trading volume data for certain token, for different markets, for
                                                         the upcoming UCC meeting.
   26       11/14/2023 de Brignac, Jessica           0.4 Assess the crypto monetization plans for the Debtors' crypto holdings.

   26       11/14/2023 de Brignac, Jessica           0.8 Analyze the token portfolio updates for calculating the average pricing and
                                                         discounted values of token.
   26       11/14/2023 McNew, Steven                 1.6 Analyze a document from PH on a certain settlement between Debtors and a
                                                         crypto-related third-party.
   26       11/14/2023 McNew, Steven                 2.9 Evaluate certain crypto claims against the Debtors' estate in the sense of the
                                                         omnibus claims objections.
   26       11/14/2023 Leonaitis, Isabelle           0.4 Assess coin monetization procedures updates from the derivatives
                                                         counterparties.
   26       11/14/2023 Leonaitis, Isabelle           0.5 Review the coin monetization and hedging procedures for certain tokens.

   26       11/15/2023 Gray, Michael                 0.6 Review analysis regarding the unlocking schedule of a certain token to
                                                         understand timeline and accessibility for monetization.
   26       11/15/2023 Bromberg, Brian               0.3 Analyze materials related to Debtors' asset sales.

   26       11/15/2023 Bromberg, Brian               0.6 Review crypto portfolio reporting from the Debtors.

   26       11/15/2023 Diaz, Matthew                 0.7 Analyze updated token prices for the Debtors' holdings.

   26       11/15/2023 Diaz, Matthew                 0.9 Assess crypto updates in the market from various sources.

   26       11/15/2023 Diaz, Matthew                 0.7 Conduct review of analysis on certain token held by the Debtors to assess the
                                                         values.
   26       11/15/2023 Risler, Franck                0.4 Assess coin report token mapping file from the Debtors.

   26       11/15/2023 Risler, Franck                0.3 Prepare correspondence for A&M re: operational issues for crypto staking
                                                         infrastructure.
   26       11/15/2023 Risler, Franck                0.4 Finalize the slides on token positions analysis for presentation at the UCC
                                                         meeting.
   26       11/15/2023 Risler, Franck                0.2 Assess materials from A&M re: certain token positions.

   26       11/15/2023 Risler, Franck                0.2 Attend call with A&M (K. Ramanathan) on update to the list of select assets for
                                                         monetization purposes.
   26       11/15/2023 Risler, Franck                0.3 Assess crypto trust value, discount to value, risk and liquidation metrics as of
                                                         11/14/23.




                                                           48
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24               Page 49 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                        Activity

   26       11/15/2023 Risler, Franck               1.4 Perform detailed quantitative analysis on the quality of trading execution
                                                        managed by Galaxy using various metrics, in the context of the coin
                                                        monetization governance.
   26       11/15/2023 Risler, Franck               0.2 Prepare correspondence for Debtors and PH on questions raised by the Debtors
                                                        to the UCC about coin management.
   26       11/15/2023 Risler, Franck               0.7 Assess performance, risk and liquidation and certain metrics of FTX portfolio as
                                                        of 11/14/23 and 10/31/23.
   26       11/15/2023 Risler, Franck               0.3 Attend call with PH (E. Gilad) on questions raised by the Debtors to the UCC on
                                                        coin management.
   26       11/15/2023 Risler, Franck               0.5 Participate in call with PH (J. Madell), S&C (A. Levine), D. Polk (G.
                                                        Rosenberg) and Galaxy on crypto sale agreements negotiations with Galaxy.

   26       11/15/2023 Diodato, Michael             2.4 Finalize slides on crypto monetization materials for the weekly UCC meeting.

   26       11/15/2023 Diodato, Michael             1.5 Create descriptions outlining the latest assets for potential monetization.

   26       11/15/2023 Diodato, Michael             2.5 Create slides for the UCC meeting discussing certain token and token recovery
                                                        sensitivities.
   26       11/15/2023 Rousskikh, Valeri            2.6 Design an automated process for computing risk and time series for FTX de-
                                                        risking dashboard in the context of risk monitoring for FTX portfolio
                                                        monetization.
   26       11/15/2023 Rousskikh, Valeri            2.9 Measure performance of tailored automated functionality for populating risk
                                                        time series for FTX de-risking dashboard in the context of risk monitoring for
                                                        FTX portfolio monetization.
   26       11/15/2023 Rousskikh, Valeri            1.3 Validate results sensitivity analysis of locked token discount for lack of
                                                        marketability to extreme levels of token volatility.
   26       11/15/2023 Rousskikh, Valeri            2.9 Set up automated process for computing risk and populating time series for FTX
                                                        de-risking dashboard in the context of risk monitoring for FTX portfolio
                                                        monetization.
   26       11/15/2023 Majkowski, Stephanie         1.4 Modify assumptions in execution analysis based on the initial discoveries to
                                                        enhance the accuracy for monetization and FTX portfolio management.
   26       11/15/2023 Majkowski, Stephanie         2.9 Calculate reasonable execution ranges for October 2023 for monetized tokens
                                                        for execution analysis and FTX portfolio management.
   26       11/15/2023 Majkowski, Stephanie         1.7 Examine findings from the initial execution analysis to plan the subsequent
                                                        actions for monetization and FTX portfolio management.
   26       11/15/2023 Majkowski, Stephanie         2.2 Calculate 30-day rolling volatility during October 2023 for monetized tokens for
                                                        execution analysis and FTX portfolio management.
   26       11/15/2023 Kubali, Volkan               2.6 Analyze the trade execution levels versus realized coin prices to assess coin
                                                        monetization.
   26       11/15/2023 Kubali, Volkan               2.3 Develop code to assess the distance between market prices and the execution
                                                        levels of the monetization activity.
   26       11/15/2023 Guo, Xueying                 2.8 Test calculating the sensitivities of token discount for lack of marketability to
                                                        extreme levels of token volatility shocks using the analytical method.
   26       11/15/2023 Guo, Xueying                 2.6 Assess the impact of Asian option pricing model grid settings on the calculation
                                                        of crypto coins' discount for lack of marketability.
   26       11/15/2023 Guo, Xueying                 2.7 Test calculating the sensitivities of token discount for lack of marketability to
                                                        extreme levels of token volatility shocks using the extrapolation method.
   26       11/15/2023 Langer, Cameron              2.9 Analyze time-weighted average prices for crypto assets for the purpose of the
                                                        estimation of coin monetization proceeds to date.
   26       11/15/2023 Langer, Cameron              2.6 Perform sensitivity analysis of crypto recovery values under different volatility
                                                        and spot price shocks for coin management purposes.
   26       11/15/2023 Langer, Cameron              1.4 Calculate recovery values for tokens with vesting schedules using a discount due
                                                        to lack of marketability.




                                                          49
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 50 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/15/2023 Langer, Cameron              1.1 Analyze change in token quantities due to asset sales for coin management
                                                        purposes.
   26       11/15/2023 Watson, Ching                1.9 Research discrepancies of perpetual future across exchanges in the literature.

   26       11/15/2023 You, Can                     2.1 Update liquidation model calibration, to accommodate for different calculations
                                                        of execution cost for October trading report.
   26       11/15/2023 You, Can                     2.8 Calculate liquidation cost based on trading report, using original liquidation
                                                        model.
   26       11/15/2023 You, Can                     2.2 Analyze parameters of the liquidation cost model for evaluating the efficiency of
                                                        October execution.
   26       11/15/2023 de Brignac, Jessica          0.3 Review updated timeline for Debtors' Plan from PH.

   26       11/15/2023 McNew, Steven                0.6 Assess the changes in value of the Debtors' portfolio from certain crypto
                                                        monetizations.
   26       11/15/2023 McNew, Steven                0.7 Analyze the Debtors' coin portfolio for certain locked token discounts.

   26       11/16/2023 Bromberg, Brian              0.3 Evaluate certain coins for Debtors' coin monetization strategy.

   26       11/16/2023 Bromberg, Brian              0.5 Evaluate the crypto reporting from the Debtors' on the value of the digital assets
                                                        holdings in the Debtors' portfolio.
   26       11/16/2023 Bromberg, Brian              0.3 Review crypto custodian access to assets.

   26       11/16/2023 Diodato, Michael             0.8 Analyze the holdings of certain locked token for coin monetization analysis.

   26       11/16/2023 Diodato, Michael             0.5 Prepare crypto staking analysis for coin monetization of certain holdings in the
                                                        Debtors' portfolio.
   26       11/16/2023 Kubali, Volkan               0.5 Conduct coin monetization analysis for certain tokens in the Debtors' portfolio to
                                                        understand the monetization outcomes.
   26       11/16/2023 Risler, Franck               0.2 Evaluate certain tokens for staking considerations for coin monetization.

   26       11/16/2023 Risler, Franck               0.2 Analyze the issues for certain crypto staking operational issues.

   26       11/16/2023 Risler, Franck               0.4 Participate in call with A&M (K. Ramanathan) on crypto staking and claim
                                                        pricing.
   26       11/16/2023 Risler, Franck               0.5 Attend crypto staking call with A&M (K. Ramanathan).

   26       11/16/2023 Risler, Franck               0.4 Assess document on Galaxy hedging mandate for certain crypto derivatives in
                                                        order to draft a response to Debtors.
   26       11/16/2023 Risler, Franck               0.2 Correspond with A&M re: FTX coin management strategy and monetization
                                                        volume for coming week.
   26       11/16/2023 Risler, Franck               0.2 Correspond with Debtors re: UCC representation for crypto trust pricing
                                                        committee.
   26       11/16/2023 Risler, Franck               0.7 Assess structure of trade with delayed settlement and potential operational
                                                        benefits in the context of coin management.
   26       11/16/2023 Risler, Franck               0.4 Assess outreach received from FTX creditors on certain token in the Debtors'
                                                        portfolio.
   26       11/16/2023 Rousskikh, Valeri            2.8 Prepare backfill risk time series for FTX de-risking dashboard in the context of
                                                        risk monitoring for FTX portfolio monetization.
   26       11/16/2023 Rousskikh, Valeri            2.7 Test consistency of backfilled risk and time series for FTX de-risking dashboard
                                                        in the context of risk monitoring for FTX portfolio monetization.
   26       11/16/2023 Rousskikh, Valeri            2.5 Design risk chart panel of FTX de-risking dashboard in the context of risk
                                                        monitoring for FTX portfolio monetization.
   26       11/16/2023 Majkowski, Stephanie         2.9 Examine liquidation model results for October 2023 monetized tokens for
                                                        execution analysis and FTX portfolio management.



                                                          50
                 Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24              Page 51 of 64


                                                     EXHIBIT C
                                       FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                               DETAIL OF TIME ENTRIES
                              FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code      Date      Professional             Hours                                       Activity

   26       11/16/2023 Kubali, Volkan                2.2 Analyze the trade execution levels compared to realized coin prices to assess
                                                         coin monetization.
   26       11/16/2023 Kubali, Volkan                1.8 Assess calculations for the liquidation cost given fixed execution period to help
                                                         assess the monetization activity.
   26       11/16/2023 Guo, Xueying                  2.7 Compare the sensitivity results of token discount for lack of marketability to
                                                         extreme levels of token volatility shocks using the analytical versus the
                                                         extrapolation method and determine the more appropriate method to use.
   26       11/16/2023 Guo, Xueying                  2.5 Calculate the volatility levels of all FTX tokens that are locked based on one year
                                                         of market data and the latest options market data to prepare for calculating their
                                                         discounts for lack of marketability.
   26       11/16/2023 Guo, Xueying                  2.8 Calibrate the volatility surface of all FTX tokens that are locked to prepare for
                                                         calculating their discounts for lack of marketability.
   26       11/16/2023 Langer, Cameron               2.7 Analyze token vesting schedules for the Debtors' crypto portfolio for valuation
                                                         and coin monetization purposes.
   26       11/16/2023 Langer, Cameron               1.3 Calculate updated liquidation costs for the Debtors' crypto assets for recovery
                                                         analysis and valuation purposes.
   26       11/16/2023 You, Can                      1.3 Calculate crypto execution cost for October based on different assumptions of
                                                         trading duration.
   26       11/16/2023 You, Can                      0.6 Evaluate bid and ask spread and slippage trend for all tokens trades in October to
                                                         evaluate the variations in execution cost based on different market liquidities.

   26       11/16/2023 You, Can                      2.4 Validate and explain execution cost calculation for October using input and
                                                         intermediate parameters.
   26       11/16/2023 You, Can                      1.1 Evaluate volatility trend for all tokens traded in October, to evaluate the
                                                         variations in execution cost based on different market volatilities.
   26       11/16/2023 de Brignac, Jessica           1.2 Update coin holdings analysis based on updated coin report from A&M.

   26       11/16/2023 de Brignac, Jessica           1.1 Evaluate the updated coin report analysis for changes to the Debtors' digital
                                                         assets portfolio.
   26       11/16/2023 Leonaitis, Isabelle           0.5 Attend call with A&M (K. Ramanathan) to assess the coin monetization
                                                         procedures.
   26       11/17/2023 Gray, Michael                 0.5 Review latest coin report detail as of November 10th in the context of recovery
                                                         analysis and status of monetizations.
   26       11/17/2023 Bromberg, Brian               0.9 Research public disclosures on held Debtors' crypto.

   26       11/17/2023 Bromberg, Brian               0.4 Review crypto reporting for Debtors' portfolio.

   26       11/17/2023 Bromberg, Brian               0.4 Review crypto asset pricing of certain coins in Debtors' portfolio.

   26       11/17/2023 Risler, Franck                0.4 Draft correspondence to Debtors and Galaxy on crypto sale agreement
                                                         negotiations to support the management of hedging assets.
   26       11/17/2023 Risler, Franck                0.3 Assess further request from UCC re: certain Debtor entity.

   26       11/17/2023 Risler, Franck                0.2 Provide comments on updated version of crypto agreement for derivatives
                                                         collateral management.
   26       11/17/2023 Risler, Franck                0.3 Draft response for PH on staking agreements.

   26       11/17/2023 Risler, Franck                0.3 Analyze staking agreements from Galaxy for monetization of Debtors' crypto
                                                         assets.
   26       11/17/2023 Risler, Franck                0.3 Assess updates to the crypto trust sale motion following UST comments.

   26       11/17/2023 Risler, Franck                0.7 Comment on crypto agreement for negotiations of crypto trading agreement for
                                                         derivatives.




                                                           51
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 52 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/17/2023 Risler, Franck               0.6 Assess request from UCC in relation to certain token held by Debtors.

   26       11/17/2023 Risler, Franck               0.2 Attend call with A&M (K. Ramanathan) on alternative settlement process for
                                                        coin monetization, token and related claims, and crypto agreement negotiations.
   26       11/17/2023 Risler, Franck               0.2 Prepare emails for A&M (K. Ramanathan) on Debtors monthly staking report.

   26       11/17/2023 Diodato, Michael             0.6 Analyze discount calculations for different vesting tokens.

   26       11/17/2023 Diodato, Michael             1.6 Investigate the details for certain tokens to prepare for meeting with UCC on
                                                        crypto valuations.
   26       11/17/2023 Diodato, Michael             1.4 Review vesting schedule of tokens and how to incorporate the discount into the
                                                        recovery analysis.
   26       11/17/2023 Diodato, Michael             0.4 Meet with UCC to discuss certain tokens.

   26       11/17/2023 Rousskikh, Valeri            2.3 Analyze representation of risk time series of FTX portfolio in risk chart panel of
                                                        FTX de-risking dashboard in the context of risk monitoring for FTX portfolio
                                                        monetization.
   26       11/17/2023 Rousskikh, Valeri            2.9 Link risk time series of FTX portfolio and risk chart panel of FTX de-risking
                                                        dashboard in the context of risk monitoring for FTX portfolio monetization.
   26       11/17/2023 Rousskikh, Valeri            2.8 Improve layout of risk chart panel of FTX de-risking dashboard in the context of
                                                        risk monitoring for FTX portfolio monetization.
   26       11/17/2023 Rousskikh, Valeri            2.7 Add feature of automatic update of risk chart panel of FTX de-risking dashboard
                                                        using new risk values in the context of risk monitoring for FTX portfolio
                                                        monetization.
   26       11/17/2023 Kubali, Volkan               2.6 Compile and review the results of analysis on the quality of monetization
                                                        activity highlighting outlier tokens.
   26       11/17/2023 Kubali, Volkan               2.5 Integrate liquidation cost in analysis of the trade execution levels in order to
                                                        assess the monetization activity.
   26       11/17/2023 Guo, Xueying                 2.7 Perform quality check on detailed discount for lack of marketability results on
                                                        each unlock date of all FTX tokens.
   26       11/17/2023 Guo, Xueying                 2.7 Calculate the discount for lack of marketability of all FTX tokens that are locked
                                                        and that have valid market data.
   26       11/17/2023 Guo, Xueying                 2.6 Evaluate discounts for lack of marketability results of all FTX tokens that are
                                                        marked as locked and review the tokens that do not have valid market data.
   26       11/17/2023 Watson, Ching                1.7 Prepare pricing methodology comparison table for various tokens.

   26       11/17/2023 Watson, Ching                2.9 Continue to develop the descriptions of pricing methodology for FTX-affiliated
                                                        tokens.
   26       11/17/2023 Watson, Ching                0.6 Prepare updated crypto pricing summary table.

   26       11/17/2023 You, Can                     2.3 Recalibrate the scaling factor for temporary execution cost component of crypto
                                                        liquidation model in October, based on theoretical thresholds.
   26       11/17/2023 You, Can                     1.3 Calculate execution cost based on recalibrated scaling factor for temporary
                                                        execution cost of crypto.
   26       11/17/2023 You, Can                     2.2 Analyze the temporary execution cost component in liquidation model and
                                                        compare with theoretical benchmarks.
   26       11/17/2023 You, Can                     1.8 Evaluate the optimal execution cost for tokens traded in October, based on the
                                                        optimal trading duration calculated.
   26       11/17/2023 de Brignac, Jessica          1.2 Communicate with A&M and PH re: management of certain token.

   26       11/20/2023 Bromberg, Brian              0.4 Review crypto reporting for Debtors' portfolio.

   26       11/20/2023 Bromberg, Brian              0.6 Participate in call re: coin monetization with Galaxy (C. Rhine), UCC,
                                                        Rothschild (C. Delo), FTX Debtors (J. Ray), and A&M (K. Ramanathan).



                                                          52
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 53 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/20/2023 Diodato, Michael             0.6 Evaluate coin monetization issues for upcoming meeting with Galaxy.

   26       11/20/2023 Diodato, Michael             0.6 Attend meeting with Galaxy (C. Rhine), UCC, Rothschild (C. Delo), FTX
                                                        Debtors (J. Ray), and A&M (K. Ramanathan) to discuss documentation for coin
                                                        monetization.
   26       11/20/2023 Risler, Franck               0.2 Prepare correspondence for the UCC on diligence for coin management.

   26       11/20/2023 Risler, Franck               0.5 Attend call with UCC on coin monetization strategy and data requests for the
                                                        Debtors.
   26       11/20/2023 Risler, Franck               0.2 Attend call with A&M (K. Ramanathan) on weekly coin management diligence
                                                        and claim pricing documents.
   26       11/20/2023 Risler, Franck               0.4 Assess coin reports as of November compared to October in the context of coin
                                                        monetization.
   26       11/20/2023 Risler, Franck               0.3 Analyze token trading volume and key trading metrics.

   26       11/20/2023 Risler, Franck               0.6 Draft correspondence for UCC monetization on question request from Debtors
                                                        about coin management over the coming weeks.
   26       11/20/2023 Risler, Franck               0.9 Estimate and analyze the performance, risk, liquidation metrics and
                                                        monetization profit and loss with portfolio data as of 11/10/23 compared to
   26       11/20/2023 Risler, Franck                   11/14/23.
                                                    0.4 Prepare for meeting with Galaxy and the Debtors.

   26       11/20/2023 Risler, Franck               0.6 Participate in weekly meeting on coin management with Galaxy (C. Rhine),
                                                        UCC, Rothschild (C. Delo), FTX Debtors (J. Ray), and A&M (K. Ramanathan).

   26       11/20/2023 Diodato, Michael             2.0 Review the quantity of specific tokens for potential monetization.

   26       11/20/2023 Sveen, Andrew                0.4 Evaluate the Debtors' updated coin data, staking report, and other documents.

   26       11/20/2023 Rousskikh, Valeri            2.9 Include performance chart panel of FTX de-risking dashboard in the context of
                                                        risk and performance monitoring of FTX portfolio monetization.
   26       11/20/2023 Rousskikh, Valeri            2.7 Add omega ratio to the automated process for computing portfolio time series
                                                        for FTX de-risking dashboard in the context of performance monitoring for FTX
                                                        portfolio monetization.
   26       11/20/2023 Rousskikh, Valeri            2.6 Link omega ratio time series of FTX portfolio and performance chart panel of
                                                        FTX de-risking dashboard in the context of risk and performance monitoring for
                                                        FTX portfolio monetization.
   26       11/20/2023 Majkowski, Stephanie         0.5 Gather and condense crucial market data for tokens for FTX coin management.

   26       11/20/2023 Kubali, Volkan               2.4 Collect and compile data on token airdrop for coin monetization purposes.

   26       11/20/2023 Kubali, Volkan               2.7 Update expected liquidation cost in analysis of the trade execution levels in order
                                                        to assess the monetization activity.
   26       11/20/2023 Kubali, Volkan               2.8 Analyze the impact of token airdrop for coin monetization purposes.

   26       11/20/2023 Guo, Xueying                 2.8 Review the summary groups and wallet groups in the FTX Debtor's report that
                                                        might be related to token amounts locked now or previously locked to compare
                                                        with the quantities in the vesting schedules provided by FTX as quality check.
   26       11/20/2023 Langer, Cameron              2.4 Analyze FTX trading reports and coin reports for token monetization purposes.

   26       11/20/2023 Langer, Cameron              2.7 Calculate crypto portfolio risk and return metrics for the purpose of coin
                                                        management.
   26       11/20/2023 Langer, Cameron              2.9 Review latest coin report provided by Debtors for crypto portfolio analysis
                                                        purposes.




                                                          53
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 54 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/20/2023 Watson, Ching                1.4 Investigate certain tokens held by the Debtors.

   26       11/20/2023 You, Can                     2.4 Create tables displaying execution cost in October based on different
                                                        combinations of model variations and modifications.
   26       11/20/2023 You, Can                     2.3 Recalibrate the minimum spread cost of liquidation model for execution cost in
                                                        October based on updated market data.
   26       11/20/2023 You, Can                     1.2 Implement a floor to the spread cost for all tokens traded in October to analyze
                                                        the impact on execution cost.
   26       11/20/2023 de Brignac, Jessica          0.6 Review updated token list for the Debtors' portfolio.

   26       11/20/2023 de Brignac, Jessica          0.8 Assess staking updates from A&M for the coins in the Debtors' portfolio.

   26       11/21/2023 Majkowski, Stephanie         0.3 Participate in meeting between A&M (K. Ramanathan and G. Walia) with focus
                                                        on the status of tokens claims and assets.
   26       11/21/2023 Risler, Franck               0.4 Assess updated version of the crypto schedule to support derivatives trading.

   26       11/21/2023 Risler, Franck               0.4 Assess FTX portfolio performance, risk and liquidation dashboard summary as
                                                        of 11/20/23 ahead of distribution to the UCC.
   26       11/21/2023 Risler, Franck               1.2 Estimate and analyze quantitative metrics tracking the de-risking of FTX coin
                                                        portfolio through active coin management and monetization activity.
   26       11/21/2023 Risler, Franck               0.3 Assess comments shared by Debtors on coin staking addendum.

   26       11/21/2023 Risler, Franck               0.7 Assess updated version of the investment services agreement schedule to support
                                                        derivatives trading.
   26       11/21/2023 Risler, Franck               0.6 Continue to assess data on certain token held by Debtors for FTX coin
                                                        management.
   26       11/21/2023 Risler, Franck               0.3 Assess crypto trust fund value and discount to value with risk and liquidation
                                                        metrics.
   26       11/21/2023 Risler, Franck               0.2 Attend call with A&M (K. Ramanathan) on temporary adjustment to coin
                                                        management for certain time period.
   26       11/21/2023 Risler, Franck               0.4 Draft email to Debtors and AHC on the temporary adjustment to coin
                                                        management over the next couple of weeks.
   26       11/21/2023 Risler, Franck               0.5 Assess updated version of crypto agreement to support derivatives trading.

   26       11/21/2023 Risler, Franck               0.4 Review emails from the UCC on the topic of the weekly monetization cap in
                                                        order to draft email answers.
   26       11/21/2023 Risler, Franck               0.3 Participate in call with A&M (K. Ramanathan and G. Walia) on token issues for
                                                        the Debtors' portfolio monetization.
   26       11/21/2023 Diodato, Michael             0.2 Meet with A&M (K. Ramanathan) to discuss pending coin issues re: coin
                                                        management adjustment.
   26       11/21/2023 Diodato, Michael             0.3 Evaluate the crypto holdings of the Debtors for coin monetization analysis.

   26       11/21/2023 Rousskikh, Valeri            2.9 Evaluate FTX portfolio coin reports for changes in the portfolio holdings to
                                                        quantify risk profile for monetization process.
   26       11/21/2023 Rousskikh, Valeri            2.4 Create descriptions of the FTX portfolio risk profile for changes in the portfolio
                                                        composition from crypto monetization.
   26       11/21/2023 Rousskikh, Valeri            2.8 Design an automated process for capturing risk profile changes in FTX portfolio
                                                        resulting from monetization.
   26       11/21/2023 Kubali, Volkan               2.8 Analyze the impact of token airdrop for coin monetization purposes.

   26       11/21/2023 Guo, Xueying                 2.8 Calculate the pricing of traded tokens in the periods of 10/13 to 10/31 and 11/1
                                                        to 11/10 using coin data to prepare for additional trading proceeds calculation
                                                        and FTX portfolio profit and loss report.




                                                          54
                 Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24              Page 55 of 64


                                                     EXHIBIT C
                                       FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                               DETAIL OF TIME ENTRIES
                              FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code      Date      Professional             Hours                                       Activity

   26       11/21/2023 Guo, Xueying                  2.7 Analyze tokens sold by Galaxy to prepare for the FTX portfolio report.

   26       11/21/2023 Guo, Xueying                  2.6 Calculate the additional crypto quantities sold by Galaxy between 10/13 to 10/31
                                                         and 11/1 to 11/10 based the Galaxy trading report and Debtors' reports in the
                                                         month of October and early November to prepare for the FTX portfolio.
   26       11/21/2023 Langer, Cameron               2.6 Estimate coin monetization proceeds based on the Debtors' latest coin report for
                                                         asset management purposes.
   26       11/21/2023 Langer, Cameron               1.9 Update FTX portfolio performance, risk, and liquidation dashboard using the
                                                         latest coin report and market data for coin management purposes.
   26       11/21/2023 Langer, Cameron               1.3 Analyze the Debtors' holdings in crypto trusts and calculate liquidation costs
                                                         using the latest market data for asset management purposes.
   26       11/21/2023 Langer, Cameron               2.2 Analyze crypto portfolio for the impact of coin monetization on risk metrics for
                                                         asset management purposes.
   26       11/21/2023 Watson, Ching                 2.8 Prepare tables of the Debtors' baseline pricing for crypto holdings.

   26       11/21/2023 Watson, Ching                 2.9 Analyze the Debtors' proposed baseline digital asset prices for certain crypto
                                                         holdings.
   26       11/21/2023 de Brignac, Jessica           0.7 Analyze the pricing for certain token holdings of the Debtors.

   26       11/21/2023 de Brignac, Jessica           0.3 Participate in meeting with A&M (K. Ramanathan and G. Walia) re: coin
                                                         monetization updates, token amounts, and other crypto related open items.
   26       11/21/2023 de Brignac, Jessica           0.4 Prepare updates to crypto monetization analysis.

   26       11/21/2023 de Brignac, Jessica           0.7 Review updated token list for analysis of tokens in the portfolio.

   26       11/21/2023 McNew, Steven                 0.8 Analyze document from Jefferies related to crypto monetization.

   26       11/21/2023 Leonaitis, Isabelle           0.2 Analyze coin monetization strategy by the Debtors to evaluate the results of
                                                         certain coins in management.
   26       11/22/2023 Gray, Michael                 0.5 Obtain crypto market media and pricing updates.

   26       11/22/2023 Risler, Franck                0.5 Assess updated vesting schedule of locked token in order to capture the value
                                                         discounted for the purpose of recovery scenarios under the Plan.
   26       11/22/2023 Risler, Franck                0.4 Prepare for UCC meeting with focus on coin management.

   26       11/22/2023 Risler, Franck                0.4 Assess the crypto spot, derivatives and ad hoc agreement provided by Galaxy.

   26       11/22/2023 Risler, Franck                0.9 Assess updated investment services agreements and crypto services agreement
                                                         for Galaxy as amended by S&C and PH.
   26       11/22/2023 Risler, Franck                0.2 Prepare correspondence for Rothschild on coin monetization.

   26       11/22/2023 Risler, Franck                0.3 Attend call with UCC on coin monetization topics.

   26       11/22/2023 Risler, Franck                0.4 Assess redline and comments on crypto agreement for collateral custody in the
                                                         context of crypto derivatives trading for FTX coin management.
   26       11/22/2023 Diodato, Michael              2.2 Analyze potential speed for liquidation of assets, including unvested assets, as
                                                         part of the Plan process.
   26       11/22/2023 Diodato, Michael              2.7 Analyze the potential delay in recovery of tokens and trust assets as part of the
                                                         Plan process.
   26       11/22/2023 Rousskikh, Valeri             2.8 Test consistency of dynamic crypto valuation book representing monetization
                                                         process of FTX portfolio in the context of capturing of risk profile term
                                                         structure.
   26       11/22/2023 Guo, Xueying                  2.5 Review the high-level token price calculation descriptions provided by A&M as
                                                         a response to questions and requests to prepare for replication.



                                                           55
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24               Page 56 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                        Activity

   26       11/22/2023 Guo, Xueying                 2.7 Analyze the detailed token pricing method used by A&M based on the high-level
                                                        descriptions provided to us to prepare for replication analysis.
   26       11/22/2023 Guo, Xueying                 2.8 Calculate the total additional trading proceeds of the top tokens in FTX portfolio
                                                        based on the market data and the Galaxy trading report in October.
   26       11/22/2023 Watson, Ching                1.0 Research perpetual future terms on certain entity and FTX.

   26       11/22/2023 de Brignac, Jessica          0.9 Assess the Debtors' portfolio of tokens and coins for crypto monetization
                                                        updates.
   26       11/27/2023 Bromberg, Brian              0.3 Review crypto portfolio reporting from A&M in order to evaluate the Debtors'
                                                        digital assets holdings.
   26       11/27/2023 Bromberg, Brian              0.4 Participate in call re: coin monetization with Galaxy, Debtors (J. Ray), A&M (K.
                                                        Ramanathan), and Rothschild (C. Delo).
   26       11/27/2023 Risler, Franck               0.8 Conduct reconciliation of the crypto pricing estimation calculations for the
                                                        Debtors' crypto positions.
   26       11/27/2023 Diodato, Michael             0.5 Evaluate the Debtors' crypto positions in order to prepare calculations of
                                                        discounted crypto values for liquidation.
   26       11/27/2023 Risler, Franck               1.2 Assess crypto derivatives trading agreement from counterparty to support the
                                                        Debtors' crypto derivatives trading.
   26       11/27/2023 Risler, Franck               0.4 Participate in weekly meeting on coin management meeting with Galaxy (C.
                                                        Rhine), Rothschild (C. Delo), Debtors (J. Ray), and A&M (K. Ramanathan).
   26       11/27/2023 Risler, Franck               0.5 Assess latest revisions and comments from third-party on triparty collateral
                                                        crypto agreement.
   26       11/27/2023 Risler, Franck               0.2 Revise the crypto agreement based on monetization meeting discussions with
                                                        Galaxy.
   26       11/27/2023 Diodato, Michael             0.4 Attend meeting with Galaxy, Debtors (J. Ray), A&M (K. Ramanathan), and
                                                        Rothschild (C. Delo) to discuss monetization for the Debtors' crypto holdings.
   26       11/27/2023 Diodato, Michael             1.2 Prepare for the monetization call with Galaxy by reviewing recent market
                                                        changes from the prior weekend.
   26       11/27/2023 Diodato, Michael             0.6 Prepare diligence list for the call with Galaxy and Debtors on coin monetization.

   26       11/27/2023 Sveen, Andrew                0.3 Analyze the Debtors' filing related to the sale of crypto trust assets.

   26       11/27/2023 Rousskikh, Valeri            2.8 Conduct backfill risk and time series for FTX de-risking dashboard taking into
                                                        account FTX portfolio monetization data.
   26       11/27/2023 Rousskikh, Valeri            2.9 Add process of computing risk and daily values of monetized FTX portfolio in
                                                        the context of risk monitoring for FTX portfolio monetization.
   26       11/27/2023 Rousskikh, Valeri            2.9 Construct automated functions to populate risk and profit and loss time series for
                                                        FTX de-risking dashboard taking into account FTX portfolio monetization data.

   26       11/27/2023 Guo, Xueying                 2.4 Update the sensitivity analysis for discount for lack of marketability of locked
                                                        tokens with the most recent market data.
   26       11/27/2023 Guo, Xueying                 2.9 Update the discount for lack of marketability of FTX locked tokens with the
                                                        most recent market data.
   26       11/27/2023 Guo, Xueying                 2.7 Update the volatility surface for all FTX locked tokens to prepare for updating
                                                        the discount for lack of marketability of these tokens with the most recent
   26       11/27/2023 Watson, Ching                    market data.
                                                    1.1 Prepare coin monetization estimations for the results of management of certain
                                                        tokens.
   26       11/27/2023 Watson, Ching                1.2 Conduct research on liquidity discount in existing literature.

   26       11/27/2023 You, Can                     2.6 Draft clarification questions for the Debtors to understand the model details used
                                                        for liquidation discount calculation.
   26       11/27/2023 de Brignac, Jessica          0.9 Review sensitivity analysis for certain locked tokens in the Debtors' portfolio.




                                                          56
                 Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24               Page 57 of 64


                                                     EXHIBIT C
                                       FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                               DETAIL OF TIME ENTRIES
                              FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code      Date      Professional             Hours                                        Activity

   26       11/28/2023 Bromberg, Brian               0.3 Review crypto pricing summary showing the top coins by quantity and price.

   26       11/28/2023 Majkowski, Stephanie          0.2 Participate in meeting with A&M (K. Ramanathan and G. Walia) with a focus
                                                         on the status of tokens claims and assets.
   26       11/28/2023 Risler, Franck                0.2 Attend call with PH re: crypto sale agreement contract negotiation to support the
                                                         management of FTX hedging assets.
   26       11/28/2023 Risler, Franck                0.4 Assess updated comments by Debtors and UCC on the crypto agreements for
                                                         derivatives collateral management.
   26       11/28/2023 Risler, Franck                0.4 Assess updated draft crypto sale agreement with as circulated by Debtors.

   26       11/28/2023 Risler, Franck                0.5 Assess updated draft crypto sale agreement reflecting comments from Galaxy
                                                         and latest edits and comments by S&C and PH.
   26       11/28/2023 Diodato, Michael              0.2 Meet with A&M (K. Ramanathan and G. Walia) to discuss pending coin issues.

   26       11/28/2023 Diodato, Michael              0.3 Evaluate the crypto monetization issues with a focus on the token pricing.

   26       11/28/2023 Rousskikh, Valeri             2.9 Analyze and backtest monetization risk and profit and loss impact for FTX
                                                         portfolio.
   26       11/28/2023 Rousskikh, Valeri             2.7 Create report for representing dynamic changes in risk and profit and loss of
                                                         FTX portfolio taking into account portfolio monetization.
   26       11/28/2023 Guo, Xueying                  2.9 Review the information provided by A&M re: method for calculating the
                                                         discount for lack of marketability for locked tokens corresponding to client
                                                         accounts.
   26       11/28/2023 Guo, Xueying                  2.3 Draft new questions list to be delivered to A&M side to clarify the details in
                                                         their method for calculating the discount for lack of marketability for locked
   26       11/28/2023 Watson, Ching                     tokens. the perpetual future terms offered by the FTX exchange to prepare
                                                     2.3 Evaluate
                                                         tables displaying the results.
   26       11/28/2023 You, Can                      1.4 Calculate the potential impact of the assumption in the Debtors expert’s model
                                                         that implies dollar volatility per unit business time is the same across assets and
                                                         time.
   26       11/28/2023 You, Can                      2.2 Derive the market impact from invariance assumptions based on the Debtors'
                                                         experts' paper for the liquidation discount.
   26       11/28/2023 You, Can                      1.3 Evaluate assumptions for the variables in the Debtors' model for calculating the
                                                         liquidation discount based on the published paper.
   26       11/28/2023 You, Can                      0.8 Analyze the Debtors' expert's referenced paper estimating the scaling factor
                                                         between order volatility and return volatility.
   26       11/28/2023 You, Can                      0.7 Review the estimation of scaling factor for trading volume, based on
                                                         participation of intermediaries discussed in the Debtors' expert's paper on
                                                         liquidation discount.
   26       11/28/2023 You, Can                      1.2 Calculate the potential impact of the assumption in the Debtors' expert’s model,
                                                         which implies the execution cost for orders at the same quantile is same across
                                                         assets and time.
   26       11/28/2023 de Brignac, Jessica           0.3 Analyze the updated diligence needs from PH re: upcoming crypto analysis for
                                                         the UCC.
   26       11/28/2023 de Brignac, Jessica           0.4 Review calculations and strategy outlines for the crypto monetization of certain
                                                         of the Debtors' digital assets.
   26       11/28/2023 de Brignac, Jessica           0.5 Continue to review calculations and strategy outlines for the crypto monetization
                                                         of certain of the Debtors' digital assets.
   26       11/28/2023 McNew, Steven                 0.6 Comment on proposed crypto sale agreement draft.

   26       11/28/2023 Leonaitis, Isabelle           0.2 Assess updated data for coin monetization analysis related to certain tokens.

   26       11/28/2023 Leonaitis, Isabelle           0.2 Analyze updates on coin monetization from A&M to inform the assumptions for
                                                         additional analyses.



                                                           57
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24               Page 58 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                        Activity

   26       11/29/2023 Bromberg, Brian              0.5 Analyze the most recent crypto reporting from the Debtors to understand the
                                                        impact on recovery values.
   26       11/29/2023 Risler, Franck               0.5 Assess latest iterations of Galaxy crypto sale agreement to support derivatives
                                                        trading and sign off on final version.
   26       11/29/2023 Diodato, Michael             1.7 Analyze the vesting schedule of tokens and the potential impact they would have
                                                        on the recovery values.
   26       11/29/2023 Diodato, Michael             2.7 Analyze the expected recovery pre- and post-emergence of tokens and the trust
                                                        assets.
   26       11/29/2023 Diodato, Michael             0.3 Attend call with Coinbase regarding the staking agreement.

   26       11/29/2023 Langer, Cameron              2.6 Calculate risk, performance and liquidation metrics for the FTX crypto portfolio
                                                        for asset management purposes.
   26       11/29/2023 You, Can                     1.2 Analyze the calculation of invariance-implied spread cost in Debtors' expert's
                                                        referenced paper, and the calibration against quoted bid-ask spread using equity
                                                        data referenced in the paper.
   26       11/29/2023 You, Can                     0.4 Review liquidity discount of top 10 tokens provided by the Debtors' expert,
                                                        ranked by customer holdings.
   26       11/29/2023 You, Can                     1.8 Review the parameter calibration and regression performance in to identify the
                                                        potential limitations.
   26       11/29/2023 You, Can                     1.9 Analyze how market cap can be used in market impact model to improve
                                                        accuracy in the model used by the Debtors' expert for liquidation discount.
   26       11/29/2023 You, Can                     1.6 Identify limitations of market impact models for instruments with a large
                                                        participation rate, and estimate the valid range of participation rate for models
                                                        described in the model used by the Debtors' expert for liquidation discount.
   26       11/29/2023 You, Can                     1.5 Calculate liquidity discount of top 10 tokens provided by the Debtors using
                                                        model to compare with values provided by the Debtors.
   26       11/29/2023 You, Can                     0.6 Calculate liquidity discount of top 10 tokens using linear and square-root model
                                                        described in the paper used by the Debtors' expert for liquidation discount to
                                                        compare with values provided by the Debtors.
   26       11/29/2023 de Brignac, Jessica          0.5 Review updated crypto staking report from A&M.

   26       11/30/2023 Risler, Franck               0.4 Assess the Debtors' crypto management agreements for hedging digital assets.

   26       11/30/2023 Risler, Franck               0.5 Review various amendments to the crypto agreement for the custody of collateral
                                                        for derivatives trading in the context of the management of FTX hedging assets.

   26       11/30/2023 Risler, Franck               0.2 Attend call with A&M (K. Ramanathan) on sale and purchase agreement
                                                        prepared by Galaxy and terms for illiquid token.
   26       11/30/2023 Risler, Franck               0.2 Correspond with A&M re: crypto agreement negotiations with derivatives
                                                        counterparties.
   26       11/30/2023 Risler, Franck               0.5 Assess email from Galaxy on crypto spot trades and prioritization of spot trading
                                                        agreement amendments compared to other coin management agreements.
   26       11/30/2023 Guo, Xueying                 2.6 Analyze and compare the FTX spot tokens values calculated using the latest
                                                        information provided by A&M.
   26       11/30/2023 Guo, Xueying                 2.7 Calculate the overall locked tokens discounts for lack of marketability using
                                                        established method based on the tentative schedule provided by A&M.

   26       11/30/2023 Guo, Xueying                 2.8 Calculate the overall locked tokens discounts for lack of marketability using
                                                        volatility method provided by A&M.
   26       11/30/2023 Watson, Ching                2.9 Continue to develop the list of questions related to the Debtors' asset pricing.

   26       11/30/2023 You, Can                     2.6 Analyze the variation of input variables to check for potential impact due to
                                                        choice of input reference dates.




                                                          58
                 Case 22-11068-JTD           Doc 6655-2          Filed 01/25/24              Page 59 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                       Activity

   26       11/30/2023 You, Can                     0.8 Compare average daily volume and volatility recommended by the UCC and
                                                        those calculated based on Debtors' expert's specifications for the top 10 tokens.
   26       11/30/2023 You, Can                     1.6 Identify issues with crypto market data for the specified approach described by
                                                        the Debtors' expert for calculating the liquidation discount.
   26       11/30/2023 You, Can                     1.9 Calculate the liquidation discount using a combination of square-root model
                                                        described in Debtors' expert's referenced paper, and input variables from the
                                                        UCC's recommended model.
   26       11/30/2023 de Brignac, Jessica          0.5 Evaluate crypto monetization for certain tokens in the Debtors' portfolio.

   26       11/30/2023 de Brignac, Jessica          0.6 Conduct review of the Debtors' amended Plan for certain crypto term
                                                        considerations.
   26       11/30/2023 McNew, Steven                1.9 Analyze token and crypto composition for certain claims filed against the estate.

   26       11/30/2023 McNew, Steven                1.2 Evaluate the coin monetization proposal and related results of the crypto hedging
                                                        agreements.
26 Total                                          929.6

   27       11/1/2023   Jasser, Riley               1.5 Create communications plan for upcoming case developments to ensure effective
                                                        stakeholder communications.
   27       11/2/2023   Baldo, Diana                0.2 Review inquiry log from Epiq to confirm if communications preparation is
                                                        necessary for informing creditors.
   27       11/2/2023   Jasser, Riley               0.5 Prepare communications plan for upcoming case developments to ensure
                                                        effective stakeholder communications.
   27       11/6/2023   Jasser, Riley               0.8 Assess creditor inquiries to ensure proper communication responses for keeping
                                                        creditors apprised of case milestones.
   27       11/8/2023   Baldo, Diana                1.1 Prepare social media content for online conversation and awareness among
                                                        customer base.
   27       11/8/2023   Jasser, Riley               1.2 Create communications plan for upcoming case developments to ensure
                                                        stakeholders are apprised of key case updates.
   27       11/9/2023   Chesley, Rachel             0.2 Identify materials for KYC claims portal inquiries from PH.

   27       11/9/2023   Jasser, Riley               0.8 Create communications for upcoming case developments to ensure effective
                                                        stakeholder communications.
   27       11/13/2023 Jasser, Riley                0.9 Review creditor inquiries to ensure they are being escalated in the ordinary
                                                        course and recommend escalation or communications response as needed.
   27       11/16/2023 Baldo, Diana                 1.3 Create social media plan regarding upcoming case milestones to inform
                                                        awareness.
   27       11/16/2023 Jasser, Riley                1.8 Strategize communications plan for upcoming case developments to ensure
                                                        effective stakeholder communications.
   27       11/20/2023 Baldo, Diana                 0.7 Continue to determine social media strategy surrounding upcoming milestone for
                                                        the Debtors' Plan.
   27       11/20/2023 Jasser, Riley                1.2 Review creditor inquiries to ensure they are being escalated in the ordinary
                                                        course and recommend escalation or response as needed.
   27       11/22/2023 Baldo, Diana                 1.3 Update ongoing communications plan to address upcoming milestones in order
                                                        to inform all audiences.
   27       11/22/2023 Jasser, Riley                1.7 Strategize communications plan for upcoming case developments to ensure
                                                        effective stakeholder communications.
   27       11/27/2023 Baldo, Diana                 1.0 Strategize on proposed social post for upcoming update to creditors.

   27       11/27/2023 Jasser, Riley                1.2 Prepare communications updates draft to keep creditors apprised of
                                                        developments in the case.
   27       11/28/2023 Baldo, Diana                 0.5 Review proposed letter from the UCC to AHC and draft social post accordingly.




                                                          59
                 Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24               Page 60 of 64


                                                    EXHIBIT C
                                      FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                              DETAIL OF TIME ENTRIES
                             FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code     Date      Professional             Hours                                        Activity

   27       11/30/2023 Jasser, Riley                0.4 Strategize communications plan for upcoming case developments to ensure
                                                        effective stakeholder communications.
27 Total                                           18.3

   29       11/2/2023   Kubali, Volkan              0.5 Assess the most recent information on FTX 2.0 bids to compare the bidders for
                                                        diligence.
   29       11/2/2023   Risler, Franck              0.2 Participate in call with Jefferies (T. Shea) on FTX 2.0 transaction and crypto
                                                        trust positions management.
   29       11/2/2023   de Brignac, Jessica         0.9 Review diligence documentation of FTX 2.0 bidders in order to compare the
                                                        bidders and terms.
   29       11/2/2023   Bromberg, Brian             0.7 Participate in call re: restart with the Debtors (J. Ray), PWP (K. Cofsky) S&C
                                                        (A. Dietdrich), A&M (K. Ramanathan), Jefferies (M. O'Hara), UCC, and PH (E.
                                                        Gilad).
   29       11/2/2023   Simms, Steven               0.6 Evaluate the FTX 2.0 sale process by reviewing bidder proposals.

   29       11/2/2023   Risler, Franck              0.7 Participate in FTX 2.0 call with the Debtors (J. Ray), PWP (K. Cofsky) S&C
                                                        (A. Dietdrich), A&M (K. Ramanathan), Jefferies (M. O'Hara), UCC, and PH (E.
                                                        Gilad).
   29       11/2/2023   de Brignac, Jessica         0.7 Participate in 2.0 status update meeting with the Debtors (J. Ray), PWP (K.
                                                        Cofsky) S&C (A. Dietdrich), A&M (K. Ramanathan), Jefferies (M. O'Hara),
                                                        UCC, and PH (E. Gilad).
   29       11/7/2023   Bromberg, Brian             0.7 Review FTX restart latest materials to assess the bidders and proposed bids.

   29       11/7/2023   Simms, Steven               0.4 Prepare correspondence related to the FTX 2.0 process and assessment of the
                                                        bids received.
   29       11/8/2023   Bromberg, Brian             0.4 Review latest offer materials for the FTX 2.0 transaction and bids.

   29       11/8/2023   McNew, Steven               1.3 Analyze the revised proposal from bidder for acquisition of assets from the FTX
                                                        estate and a detailed overview of envisioned recovery token mechanics.

   29       11/8/2023   McNew, Steven               0.7 Evaluate indications on interest for the Debtors' assets for potential sale.

   29       11/8/2023   Risler, Franck              0.9 Assess revised bid for FTX 2.0 transaction and related documents from bidder.

   29       11/9/2023   Bromberg, Brian             0.7 Participate in call re: restart with Debtors (J. Ray), PWP (K. Cofsky), Jefferies
                                                        (M. O'Hara, T. Shea), and Others.
   29       11/9/2023   Simms, Steven               0.7 Attend call on FTX 2.0 bids updates with Debtors (J. Ray), PWP (K. Cofsky),
                                                        Jefferies (M. O'Hara, T. Shea), and Others.
   29       11/9/2023   Risler, Franck              0.7 Participate in call on FTX 2.0 with the Debtors (J. Ray), PWP (K. Cofsky),
                                                        Jefferies (M. O'Hara, T. Shea), and Others.
   29       11/9/2023   de Brignac, Jessica         0.9 Evaluate bid materials for the potential sale of FTX 2.0.

   29       11/10/2023 Diaz, Matthew                1.2 Review the analysis provided of FTX 2.0 proposals and bids.

   29       11/13/2023 Risler, Franck               0.3 Participate in call with Jefferies (T. Shea) on FTX 2.0 terms.

   29       11/13/2023 Risler, Franck               0.4 Analyze various bids for FTX 2.0 from different bidders.

   29       11/13/2023 de Brignac, Jessica          0.3 Review updated FTX 2.0 purchase agreement.

   29       11/14/2023 Simms, Steven                0.7 Prepare correspondence on the FTX 2.0 process, bidders and timeline for
                                                        bidding process.
   29       11/15/2023 Risler, Franck               2.1 Assess FTX 2.0 asset purchase agreement for proposed bidder in the context of
                                                        the stalking horse agreement for the FTX 2.0 transaction.



                                                          60
                 Case 22-11068-JTD            Doc 6655-2          Filed 01/25/24             Page 61 of 64


                                                     EXHIBIT C
                                       FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                               DETAIL OF TIME ENTRIES
                              FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code      Date      Professional             Hours                                      Activity

   29       11/15/2023 Kubali, Volkan                2.4 Develop code to assess the distance between market prices and the execution
                                                         levels of the monetization activity.
   29       11/15/2023 de Brignac, Jessica           0.6 Review updated FTX 2.0 purchase agreement from certain bidder.

   29       11/15/2023 de Brignac, Jessica           0.4 Review FTX 2.0 bidder customer overlap analysis from PWP.

   29       11/16/2023 Bromberg, Brian               0.2 Assess timeline and timing issues for proposed FTX 2.0 restart.

   29       11/16/2023 Bromberg, Brian               0.4 Review FTX 2.0 strategy considerations.

   29       11/17/2023 Bromberg, Brian               0.2 Assess the items for further discussion on diligence list for proposed FTX 2.0
                                                         transaction.
   29       11/17/2023 Risler, Franck                0.5 Participate in meeting on FTX 2.0 re: crypto asset agreement issues list with
                                                         Jefferies (T. Shea and M. O'Hara), and PH (E. Gilad, K. Pasquale, and B.
                                                         Kelly).
   29       11/17/2023 Risler, Franck                1.7 Draft list of questions on bidder in the context of FTX 2.0 transaction ahead of
                                                         the diligence call.
   29       11/17/2023 de Brignac, Jessica           0.5 Participate in meeting with Jefferies (T. Shea and M. O'Hara), and PH (E. Gilad,
                                                         K. Pasquale, and B. Kelly) re: FTX 2.0 bidder updates.
   29       11/17/2023 de Brignac, Jessica           1.6 Prepare list of bidder due diligence questions for PH re: KYC, security, custody
                                                         and other areas.
   29       11/17/2023 Leonaitis, Isabelle           0.8 Prepare list of diligence items for FTX 2.0 for KYC, token support, and custody
                                                         items.
   29       11/17/2023 Leonaitis, Isabelle           0.6 Assess the FTX 2.0 diligence questions for outstanding research on the bidders.

   29       11/19/2023 Bromberg, Brian               0.3 Assess issues list for the asset purchase agreement for FTX 2.0 bid.

   29       11/20/2023 McNew, Steven                 0.6 Evaluate the document from PH on issues related to the proposed sale for FTX
                                                         2.0.
   29       11/20/2023 Risler, Franck                0.5 Assess email from PH on FTX 2.0 reverse due diligence call to draft diligence
                                                         list for investigation of new topics.
   29       11/20/2023 de Brignac, Jessica           0.3 Review updates on FTX 2.0 bid process for PH.

   29       11/21/2023 Diaz, Matthew                 0.5 Analyze media analysis for the Debtors related to the potential FTX 2.0
                                                         transaction.
   29       11/21/2023 Simms, Steven                 0.3 Prepare correspondence on FTX 2.0 bidding process.

   29       11/21/2023 Leonaitis, Isabelle           0.2 Assess updates to the FTX 2.0 bidder analysis.

   29       11/22/2023 McNew, Steven                 0.7 Revise document on Debtors' response to FTX 2.0 bidder counterproposal.

   29       11/22/2023 Bromberg, Brian               0.4 Review latest counterproposal to bidder for FTX 2.0.

   29       11/22/2023 Risler, Franck                0.5 Assess the terms of the Debtors' response to certain bidder's counterproposal in
                                                         the context of FTX 2.0 transaction.
   29       11/27/2023 de Brignac, Jessica           0.4 Review updated FTX 2.0 proposal from Jefferies.

   29       11/29/2023 Simms, Steven                 0.6 Prepare correspondence to creditor on sale process and related timing issues for
                                                         FTX 2.0.
   29       11/29/2023 Risler, Franck                0.4 Assess bidder's shareholders' structure as disclosed by bidder in the context of
                                                         the FTX 2.0 transaction due diligence.
   29       11/29/2023 Risler, Franck                0.5 Analyze bidder's trading volume league table in the context of the FTX 2.0
                                                         transaction due diligence.




                                                           61
                   Case 22-11068-JTD            Doc 6655-2         Filed 01/25/24              Page 62 of 64


                                                       EXHIBIT C
                                         FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                                 DETAIL OF TIME ENTRIES
                                FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Task Code        Date      Professional             Hours                                      Activity

    29        11/29/2023 de Brignac, Jessica           0.4 Review FTX 2.0 letter for AHC as sent by PH.

    29        11/29/2023 de Brignac, Jessica           0.3 Prepare correspondence to PH re: FTX 2.0 bidder diligence updates.

    29        11/30/2023 Simms, Steven                 1.3 Attend call with Debtors (J. Ray), PWP (K. Cofsky), and PH (E. Gilad) on FTX
                                                           2.0 process and timing.
    29        11/30/2023 Kubali, Volkan                1.3 Participate in meeting with Debtors (J. Ray), PWP (K. Cofsky), and PH (E.
                                                           Gilad) on the status update regarding FTX 2.0.
    29        11/30/2023 Leonaitis, Isabelle           0.4 Research the FTX 2.0 bidders for additions to the bidder list.

    29        11/30/2023 Bromberg, Brian               1.3 Participate in call re: FTX 2.0 and proposed bids with Debtors (J. Ray), PWP
                                                           (K. Cofsky), and PH (E. Gilad).
    29        11/30/2023 Bromberg, Brian               0.4 Analyze the latest summary of FTX 2.0 bids.

    29        11/30/2023 Kubali, Volkan                1.6 Review the Debtors' counterproposal to one of bidders for FTX 2.0.

    29        11/30/2023 Leonaitis, Isabelle           1.1 Evaluate updates from active bidders and addition to bidder list for FTX 2.0.

 29 Total                                             40.9

Grand Total                                         1947.2




                                                             62
             Case 22-11068-JTD   Doc 6655-2   Filed 01/25/24   Page 63 of 64



                                   EXHIBIT D
                     FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                             SUMMARY OF EXPENSES
            FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

Expense Type                                                                   Amount
Electronic Subscriptions                                                       $ 3,500.00
Working Meals                                                                       40.00
GRAND TOTAL                                                                    $ 3,540.00




                                         63
                  Case 22-11068-JTD            Doc 6655-2       Filed 01/25/24        Page 64 of 64


                                              EXHIBIT E
                                FTX TRADING LTD., ET AL. - CASE NO. 22-11068
                                          ITEMIZED EXPENSES
                       FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

     Expense Type             Date          Professional                   Expense Detail                    Amount

Electronic Subscriptions   11/1/23    Chesley, Rachel       Monthly charge for UCC Twitter account.          $ 1,000.00

Electronic Subscriptions   11/23/23   Risler, Franck        Coin Metrics Inc usage for cryptocurrency          2,500.00
                                                            data.
Electronic Subscriptions Total                                                                               $ 3,500.00

Working Meals              11/13/23   Gray, Michael         Dinner while working late in the office on FTX       20.00
                                                            case.
Working Meals              11/15/23   Bromberg, Brian       Dinner while working late in the office on FTX       20.00
                                                            case.
Working Meals Total                                                                                             $ 40.00

Grand Total                                                                                                  $ 3,540.00




                                                           64
